                                                  I...                         K
L




          pa    pa    pa   pa    pa    pa   pa      pa   pa   pa    pa     pa      pa        pa   pa
     oP   P’    Ci)   10   ‘a    0     (0   CD      ‘4   0,   Cs    •.     ca      13        pa   Q     (0      CD   ‘4   Ut   Cs   4*    co    to      pa


     a’   a           a    B     at     U   B      ‘     a    a     at     a       w         ft   0     >       ft   ft   0    >    at    a     ‘S
    ‘4    0           ‘a   ‘a          $4   ‘a           0     B                   U         D’   B             b’   D’
                           pa    0,                      ‘a   ‘a    a              ft        ‘a   B             ‘a   •              ph          I
      -   C)          n    pa          ‘a   a                  pa                                 II                                U
          a                •            o                m     o                   ft
                                                                    z                        N                  $‘                  pa
     o         “      ‘S         at     S   C      S                •      S       b’             ft    S            4*   0    ‘4   ‘a    z     a      i-i
          ft   Z      4*         pa    II   41     41    ‘41               0       4*             ‘a    a       ‘4   D    ‘a   a     I    0
     o    as    a                a     ‘s   ‘s     pa                                        ft   at    ‘a       o   a    a    u    ft          ‘a
     a    at                                       ‘a               •                             i-i                               Pa
                      nn                                                   a—’                          I—’          ‘S                          I-’
                                 a                                                 a         a    ‘a
                                                                                                                 0                                     5
          ft    n                      B
                           a                a‘a                            a       U                                 B    ‘4        B           4*     0
     ft   41    b’    B          ft    b’   0                       0              ft        *    ‘4             B   ‘a    0   B    a     ‘C    U      B
     ‘S        a      pa   0     0     0    U      ft         ft    ‘S     ‘4      ‘a        D”                 B          U   ‘a         0     ‘S
     B    ft          pa   4           4    pa     b’         D     B       0      41        a    ‘S    0       pa   B              ‘S    c     B       I
     ft   Z’   B      pa   41    B     S    ‘a     41         41    0      0       B         0                  a    B         •    a           ‘a      I
     •    4*   Pa     B    ‘S          ha   ft                ‘S    S
                                                                                                  aB                      0         C
               pa                                                                                                    0                    0
                                                                                                                                                                  Case 01-01139-AMC




                      •          ft    Ba          ‘          41           ft      B         H    B     H       ‘a        pa        U     0     ‘a     H
      a   <    pa          ft     n                                 S      a                      ‘a                      a         ‘a    z            n
          II   ‘a          b’     B    0            ‘S        pa    B      pa                ‘S   o                  a                    ft
                                                                                                                                                ‘-e.
                                                                                                                                                 at
                                                                                                        a                           0
                                                                                   oa
     H    ‘S    0          41     0    ‘S   ‘S     ‘a               B      ‘a                a    a     ‘a      ‘a   ‘S   B         ‘S    pa    eQ     5
          B    C                  B         0       0                               ‘S       ft   a     a                                 o     U      at
     B    ‘a               ‘4     ph   ph   B       B         CPa          ft       (I       Pa                      0               41   U     41     B
     4*
                                                                                                                          .4
          0     0           4*    II   ‘S           41        a 0                   B        ‘S   ft        —        ph              B    a
     0    U    ‘a           B     ‘S   0    ‘C                0            a       ‘a        a    b     ft                 0        ‘a    a             a
          pa   a            ‘S         0    4*      0         a t’                  o        a    ii    •            a    ft         pa         ‘4
          ‘a   ‘S          B     ‘a    ft   ‘S     ph         ‘S    ‘a     1-i.        1                                             o    ‘a     4*
    ft    ft   B                  0    41   B                 B      U      U      B         ‘a   41                      4*        ‘4           B     .4
    o     0    ft          ft    pa         pa     ft         ‘a     U      ‘S     pa        ft   B     H                 ‘S         (I         -
               Pa          b’    o     a    0      0’               ‘4     ‘4      U              B     0                            4*   ‘4           4*
                                                                                                                                                                  Doc 22814-29




    C     ph   0           a     ft                           ft                   pa
                                            U      41                                       5     41                      ‘a        -‘     0    B
     •    ‘S   0           ‘S          pa   pa                4*            5      ‘a       B     —     ft                 0               U    Pa     ‘a
     ft   0                II    5     0    ‘a      0         ‘S            0’     ‘a       B           0’                 B        Pa    ‘S    ‘S      U
          B                      0’    B    ft     ‘a         B     0       B      ft             U     a                 ‘a        B           •       ‘S
    ft         ft          S     0     a    a                 B     0       ft     ‘a       B     U                       ft              4*           ‘a
    0’    ft   0’          4*          S
                                                   a‘S        •     ft             41             ft                      ‘a        ft
                                                                                            B           ‘a                                 B            0
    •     0’   a           ‘S    a‘S   ‘S S        B                B      ft      B        0            41               0         0’    ‘a           B
          0                41          B  0        ft               0      0’               B     ft    ‘S                0         B      pa          a
               ‘a                ‘a    •  U        Pa               B      a       ‘S       C     0’    ‘a                B         ft     0
    4*    ft    U           I    ft                0                               •        a     4*    0                                 ‘4           0
          0     ‘S          I          ‘aft        0          B     a      U       B        ‘S          a                 U         0      S           ph
          ft   ‘a                5     0  B                   ft    U      U       pa             ft                      4*        0     4*
    ‘a    B     0          ft    B     B  ‘a       B                ‘S     B       I-’      0     ‘a    ft                B         ‘S    0            ft
                                                                                                                                                                  Filed 08/14/09




    o     ‘a   B           U’    B     a  0        ft         S     ‘a     ‘a      .4       ph    ft    0’                ‘a        ‘S    ft           0’
    U          41          a           S    •                                                     pa    a                 a.        a                  a
    I-’   B                ‘S    0     a           t’         ‘S    (a     a        a       B     4*                      4*        0      0
    ‘a    Pa   0           0     0                 ‘a         4,           B       Pa       0,          ‘0                B         ft    ‘0           B
    ft    pa   ph                0     0  H        U                ‘4     B       a        S     0      0                          ‘4
    S                                                                                                                                                  U
          ‘a               5     4     0  ft       ,‘         ‘4     0             0        Pa    U’    B                 B               U            ‘S
               ft          II    0     ft                     0     U      0           -     U    B     ‘a                B               U            C
    Pa    ph   0’          ‘S          0                                   ph
                                 ‘4       5                   U     ‘S             gt        Pa   U     ft                B               ft
          4,   Pa          4*    a        at       *                                       •B     C     Pa                ‘a              pa           ‘S
          a    B                  a    ft B        B          ph           N       0        •ft   4*    0                 B               pa           .4
    B     a                            n           B                       0       0’        ‘S   a     z                 ft
    B     •    5                 ft
                                                              opa                                 -                                       pa
                                                                                                                                                                  Page 1 of 52




                                       U  S
                                                                    •Uft   U       B                                      B
                                                                                             B                                                         5
               B                 0     0  ‘a       ft         N     U      0       0        ft                            0               (0           B
    ‘a         B                       N   3       0          B     ‘S     ‘a      C        ‘a    H                       ft              CD           B
     U    ‘                      ft    B    II                      S      ‘a      II       0                                             Co
     ‘S   U    ft                U’         a                              ft      •        0                             ft                           ft
     S    a    0                 41                                 0      4*               •                             0               B            0
                                                                    ph                                                                    B                  4*
                                                                                                                                                             ‘4
\)    r’)    s)    t’J   )      J     )-    )—     )-     F-     )-    )—     —     l-    )-    -
                         —
CJ           Ci    t\)          0     D     0)            o                   c.          i-    0    1.0    cx)   )      Oi    01          01    ‘3    x-


                         rt     Mi   iQ     t      <             ft    CD    0      C’    dO         .0           Hi     U)    .0    0     )—    U)    U)
      i                  r      c                                1      X                                         U)     U)
                         fl)     1                 H             C:    xci                                        C)                                   Mi
      rl-                ft     C)          (J    .<             CD    U)                                         1.-.               l—   rt           0
                                ft                               .,)   )                                          lx     .<          C1          0
<     CD           <     0                         U)     E            Cl    Cl)    H           Z    C)           I-      0                (D    ft    5
CD           :i    CD    5      0            CD    S      CD           CD    0      I           C)   0      CD    rt      i     3    )
(1)   5      Cl    U)    CD     1     Ct     >     Ui     )-           Cl                 CD    -           U)    ‘<           U)    tQ   Mi     CD    U)
                   -            U)          ti     )-‘    I-’                 Ci    I-.   i                 -            0     J           -•    H     U)
      I-’    ft          0            i-•    U)    )-     -                  ‘1)    tO          (U   0            Mi
U)           ::r   U)    Mi     ft     1     I                                      0)    Cl    •           (0    0      CD                Ct)   S     tl
.     -•     CD    .                         Cl   ‘ti     ,-t-         CD     j     (C)   .     H           )-.   H            <     Cl    —.    0)     0
F                  H     rt     CD           .     U)      J                              Cl         U)     H            0     0     C           ft    U)
      •                   3           H      1     xi     U)           H      rt                     ft           rt     rt    i     U)   ‘CI    Cl)   U)
      (I)                Cl)    CD          (Q     xl-    ft           U)    l-     H     rt         I—..                            ft   H      H     l-
              Y                                                                                      -‘                  Ct          H
                                                                                                                                                             Case 01-01139-AMC




                         S                                                                                        CD                      0
      ft     Cx)         ‘-3                xci    0      (U                        Cr    cx)                            ‘1    U)    <    Cl     U)
       3     ft                (C)    Cl    )—     Mi                               Cl)   ft                                   i—”                     CD
      U)                       H      CD    Cl)           ft           CD    (0     -‘                            It)    Q     H          C)     U)
      ft    ‘<                 CD     ‘1     i     ft     xi           H     0)     )-.   C)         Cx)          H      i                rt           CO
             0                 -      U)    ft                         5     (0     Ct)   CD                      S      CT)                     H     1
      ft                              ft           Ct)    CD                 -      <     U)         Cl)                 (0                )     H     Cl
      H                        Mi     CU                               C)           Cl)   (U                      C)     rt     -3        3      0
      ci     C)                                                                           CD         0                         :3.        ..     S     H
      CD     CU                H      Cl           H                    -    0            “)                      )-     0     CD         C)           CD
      .s)    I—’               U)                  0      W            x—    ç                       CD           I—     :3                      ft    S
                               rt                  Cl     (i           rt                                         ft     ‘-                            0
             CD                                    C      rt           CD     3.                     ft           CD           )-‘        C      CD    <
                                                                                                                                                             Doc 22814-29




             C).                      ‘-           C)                        CO                                                Hi         Cu
                               S                   ft     1-1                C).                     CD                  U                U)     0
             C)                       U)           I-a’                                              H                         H                 H     0)
            0                  I                   0      5            rt    Cx)                     CD                  Cl               CI     CD    U)
            I                                      I      CI           0                                          ft           Ii
            C)                   1    S                   U)                 Mi                                                           CD     t     S
            CD                 (C)    CD           rt     ft           )—•   0)                                   Ct)    0     Cl         Cl           U)
            l                         U)                               ft    C)                                                (U                 —
            ft                 ft      1           U)     U)           (1)   )-‘                                               )          IC)    C)    ,<
            H                         U)           ft     Ci)                I-’                                               U)         H
            0)                 CD                                      CI    i—’.                                 Ct     0)    ft         I—•          0
            ft                                                         U)     ft                                  Ct     <     U)         S            Mi
            )—“                C)    0            Cl)     ft           U)                                                CD               0)     CD
                                                                             ‘<                                   <
                                                                                                                                                             Filed 08/14/09




             I                 H     CI           (0       3.          Cr                                                      C).        H      H     ft
            (C)                CD    H                    Cx)                                                     U)     Cl)              ‘      CD     3
                                                  CD      rt           CD    tT                                   H      l      I         l-           Cl)
            ft                        rt                                     Cl)                                  CD            I         ‘<     i
                               H     )            ‘ti     )-‘          Mi    H                                    CD     (1)                     0     C)
            (I)                t-’   0             Cx)    rt           0     CD                                   •)                      I-’.   ft    0
                               (0                  :3                  xi                                                ‘     CD         I
            <                        ‘CI           Cl                  S     ‘<                                          Cli                     0     rt
            CL)                rt    ‘1           CD      C))           •     0                                          :3    I-’        ft     Mi    0)
            H                   ‘)   -            Cl      U)                 CI                                          (0               :j•          S
            S                         1                                •                                                 •                CD     Cxi   -
            )•                       C)           .       0            U)                                                0     S—i
                                                                                                                                                             Page 2 of 52




            C)                 I-I   1-i.         J                                                                       1    CD                      CO
            CI                 U)    ‘ti                                                                                       r-                U)    I
            I-..                      0)          ft      ‘<                                                                                     I—.   ft
            ‘—‘•                                                       U)                                                      S                 CI    C/I
            ft                                    CL)     0)           ft                                                      CD                CD
            CD
)     )      l\)     ‘)     3     M                   -       I-     I-.     -      t-’
(31   4      W       i”)    I-    0      (1)   CD     -       0)     (31     4      ()     CQ    1-    0      (D     02     -      0)    (31          (0


      Mi     (-                          ç            Cl      Cl)    5       ((2           AD          AD            ft     ((2    5     AD           N     Q
CD    Ci     CD      CD     It)          U)           C)      I      0        1                                              CD    ‘                  0     CD
<                                        CD    CD     Dt      Cl     It       0                                      Ct)     ft
Ct)   )—‘    CD      (12    CD           CL    I-C    I                                                                                               0      CD
)—    <      —              i—a                Ct)    •         I    ft      J                                       CD     )-     Cl)                )—     I-
             U)      ft     CI)   H                             I    CO      Cl                                      •             CL    2      H            I))   ID
ty    S              -                                               l-      •      CD     0     CD    U)     CD            rt           0      D     ft     )-    F”
i•    I-     CO             M     Cl)          Cl     H                                    It    Cl)          Cl)           0      ft           CD    Cl)          CL
0     1      Z        CO    CO                 CD                    -                     l-    -     ft
      CD     CL       I      1    CD           V      (I)     I-•            H      -      CL                        0      ft     CU           Ii)   (1)   CO     ft
      CL              CL    (0    Q            CD     U)      (2     CO      J                   (I)   I-a.   (1)    C                   f-)    Cl)   D     rf
-•    -                     CD    (             1     CC)            I       CD     f-.          f-.   U)     i-i.          Cl)    0            5     CL    ft     CD
ft           0        ft    Cl    (-           CL                    CL             ft     0     ‘i           I-C    S      ft     Ii           CD           CD
•     ft     Pi                   V            I-”    f—                     S                   •     C))    •      I—            CD    12                  I-C   S
      12     CL       CD    Mi     S           12     Cl)     CT)    ft             5                                12     .            C)     1(2          12    I—
                                                                                                                                                                                Case 01-01139-AMC




      CD     CD             I-C   CD           ((2                           12     CD     rt                        CD     3                   CD                 12
      12     Cl       0     0     12                  CD      I-C    CD      CD     CO     CD          0             CL            P1           :i    0      ft.   F’
                      ti    5     ft           0      I-      CD                    12                 V                    C))    12    ft     CD    •            12
      ft              CC)                      12     (1)     Mi     0              U)     l—          CD                          Cl     3     I-C          I-C   (0
       12    12             CO    ((2                         CD     ti      0)                        12            rt     S            0)     Di    (12    0
       CD    ft             (3-    CD          ft     <       1      Cl)     CI)    ft     ft                               f-•    1-4   ft     I-’   I-C    It)   0
      ‘<     0        0     0      12                 0)      ‘-C                                      ‘11           Cl)    12       -                Ci)   (12    V
                      i     C      CD          CD     ‘-C     CD     E       )-     CO     CD           1-.                        5     ft     5     (7     12    CD
      Z      ft       )—.   ft     ‘-C                -.•     CL     CO      I—’.   ft                  ft           CL     ft                  C))   CD     0     II
      0      ‘-C      CL           0)          ft     CD             Cl)     ft.           Li.                              CD     12    CD     12                 Cli
      C)     C)             I--                       CL       ft            Cr)    C))    C)          5                    ••     0                  C)     ft    ft
      f-     0        0     0)     f-’         V               0     ‘-1     ‘-C    I-’    1            -‘•          0             ft    CD     CD    V            I-..
      CL              Cl)                      CD     ‘-‘            CD      0)     ‘                  12            C)     (3-                 ‘-C                0
                                                                                                                                                                                Doc 22814-29




             U)             Mi                        12       0)    5       1—’                       CD                   C)                  -     C)     0     12
      CL     -        ft    CD    (12          0               (1)   0        f-    0                                5      ft     S     CD           12     C)    (1)
      ‘1              CO    CD     0           1-h        3                  ‘<     1-h                              1-.           V     ‘1     <     ft     1
      0      CO             ft     ft                 CT)     )—     CD                    0)                        1-’    ft     )—    CD     (P    1-.          C)
      ‘U     )3       Cl)                      ft             Cl)    Cl      ‘—‘    ft     ft                        I—’     Y                  U)    1-     CL    0
             CL       12           )-                 (C)     <              (3                                      CD     CD     )-.   (7                        12
      Cl                    0      CO          CD      3      CT)    •       C’)    CD     ft                        CL             12                             ft
      0      CO       ‘-h          ‘-C                 ft     1-.’       I   CO                                             U)     ((2   Cl)    (I)   (1)    CD    I—’.
                                  (Cl           CT)                                                                  I-’•   Cl)                 )i.   0)     0
      ‘)     U)       ‘1    0)                                Cl)            ft     5      Ci)
      )               0     TY     CD          ,tl    0              i—i     CD     .      ft                        ft     5      0     (0     ‘-C   C      ft    C)
             0        5     0      ‘-1          C)    <       Mi      CU     CL     12                               -      c      ft     CD    •                  CD
      CO     12             C)                  ).    CD      ‘1     ‘<             I-’.   5                                       :3’    CD                 CD
      12     CD       ft    ft                 (I     ‘-1     0       CD     0      12     CD                        ‘-C    I-ti   CD                        5     1-.
                                                                                                                                                                                Filed 08/14/09




      CL              12’                       5                    ‘1                    It)                       f-•    C)     )-    ‘-.•               ‘U     12
                                  12                          5              12     (0
             1-.      CD    )                   CD    ft             (0                    12                        (C     12
      S      CD                   U)            12    12’     ft             ft     1-•    U)                         )3’   0      1-.                       0     ft
      1-i’   <       Mi                         ft    CD      J              12’    Cl)    •                         ft     ft     (I)   ft                        :3’
      12     CD       CO    Mi    N                           (1)    .       CD                                      •.3    .      CD    3                   S     It)
      CD     —       0      CD    CD           ft     V              f-h            Ci)                                     0            CD                  CD    ft
                     CD     CD    -            12’    CD      ft             ft     Cr                                      12                               12
      0                     ft                 0)     I-C     0      <       0      0                                       U)     CO                        ft    U)
      12     0       0            Cr           ft     t-’•    V      0       V      <                                              12    CU                        Cl)
             C)      12     i—b   C)                  0              C)             CD                                             CL    •<                        S
      ft     I--’.          12    ft           E      CL      (0             0                                              CD                                     CD
      12’    CL       ft                       CD              0             I-h                                            I-f    F-)   <                  ft
                                                                                                                                                                                Page 3 of 52




      CD                                                      ‘      1-’                                                    CD       -   0
             tY      CD           12’                          12    ‘--     CO                                                    ‘-    C)
             CT.)    CD           CD                          ((2    t-’
                     CD                               CO
                                                      U)
                                                                                                                                                                          ((2
           I                                        L




1.3   14       P4    Pa   Pa       pa         4-’       4.’   4.’   a    pa    .‘    pa
a     a        Cm)   10   Ia       0     (0   CO        ‘4    0     a          (a   PJ    1.’   0     (0   CO        0     CI’   0     Ca   P4


to    ‘        to    a             to    ‘    to        ‘     to    ‘    to    a    C)    0     it    ‘    to        4     0.0         ‘     0     to
                     Mi                                                        0    0     Pb    a’                   S     0                ‘0
                                                                                    a           ‘1                   n is                   a
                                                                               S    C)    Vt    0                    N ‘t                   ‘1
                     Pb                                                        is   S     a-    0                    MiP                    is
o              “     ‘-‘S                ‘4*            ‘4    ‘     ‘CS        .          i     C     H     0                          Z    Vt     Cl)
)c’   a        a     o    a        o     a    is        a     a     a is       a    it          a-    Vt    W                          0    Mi     0
 is   a        a     o    i        S     a    a         a     0.    a    a     ‘*   ‘i    S                 is       I-’   D     is         0
‘4    •              1f       -‘         a              a           a               is    0     is         ‘4        Mi          Vt                tt
 •             S     a             N          it              S          Vt    o    it    ‘s          a    •         n     ‘-‘         a    a      a-
               is    •             is    a    a’        a     is    a    a-    ii   Mi          a     is             a     w     W     ‘-          a
                          Vt             Mi   ID        Mi          Mi   is         0           ‘1    D              “3    CO    Mi    i    C      11
                          o’4            Is                         Is   it    is   a     z     ‘4    a    S               a     a     •    a      a
               Vt                                             Vt    •                     a’    a          a’                    a.         a
a              b’         Vt       Ph         0                          Vt    ‘4   ‘0    Mi    Is    Vt   is               p               a      S
                                                                                                                                                             Case 01-01139-AMC




a                         a-       e-’        Mi              ‘          a-          ‘s   a           a’   Vt               i    0          Is     a
               a          a        0          ia              n          a     0     0    ‘     Vt    is         I               Is         is..   ‘s
‘4                                 0          a                                Vt   C)          0     it   0’    I         a                i-’    a
 o                        0’       P5         Mi              Mi         0     a-   a     5                0     I         X     is         I-’
 0             a          a        a          a                          a     a    a     is    it    Vt   a     I         a                ‘4      -
                          a        ‘o         ‘a                         a-’   is   a     a     is    a’   a     I         0     N          o      Vt
a                         Vt                                  0          ‘4                     w     a          I         a     Mi
Vt                                            Mi                                          a     a          Vt    I         a     I-’               Vt
is                        o                   a               a                           o           o.   a’    I               a-’               0
‘5             is                                                        MiMi       a     a     o     is   is              a                       a
Vt             a                              N               0’         a-’   a          a     a.    a    Vt              a      a
a                          a                  0               0          I-’   Vt   a                 a                           Mi               a
a              Vt         ‘4                  I-’             Mi               0    0     Vt                                      a                I-’
                                                                                                                                                             Doc 22814-29




               a’                             Vt              I-’        Mi    Is   a     0     Vt    Vt   a                I                      a
               a                              Mi              a          a     a    a           a-    a-   is    I               ‘4
a                         a                   ‘a              Mi                          Vt    S     is   a               4-’    0                Mi
               0          C)                  I.’                        ‘a    is   0’    a’          Vt         I         W      0                a
‘a             I-’        o                   a               C          w     a    ‘4    is    a          Mi    I         a.
40             0.         a-’                                 -3         0     a          Vt    0     C)   $     I         CO    a’                o
0.                        a-’                                            CO    a     is         Is    is                         is                I-’
ci             a          a                   a                          ‘4    0.         o     Ph    N    C     I         Vt    4                 4
a
                                              4                                      a    is    is    a    a               o     a                 a
               ‘4         Vt                  a                                Vt    Is   a     fl         a     I                                 a
Mi                        Mi                  I-’                              0    ‘4          a     a.   a     I         0     5
a               a         o                   a                                           Mi          Is   n     j         o     a’                Mi
               Mi                             ‘.3                              Mi   b     Z     N     0    is              a     a                 a
                                                                                                                                                             Filed 08/14/09




Mi             I-’        a                                                    Vt   ,5          0     N    I-’   I         0
Vt             a-’                                                             •    0     Vt    Mi                         a                       Vt
               ‘.3        Vt                                                        C)    a’    a     Vt   Vt    I               ‘4                a-
Vt                        a-                                                        a     a     Vt    a-   a     I         Vt     0                a
‘I                        a                                                         a           0     a    n     I         n      0
0                         ‘I                                                        a     a     ‘i         a     I         is                      a
a                         a                                                         •     Mi    ii    a    a     I         Vt    a                 Mi
                                                                                          4-’   a     Mi   ‘4    I         a     is
Vt                        5                                                               pa                     I               a                 Mi
a’                        a                                                         ‘-3         is    a          I         n     a                 a
is                                                                                  a-    Mi    a                I         is                      ‘a
Vt
                                                                                                                                                             Page 4 of 52




                          a                                                         a     a     a                          5     0
Vt
                                                                                                                 I               a
                          is                                                        S     Vt    is    a          I
a-                        a’                                                              a’    ‘a
a                         o                                                         S     a     a-’   ‘a
                          0                                                         is                0          I                                       a
                          Vt                                                        a                 Vt
                                                                                                                                                         0
(‘3    (‘3   )     1’.)    M     (‘3   l—      F-    l-     l-     F-’     F-’   I—’   F-’   F-’    I—’
C_fl   4     C,)   (‘3     I—’   0     (0      0)    ‘—1    01     01            C.)   (‘3   F-’    0                    -1     0)    01            C’)     (‘s)   F-.



.0     Di    CD            Di     Fl           F—’   .0     >      0      .0     C’    o                                 D            ci-    .0             l-’    C)
       ‘1    (1)   Ci     tI      CD           to                  0                         CD                                       0                     i      0
       CD    U)    :3             U)           ‘Xi                                           Fl                                                             ci-
       Di    CD    Cl      Fl    ‘0            C’)                 o                         CD                                       U)                    0      0
                   Fl      0     CD            “3                  CD                                                                                              CD
o      0     rt    CD      x     c                   t:i    .<     i       i     .-<   ‘—    tI           I-i    F<     L:i    ‘—3    9)     Cl)    ,<      ci-    i
<      t           Cl      .     ci-   CD            ‘      CD     ci-     S     CD    (0     Fl   CD     0      CD     i-’.                 0      CD       J     ci-
CD           03                                      Cl     U)     ‘1      Ii    Cl)   CX)   0     I—.           U)     Cl     Di     Cl            Cl)     (P     Fl
1      Ct          ci-     Di                               -      Di                  C,)   Cl    I—’                         ci     CU     ci-                   91
       0           0       Ct          -             ci-           ci-     ci-               Ci                         ci-                                        ci-
                                                                                                                                                            S
ci-    ::i   •<            CD                               (I)    CD      J                 0            0)     U)     :3’           ‘-3    CD     (C)     l--    CD
r       i    -     U)                                CD     I—i.   Ii      ci)                            ci     1-’.   01      01                  I-’-    t-
CD     Di                  Di    CD    ci                   Fl             Ct                      :3-           ‘-I    ci      U)           (0     ‘-1     l—     1
       Q     ci    0       <                         It,                                     (C)   CD                                 I)
•<     CD    :-    :3      CD                        ‘-I           CD                              :3     ID                   ci            ci
                                                                                                                                                                               Case 01-01139-AMC




CD           CD    ID      ‘1    ‘—4   0             0             Fl      0                 Di                         Fl     :3.    Di                    Di     0
Di                         Di                        Cl                    Ci                      ‘--4   CD            0      CD     ci-    ‘0             Cl):   ‘

I-’                Cl     to     U)                                                                                     Cl                    Fl
U)           ‘1    Di      CD    Di    Cl            C)            0       Cl                      ‘-I                  Ci      Di            0              -‘.

-            0                                       ci-           Ci                        0     CD     Cl            0      ‘0     Di      Cl            :::s
             Cl                        CD            I—’.          I—.     O                 X     ci     I—..          ci     ‘0     I))     Ci                   U)
                   0             9)    X             o             I-’-    CD                      I-..   Cl            I—’.   Fl            o              ci
             C)    Fl                  0                           ci-                       S     Fl                   0      0      ci-    ci-            r      ‘ri
CD           ci           ::3•   ri-   CD                          CD      Ci)               91    CD     ci                   x             -              CD      ‘1
                   CD      CD    :3    CD            CD            “3                        ci    Cl     :3-                  1-     CD                            0
             0            ‘<     0     Cl                                  ci-               CD           9)            I-..   S             o                      ci
C-)                CD            ii                  CD                                      I—’          ci            :1            ‘0     0              CD      i
                          o      U)    i-i.          Fl                   0                                             0      ci     Fl     l                      0
                                                                                                                                                                               Doc 22814-29




ci)                CD     o            ci                                                                               ‘1     CD     0      C)            (C)      (0
             CD    :3     s::;   :i                  CD                   U)                 Di           :3            CD            Cl     CD             :3.     Cl
(C)                              1         I                                                                                   It,
                                                     x                    ci)                      :3.    C)            Di                   :3             a’
 CD          CD           Cl                         0                                       ci-   CD                   Cl)    ‘-I    o      ci-            0      F.
 Cl                              ci                  U)                   Cl                       :3     CD            CD     0      ci-    Fl             ‘1
                          t1
                           5     0                   CD                                      0            0)                   CL     I-,.   Dl
Mi           CD    Cl      Fl    i     rt            11                   ci                       I-’    U)            Di     Ci     o      ci-           0       Ct
*1                 11     o      U)                                       0                  U)           CD            Cl)    (-I     1     CD            0        3.
o            C)    CD     Cl                         ci-                                     91    ‘-I    “3                   ci     •‘3    Cl            Cl      CD
             CD    Cl            9)    0                                  Cl)                      CD                   ci     I—..
             CD           0                          0)                                      Cl    ci                   I—’.   0                            0      S
Di           11    ct     Cl)    Cl                  ci-                  It)                      I—,’                 S      :3            CD             Mi     I-’
             CD    0             Di    ci                                  CD                ci    Fl                   ID                   ‘1                    1-’
                                                                                                                                                                               Filed 08/14/09




Cl           Cl    :3                                a’                    Fl                0     CD                                        5              (31    )-‘
Fl                 (1)    Dl     -     Cl)           CD                                            Cl                          1<                          0
             Ct                                      ci-                   Cl                U)                         (0     CD            0             0       —ii
                          0      ci-   C)                                  CU                      I-’.                        U)            Ci
             Di    a’     CD     Y     CD            CD                   ‘<                 Di                         ci                   I—’           ci-     0
             ci                  9)    CD            CD                                                                                      I-’.          0
                   ci-    ci-    ci-   Cl                                 0                  Cl    F-’                  a’     C’)           ci-
                                                                                             Dl    (0                          I-,’          CD            U)      ci
                          CD                         I—.                                     1<                         “2     ‘1
ci                               i)    ci            (.0                                           (I)                                                     ‘0      CD
‘1                               UI                                                                                                                         CD
o                         CD           I—’.          cxi
                                                                                                                                                                               Page 5 of 52




                                                                                                                                             Di             Fl     0
C)                               9)    ::i                                                         Ct                                        (a                    Fl
CD           ct                                      0)                                            :3.                                                     Cl      CD
U)                                     ci                                                          CD                                        cn            Di
U)           ci)                                     Cl                                            1<                                        o             <       Mi
             ci-                       I—’.                                                                                                  o             “3      CD
                                       U)                                                                                                                          C).   (3)
                                                                                                                                                                         I—’
i’’   I                  I.’..                 i.         •‘




       10      P3   ta   pa       P3    P3    ‘a     ‘a   ‘a     i’   ‘a       a
                                                                                     ‘a   ‘a     ‘a   ‘a
          Cs   a     0   to       ‘a    0     so     m    ‘.a    a    cs                  Pa     ‘a   a     so                oi    ca   a      Ca   to         ‘a


      dO       ‘    .0   ‘       .0     a     >     .0    a      .                   ‘          .0    ‘
                                                                      a     a                               n    .0           ac         ‘     .0    ‘          ft
                                        It                a                0            U.                  0                 ‘1
                                        ii                                                                                                                      0
                                                          ‘4                                                U                ‘4
                                        a                 •
                                                                                       aft
                                                                                                            ft
                                                                           aa
                                                                                                            ‘a                                                  0
                                                                           E                                                  S
               ‘4)3      ‘4,                 Z       0                     U’        Zfl              ‘4                      ‘a    ‘    “3    E     ‘4         Z
                         a        o          a       w                     a        o            ‘    a              0        I-’   z    U’    z’               a
                                        it   ‘a
               aa                                               •‘a
       a            a    a                                            a    n              on
                                                                                                 a    a     a                 s-’   a    a     a     aii
                         •        a     C    I-’    ‘4          ‘a    ft   ‘.              ‘1                     ‘a
                                                                                                            a                                  U     -
       H            U                   ‘a   —       •                              a            ft
                                                                                           a                      U                 a    it
               a    a                   ‘a                                          ‘a
                                  a‘s
                                                                           e              n      U’         ft                0     we
                                                                                                      a                                  ‘a    a
                                                                                                                                                                a‘a
       U’      ‘a                ‘a      I   ‘a                 s-i                       ft                                                   ‘a
                                                                                                                                                     a‘a
                                                                      a    a        ‘s           a    ‘a    0     ‘a          ‘s    a    ‘i                     ‘a
       a       ii                ‘4     ft   ft     Z                 a             -     -a          ‘s          so                     a            ‘s        ‘a
       a       •    o                   ‘a          o           a                                     •     a                       ft   ft
                                                                                                                                               a
       n                         ‘a     a    Z      *           0     ft   ‘a        ‘a          a          a     a          0      U’         ft               ‘a
       a                         so     a    a      -                      ft       t
                                                                                                                                                                           Case 01-01139-AMC




                    a0
                                             a                   -                              ‘a
                                                                                                            a                a      a
                                                                                                                                                           :‘
       z                         a’     ‘a                      ft
                                                                      a                                           *                            a                0
                                                                                    a                       ft               ft      I
                                                                           a                     a                U’
                                                                                                                                         aft
       n                         -           o’                       ‘a   ‘a       ‘a
                                                                                                                                               ‘4
                                                                                                 U          U’    a          U’      I                          a
                                 ft
                                             a      a           o’         a        a            a          a                a           a     ‘a               a
                                        a    ‘a     U                 a    U                    a                            ft     0    ‘a     C               a
       o                                     ‘a                                 -
                                 U.
                                                                a‘a   II
                                        a                                           U           a           a    ‘ft                ‘a   ‘a    ft               -.
                                 a      n    rt     S           ‘a    a    ft       0                       ‘S    U’         ‘a     a    ‘a
      a‘S                               ‘a          a           a     a             ft          ‘4         ‘4    a                             ‘a               ‘a
      U’                         5      ‘4   ‘a     a           4     a    ‘a       •            0                                  ft   S     U                a
                                 a                              a     a    z                     a               it          a           a
      1                          ft     ‘a          ft                -a   a                     ‘S        ‘a    ‘a          a      a    a     ft               ft
                                        C    ft     U’           I         ‘S       H                      ‘a    ‘S          a                 U.               U.
                                        .    u
                                                                                                                                                                           Doc 22814-29




                                 a                  a                      a        n           ‘a         ‘a    a           ‘a          ‘a    a
                                 ‘a     a    a                             a                     ‘S              Ut          ft     a     C
                                                                                                                                                                aft
      I                          ‘a     •           U           ‘a         a        ‘a          o          it                ‘a     a    ft    it
                                 ‘a          a      a           C          a        U           a          a     5           o      a          ‘a               a
      ‘a                                     a      z           a                   a           0          ‘a    a                  U    o     ii               a
      U                                      n                  a          ‘a       ‘S          a          ‘a    ft                      z     a
                                 aS          ‘a     S           ‘a         .t       a           ft                                  ft         ft               ‘1
      U’                         U           ‘4     a                               a           ‘a         a’    a           0       t   a                      a
      ‘a                         ft                 ft          ‘a         a        a           a          0     ‘a                 a    ft    S                a
      a                                                         ‘4         0        a           U          fl    ‘a          ft     ft   ‘5    a                ft
      o                          o           ‘.a-   a‘a                    o’       a                      a     ‘a          U’          a     ft               -3
      ‘a
                                             a                  a          a                    a          --                a      z    a
                                                    ‘a                     ft       ft          C                a                  a    a
                                                                                                                                                                           Filed 08/14/09




       a                                     a•     ‘a
                                 a                              ‘                   U’                     ‘a            •
                                                                           a                                     a           a      a          a‘a
       U                         ft                             a          U        a           a0’        a     a           ‘S          ‘a    ‘a
       ‘a                        ‘S                 ‘a          U          ft                   ft               a           ‘4     ft   U     ‘a
       U                          a          H       0          a          ‘a       ‘a                                              U’         -‘3
      O                           a                 ft          ‘s         a        ‘S
                                                                                                aU         ‘     a           a      a    ‘a
                                 ‘a                             a          ‘a       0           ft         a     U           ‘a          C
      a                          -I)                                                            ‘a
                                                    ‘a          a          ‘a       a                      ft    —           ‘a     a    cs
      ft                                     a       U                     ‘40                  a                            ‘a          a
      aft                                    U                  ft         -        C)          ‘a         a     ‘4          -a     a
                                             ft     ‘a          0                   ft          ‘a                0
                                                    ‘a          U                   ‘a          ‘4         “s0    0                 o
                                             o      a           a                   o           --         ‘1
                                                                                                                                                                           Page 6 of 52




      aaa
                                             U      a                               U                      aa
                                                    a           a                                                                   ft
      ft                                                                                        a          ft                       U’
                                                                                                           -o                       a
       I                                                                                                                                                              Cs
                                                                                                                                                                      10
 t)     C\)   FJ    I\)    )             H      I-’     H      H       I-     H         H                  H       H
 (7)          C3    I\)    H       0     (C)    CD      .-     a)      a)         P.    C)     C’3         H       0       (0       02   ..‘3     a)      Cr)    U       C.)       )    H



       •0     t     C)     :r’                  U)      ;:     CL)     ft    £)        U)      ft                  Cl      U)     :3     ft               CL)    CL)     Ct)            Ccl
 0                  0      :3                   (-F            S       :3.             0       :3-                 F-.     H             CD              (C)     U)
 Ii                 ‘-C                                                                                                                                                  Cl             x
                           Cl                   CL)            0       CL)             S      CD                   (11    CC)            ‘-C              FC     C3      5              C)
                                                ft             :i                      1)     -                    CD      :i            S               CD      m
                    CD     ft                   CD                                                                                                                                      Si
                                                                                              CD                   CL)     H             U)              CD      CL)     ft             U)
‘Ci           1<    C)      3     ELI                                         H
                                         o              z                              0                   H       U)      I-?,                                  c-F              F-I   ID
 ‘-C     3-   CD    ft     CD            ;‘;•   CD      o      ‘<     :.      c’)      -t                          CD      F-.     0                             (
        CD                                                                                                                                                               ft
 o            Ci)   --3           ‘-I    CL)    :3     -       0      CL)      i
                                                                                                                                                 o•
                                                                                              CD           ft              C)                                    U)          r          S
 Cl     :3                                                     :                   -   0      (1)          zr              CD                            ft                       CL)
                                                                                                                                                                         CL)            CD
 Si                        CD     H                     U)                    ct                        F-.       CL)              0
       i<
                                                                                                                             1                           :r      ‘1      c-F      :3
 C)           (0           rt                                                                           :3        U)       (-F                   H               CD
 ft     0     H                                                                                                                                                                   ft
                                                        ‘i     CD     0       -“                   I                                                     Ct      H       CL)
 H      Si                 S      CL)                  •        S             tt       CD                         CL)      CD      CD            Cl      3.      Ct)     ft       ft
 0                         F-.           CD                    its                      5     ft        H                         (C)            o       CL)     c-F              a
 :3                        H             H                      H             CD       ts               it        U)       F-.     ‘1                1   ft      CD     H
    0                      H             H             F-i     0      CL)
                                                                                                                                                                                                    Case 01-01139-AMC




                                                                                       H      CD             -    CD       Cl      CD                -   -‘3     Cl     CD
  ft                              CD                           ‘<     Il      h         0     ft        U)        ‘-:i     CD      CD            ft
                           0.                                                                                                                                           CD
                                                       Cl      CD             CL)      •<                         F-.      :3                                   C).     Ci)       a
        CF                 H      CD                   o       CD     CL)     C)       CD     ft        ft        0                ft                           F-.
                                                                                                                           C)                                           ft
        :3.                0.     :3     CD            :3      (1)            ft       CD     :3-       ‘1        Ii       CD                    CD             Ci)
        CD                        ft                       -
                                                                     ‘Cl               (I)    CD        C         U)               CL)           H              CD      Cr        F-.
                                        H              t-l.           ‘1     (-F       -                CD                ft       (-l           F-.            CL)     <
                           f-I          H                             0      :3.              CD                          :3.                    CD             Ii)
        CD                                             ft             Cr     CL)                        ft        CD      CL)      CD                                   H
                           C)           (C)                                                                                                                     CD
                                  0                    :3-            H      ft        CD                         CL)     ft       ft            CD                     (0        0
                           0             CD            F-.            CD               U)     Ct)       CL)       I-i                                           iti     a)
                           S            ft                            S      ‘<               U)                                   H
                                                                                                                                                                                  Si
                                                                                                        ft        ft      CL)                    H
        CD                 CD                                                 C)                                  :3.     U)       ID
        ft                                                                                                                                                      a                 CD
                                                                                                                                                                                                    Doc 22814-29




                                  :1    H                                                                                         0)
                                                                                              CD        cr                Cr                     Ct)            Cr               IC)
                           0      CD    :3             ft             F-                               •<          3.     CD      U)            IC)             H
        S                               ft
                                                                                                                                                                        0
                                                                      ft     •               ‘Cl                  CL)     U)      ft                            ID      Si       CD
        H                               0              CD             3.                                H         N       ft                    CD              5                CD
       H                  H       F-.                  Ct                    CD                         (0
                                                                                              0                   Cl)    •0       Cr            CD
       H                          :3    ft                           CD                       0•        a)        ‘1      U)                                    H        1
                                                       H             U)                                           Cl      F-.                                           CD       H
       0                  CD      H     CL)                          Cr                      CD        -                  U)      H             H                                ft
       :3                         (0    ft             CL)           CD      0               5                    ft              Co            ft              ft
                                  a)                  IC)            U)      ‘
                                                                                                                                                                                 :3-
                                                                                                                  0       0       a)                            :3-     c-F
                          :3            S              ‘1            ft                      z          CD                ‘1                                    CD       j       ft
       0.                 ft            0              CD            0       5                                   1<                             ft
       F-.                F-.
                                                                                                                                                                ft      CD
                                        ‘-I            It)           U)      CL)             ft        ‘1         0       CD                                                     H
                                                                                                                                                                                                    Filed 08/14/09




       Cl                 H       0     CD                                                             (Ii        Si      U)      ft            CD              S                U)
                                  Si                                                                   C)        ‘1       t3                    ft              H
       ft                 H             H                            CD                      CL)       o                  Ct)     CD                            H      0
                          Co            CL)           ft             H       ‘               U)        CC)        CD      U)      Fl             I              H
       CL)                       CL)    ft                           CL)     CD                                   5       rt      CD
       ft                        Cl     CD                           ft      CL)             CD        I—.       ‘t5      0                                                      a
                                        Fl            ft             Ct)     i-              U)        N         H
       F-.
                                                                                                                          U)                    ft                     CU        Si
                                 CL)                                 II      U)              ft        CD        0         I      Ct)                           Iti
                          F-.           (-F                                                                                                                            Cl
                                                      CL)                                    0         Cl                         U)            0               0                ‘-I)
       0                  U)     it,                  ft             Cl      C3              U)                  CD       CD
       ‘1                                                                                                                                       U)                     CD        0
                                 ‘-C    CD                           F-.     CD              F-.       ft        CD       -.                    CD                               H
       CD                 ft     0                                   U)      fi              (1)        3.       U)       CD                                    0      Ii)
                                                                                                                                                                                                    Page 7 of 52




       CL)                       Cr                                  CD      0                         CD        •‘3      ft
       U)                        H
                                                                                                                                                                Si     (T        U)
                          CD                                         Cl)                               ft                 CD                                           ii
       CD                 c-F    CD                                  U)      CD              F-.                          Cl                                           H
                                 S                                   ID                      ft                                                                        0
                                                                                                                                                                       Ii
                                                                                                                                                                       (ft                    Ut
                                                                                                                                                                                              C.)
                                 •          1.




 10     10    10    P.)   P.)        P.)   P-I   P-A   P-I    p-I   p-I   p-I        pi   P-I      p-I   p-I
 CR       ‘   Co    to               0     io    w     .i     oa    m     SI         Co   to       aa    0       iO     W      0        cn        S   ca    to    a-’


 a            a                            ‘a                                                      c     .             a      ‘<        a     0             0     >
                          pa                                  Ps
                                                       0            a     o          a             a             ac            o        a
 a•
 pa
        a                 -a               a                        it    U      n
                                                                                          ‘s0
                                                                                                   n                           U
                                           a                              I-’    ri                pa
                                                       aa
                                                                                          U
                                                              aa.
 U      H                                  C’)
                                                                    a            Pa                              Ia
                                                       •
                          aa
 pa       -
                                                              U     ‘s    P.              C        a                          U         4
              -            a     H         •                  C)    pa           C)       ‘        a.    ‘4      (1     Z     a               0       ‘4     I    ‘4
 it     I-’   cfl         a                •                              0      U        p-d     a                     0
                                                                                                                 0            a         a‘s   w       a      •
                                 U
                                                                    aI-   a      a-.                             I-.
                                                                                          ‘4             a              U           P         a
                                                                                                                                                                  aa
 it                       E      a                                        ‘4     a                 U     .t      pa     a-,   •1    P-k
                                                                                                                                                      a
                                                                                                                                                      •     it    a
 U                        pa                                                                                                                  ‘4
        a     z                  4                                  ri           Is       a        U             it     a     0     C)        •             0
 a      w           ‘4    ri     a                            to    a     o               a        it    pa      a
 it     ‘5    •     N     U                                   0     0            ‘a                      a             ‘4     C     a-.
                                                                                                                                                      a..   a      aa-.
        a           N                            •                  ri           a        a        it            a      o     0     I’.       X       n     U     ‘s
 H      C)                ft                                  ri
                                                                          aP54
                                                                                 .5       (1       D•    0       0      0           ft        ‘5      •     0
        it    L’I   C)    U      0               t’           U     E            ‘        a        a                          ft     a        •             U
                          $a     ft                                       ft
                                                                                                                                                                                Case 01-01139-AMC




 Z            Z     0                                               0            0        U        it        I          a     U                             it
                                                                                                                 aa
 0      ‘4    H     C     a      U                                  a     U      a        5                  I    a           ‘5     a        fl
 a       a    Cl)                a               H                                                 pa
                                                                           a                                           m‘5    0     0         0
 it      U
                                                                                          a                                                                 V
                    ‘4    a      ‘5                          2      P            0        .t       a     o       .t     a     U               4
         Is         ••    )C                     •           0      0     ‘4     it                      <       n      a     C               a             fl
                                                                                          a                                         aa
 it                       U      U                           0      <      a                       ‘5    a                    U      a        a             U
   o    a     H           Pa     0                           I-’                 ft       it
                                                                    a     0                       0      ‘5
                                                                                                                 aft
                                                                                 pa
                                                                                                                        2            a        W             0
        it          ‘4    U      0                           a.     a     ‘s              Ia       U              a     Ia    0     ri        •             U
        ft    U           pa                     a                        a                                             ft          ‘S
.9,     a      a
                    aa
                          it                     a-.         U      pa           a        U        Z     U              U     I-’   a         it
                                                                                                                                                            a0)
        a            •    a      U               a-’         a      a                              a-    a       ia           0     ft        0
        ri    a4                ‘a               a                               ft                              it
 aaft                                                                     a               a       ‘4                          it    a         ‘s            a
                          .4                                        ft    a      a        •              ‘a             a
 pa
                                                                                                                                                                                Doc 22814-29




        0      a          o      it              a             i    a-                        a   a              .t           0     ri        a             it
   o                             U               0
        a                 U
                                                                                                         a‘S            ft
                                                                    a     a      ‘a               a              0            it    U         4             0
   a           a          ‘s     a               U           it           a       U       U              pa      o      a-                    a
        it    o                  ‘5              I-’         U      p     it     it       a       a      o                                    ‘s
                                                                                                                                    at                      aa
‘4      a     ‘a                                                    pa    pa
                                 a               a           a                            a       a      a             ait    o‘S
                          0                                                                              a
                                                                                                                                              ‘4
 o                               •                           it     a     $      a        a       C)                           a    ‘4                      ‘a
U       it                                       H                  •     0      Z        U       U              U     it     -.     0        ri            a
        U     0           0                                  0            it              a       as     it      o     o             g        a             ‘5
a       a     it          as    z                            a            a      a-.      a       a      a-      U     ‘S     pa              a
U                         -o    a                aU          a            a      it               it     a       it           a     ‘a                      a
o       ‘a    it                ‘4               4                               •        ‘4             it                         ii        0
                                                                    aaU
U        0    U                                              .t                            0
                                                                                                  a              10
                                                                                                                        a     it
                                                                                                                                                            a
                                                 a                        ca                                                        0         it            ‘4
it      ‘S    Pa                H                            0                                    it         I   Pa                                         -9
                                                                     aP
                                                                                           U                           a4     U     a
                                                                                                                                                                                Filed 08/14/09




•       it    a                                  N           Z      •                      -      pa      I             ‘5
        pa                                                                                                                    a     U         C
        o     a                 a                                         a      U        a                      it    ‘4     it    a         a
        a     x                 ‘a               pa          ‘S           (1              U’S            U             it     C)
                                                                                                                                    a         as
              U                  as              U            o     a     a      a                       a       aa    o            a         pa
        o     pa                 0               pa           U                                          it
                                                                    a     a
                                                                                          a4 a
        it    U                 a                it                 a-’   it
                                                                                 a                                     a      aso   ait       a
                                                                                          a                      a            ‘S              U
              pa                a                             a                  a                a it           it    o      a               a-’
        ri    it                U                C)                       0               it                           it                     pa
                                                                    aU
              a
                                                                                                  a pa                        0     it
        a-                                       I                  a-’   it     a4       o       am             o            it    a-        it
        a                       it               a.                                                                           -o
                                                             aes4
                                                                    a            ‘s                      U       n                  a         a
        it                      U                P.)         ‘4           it     a        it      H      ‘S      a                  it        -
                                                                                                                                                                                Page 8 of 52




                                                 a
              apa
                                a                                         U      C        a              a       -a
                                                             to           a      a        N       a                                 U         it
              a                                              0                   a        a       a                                 a--       U
                                                                                                  ‘4                                a—        a
                                                                                 H        a                                         I-.       it
                                                                                                                                    a                                     Cii
                                                                                                                                                                          a.
I.   C                    i




      to    to      to    to      to   to    9’    pa   am   i-a    9-a   am    am   am   am   pa
      CD    ‘P      C,)   90      am   0     10    CO   ‘4   Ga     C$    0     CO   to   am   0      40    0    ‘4    0)   CD    0’   C.)   to      am

      pa•   0       0     ‘.      C    ‘           .         c
                                             .0         C          0      N     ‘    ft   Z    0     .0     0    a    >     .0    >          0
      (0    0                                           0    a            0          it   am   a            P%   am                    •         I
      a     ‘<                                          it   0                            .t   .0           •
      ‘0    0                                           it   ft           0
                                                                                     a0   b’   a                 am                    Z     to
                                                        0                 am         ‘9   am   am                0
                    0         I   ‘    0     ‘     ‘4   C          Cl)    am   N               it     Cl)        am   S     ‘     ‘4         am
                                       0        0       ft   o     0      It   0               0      0          0    it    Z     0    4     0       0
     2’     t:                    0.         0.0                          4               It                          •     fl.   0    am
            0       ‘4    0            0           •         0     N           0                      ft
                    •     0       t    ft    t               0.    0                           N      0          0     4               am
      0     0             0                                               0    am              0                 a    am    D’    0          C       am
      it    am            o’      0                          E     0      0    it         0          0                D     0     am   C     0       0
      it    am      9-3   it      it                               am
                                       aC)   oft                          am
                                                             D’                0          it         )C          t    am          it
     ‘4     ft      a     am      0    ft                    am    am     am                                                      •          1%
                                                                                          0
                                                                                               aam
                                                                                                     V           D’         Z          a             0
            a       it    a            am    4               0     .‘t    ‘4   0’         a    am    am          am   C     0          0     am       i
                                                                                                                                                                Case 01-01139-AMC




      W                   C            0     0               D’    0      •    0          0    ft    0           0          0          ft    a       0
      it    4             0            D     0                                 C)              o     am               4                0     0:      to
      0     0       ft            0                          5     4           0          9%                                S          a             -
      S     it      0                  V     ft              it    0           0          0    0                 N    0     it               ft
      D     S             S       It   it                    •     0           0          5    0     It          0          •          Ci    ‘       0
            am      It    0       D’    o    0                                            am 0       ‘           Z
      0     a       D’    0       0     0.                    c    0           0          am.’       0           0    it    4          am    am      a
      ti    g       •     0       am                         am                           ‘4   p                 am   0     am         .4            0
      0.    am            0       ii                         D     0                                                  0
                                       aa    a
            am
                                                                                                                 am         Z                am      o
                    0     C)           ft    am              am                                      it
                                                                               ‘a0
     .14                                                           0                      0    ‘4                ft   am    am         to    0       a
            ft      0     D       b’   0     4                                                                                         0’    ft      S
      am    •       a     a       o          am              q     a           It                                     0     C                It      0
      0             a     0       0    a     0                     am                     n    N     ft          0          •                0       z
                                                                                                                                                                Doc 22814-29




     ‘4     o             a       a    am    am              S     4           0          a    0     ‘                ft               am    it      It
      a     it      a     It      .0   c     0               0     am                                0           0                     40
            0             It           am                    0     0                      ‘0   0                 it   0                ci    0        I
      CO            V     0            0     ‘9                    am          0           0   am    c-v.        0    Pb               40    it       I
      ft    it      0     •       it   am                    ft    0                       D   am
      a     a       C             It   a                     p     p           a          am   It
                                                                                                     ait         am   C                              S
      0     4       0             0    P                     0                 am         0    0     ‘4          0    0                am    0       0
      it    am                    it   •                           0           4                                 z    p                0     ft      am
      ft    a       o             0                          p’    ‘j          am              a                      0                      0       am
            S       Pb            ‘9                         0                 0          0    0     0           0    .4               It
            %
                                                             0     It          am         it   C)    Pb          ft   it               D     It
                s   It                                       a     b           o               0     It                                0     0       It
     9-4                                                           am          U          a    S     0           t
                                                                                                                      aC)
                                                                                                                                       ft
                                                                                                                                                                Filed 08/14/09




     0      a       am                                       o     0                      am   0     it          am   It                     C)      0
            0       0                                        9%                5          4                      0’   am               C)
            ft                                               —.    a           am         am   0     z           a’   a                o
     U’     0       a                                              am          It         0          •                p                it    S       am
     0      a       o                                        am    4           U’         am   a                                       it    •       it
     It             2                                        0     am          am         0    am    )                V                0             0
            C-,                                                    0           U          U    4     •                it                     0
     a                                                                                                                                 a             ft
            a       n                                        It    am                     0    am                     0                It    it
     0      am      0                                        U’    0           It         “    0     0                a                ‘9    0       V
     it     ‘4      U                                        0     P           U’              am    it                                      Pb      0
     it             It                                       ft                0          am   0     0                a                      i%      C
     0      to      •                                              ‘4                     0
                                                                                                                                                                Page 9 of 52




                                                                                                     a                ft                             0
     C)     0                                                       0                                0                0                      Pb
     It     —                                                      a                      ft                                                         0
     ‘9             9-3                                                                   U’                                                 0       Pb
                    U’                                                                    0                                                  0
                    am                                                                    It
                    0                                                                                                                                     Cli
                                                                                                                                                          CD
•                .         I




    N     N          N      N      N     N     ‘a    ‘a   ‘a    ‘a    ‘a    is’   ‘a    ‘a    ‘a    ‘a
    a’    e          ci     ta     a-’   o     io    a    4     a     Cs    a.    to    N     ‘a    0      (0     0     ‘4   0)   (5   S       CO        N   ‘a


    >0               <>0                 >     sO    >    sO    >     0     0     >0          >     ‘U     0      ‘g                   N       it    .0      >
                     ‘a                                               a                              ‘1   ‘U      0                    0       0
                     a‘a                                              0’                             0    ‘U      it                           ‘a
                                                                      a                                           ‘a
                                                                                                                                       a0
                      a                                                                              a                                         t
                           ‘a
                                                                                                     U     0      0                    ‘a      a
    a     ‘                        ‘a    ‘a          ‘a         a-i
                                                          0
                                                                      ait
                     c                         Z                            0     ‘4    Z     ‘4          )C            >    ‘4   0    ‘a             0      ‘4
          a          •     it      ‘a          0          it           0    $‘          0                 ‘a                           it
                                                                                              a                                                a             a
                                                                                                    na
          a                    -   a     a     U     a                 a                                          a     a         o
                                                                a                       U
                                                                                  aa
                           a       ‘a    0     ‘a         it
                                                                            a     •     ‘a
                                                                                              a
                                                                                              •
                                                                                                     a            x
                                                                                                                  i’s
                                                                                                                        a
                                                                                                                             aa
                                                                                                                                       a       as            a
                                                     0          0     ‘
                                                                                                          a0
                                                                            ‘4                                               •    ‘4           0     ‘U
    (0    5                              Z     ‘          a’     -                      a           •.     it     a     U          0    0      0      0
    o     a’                a      it     -                                                                       it               U   ‘U      it    (0
          0                        ‘a    it    ci    it
                                                          afl   it
                                                                                  a‘a         a‘a   ‘a
                                                                                                           ai-a
                                                                                        ‘4                        a
                                                                                                                        aa                                   a‘a
                           ‘a      it                                       z      ‘s   o      ‘s   a     ‘4             a        a
                                                                                                                                       aag            a      as
          E                        it          ‘U    ‘    N     ‘                 •
                                                                            a’          g     •                   a     ‘i        a     a      as
    a‘a                    a.t
          a                                     a         N                                         rt    N       fl                   it
                                                                                                                                                                        Case 01-01139-AMC




                                                                                                                                  a            0      0
     a    a                .t      a     0     PS    0          0           it    i-i   a           a’    N             it             ‘a      it     U
     a                     a             z                it    z                                   a             t     a’        it   o       it     a
    ‘S    X                ‘1                                                                                           is
                                                     z•   0                 ‘U                            it      ‘a
                                                                                        ‘S                                                     ‘a
                                               oa
                                                                                  S                 it                            a’   a              a
          is                                                                 a    0     a                  o      as    a         a    a       a
          •                o             a                                   s
                                               ait        aa                      U     a           a             as    a         it           a      a
    0                      is      l’s   ‘a               •                 a     ‘a                o     aa      ‘4              ‘.   ‘a      a      U
    a     so                       as           a                            a    a     S           is            •     a’             a       a      U
                            ag     ‘a
                                         ‘s•   0                                  •
    0
          o                                               5                             ‘a          is    0                                    w      a
          a’                a      it                     a’
                                                                            ait         it          a     it            is             r       a      is
    a’    a                ‘U                  a          a                 a           a’                        >     a              ‘a             a
    ‘a                             a           a          it                a
                                                                                                    ait
           a‘a                                                                                            o       it                   a’      a      ‘a
    II
                           oag     0                                        a           it          “3    Ii                                   ‘S
    it                     it      •
                                                                                                                                                                        Doc 22814-29




                                   ‘a
                                                          ‘U                            a’                a       t-’                  ‘4      a      it
                                                                                                                  ‘a                   •              a
                                               aas
          aisa
                           it      •           a
                                                          aii               o
                                                                            it
                                                                                        ait               it                               a
                                                                                                                  as                           a      U
 aa       -a               is                  0          a                                               0       as                           ‘a     is
(0                         0                   it         a                 it          C                 is      ‘4                           ‘a
    ‘a                     a       z                                        a’          a                                                      U
    a                              a’          a
                                                          ait               a           a                 a       it                           ‘a
    a                              a           a          a                 it          a                 a       a’
                                                                                                                                                      aaa
                           •       it          a          (0                            aj                a       a      a                            a’
ais                                                                                                                                            aa
                                                          a                 o           a                 a’                                   it
                           >       ‘a          is                                       ‘a                        a                            ‘a     0
o                          •       a                      S                 a           ‘a                it      ‘a                                  a
it
                                               ait        o                             ‘C                a       a                            ‘a     a
                                                                                                                                                                        Filed 08/14/09




                           so      it           a         U                             -a                a       a
o                          a       a’          -a         ‘a                a                                                                  it     a
o                          a’      a                      a                 a                             0       3                                   it
                           a       it                                                                     it      a                            a
                                                                                                                                                a
                           ‘.
aa
                                                          as                                                      4                            it    it
 it                        ‘a      a.                     a                 as                            a       a                            a     a’
is                         a       o                                        a                             o       a                            is    a
U                          a       a                      a                                                                                     a    it
o                          ‘1      U                      a
                                                                            a0                            a0
it                                 U                       as               ‘a                             a                                          is
‘a                         it                              a                ‘a                            a
                                                                                                                                               ait    a
a                          o       aa                                       it                            it                                         ‘U
a                                  it
                                                          ait
                                                                            a                             ‘.5                                         o
                                                                                                                                                                        Page 10 of 52




                                   -a                     a                                               ait                                        is
                                                          a
                                                          ‘a
                                                                                                                                                     it
                                                                                                          a                                          -
                           a
                           .                                                                                                                         ‘a
                                                                                                                                                     it            C5
                                                                                                                                                                   a
I




         M     1.)    10   13   tq)    ‘.‘   I-’   pa    pa   pa   pa       pa    pa      pa   pa
    1$   a.    ca     so   pa   0      40    0     .4    0)   Cl                  13      pa         40   0)   .4                                   pa
                                                                   •        (a                 Q                    0)    (ii       a.   0    14


    4    .0    >0          >    no           >     00         >    a              0       >    0     0         it   c)    pa             >0         ‘0
                                                                                               0               0    0     40                        ‘1
    ‘1                          a                  .0              ‘4                          a                    a     m                         o
    B                           it                 a               a                           it
                                                                            ait                                     it
    ‘a                                             ‘1
                                                                                                                          w                         a
                                                                                                               o    ‘i                              C
    O    (I)   Z      0    ‘3   0      0     .4    0    H     .4       -    it    0       ‘4   a     ‘    ‘4   0    0     I-’       >    ‘4   1-4   0
    0    o     o      o    a’   o      ‘     a     a    it    a                           a    a
    pa                                                                      o     N                  a    a         i-’   a         D    a    a     it
                           ‘a          0     a     a          a    a           a          a    a     a    a    p          it    a        a          a
    ‘a   pa           ‘4   a                 •     it   a     •    it                     •
                                      ‘4                                    a’4                it         •    B    it    it             •    C)
    it   it    a                       •                                    ‘a •
                                ‘sa
                       0                                p          P                           ‘a    a         o    o     a     it            pp    a
    a          ‘a          ‘a   a                  it   ‘4         0        .i            a    a     ‘a   a    a    Is    .‘s   a’       a    B     ‘a
         it    ,s          a    it                 ‘1   a          a        a             ‘a   a-’   a    ‘a                    ‘a       ‘a   U     4
    a    a’    ‘a’                     01          a    •          0        a     H       s               Is         4    a     a        ‘s   n     ‘a
         a            a    z           0           B               o        it        -   •    a     ‘4   •    o    a     a              •    ‘a    a
    a                      a’                      0               it                                          it               .-‘
                                                                                                                                                              Case 01-01139-AMC




                                                                                  a-’          o     o              ‘l    it                  a     ‘a
    a    ‘0           a                            pa   b3         ‘a      ‘4     pa                 C         a’   B     ‘a    a             C     0
    ‘4    ‘S               it          a’          ‘a   a’         0        0                  C               a    ‘a    it    it            a::   3
         o            a                a           it   a          a                           B               1$   0     pa    it                  .
    a    a            a    ‘a                      a                        ‘S    a            a     a         a    C     a     a
    it   0                 it         o                            ‘a             it                 it         •   pa
                     .c                                                                        a                          a     ‘s            Z
    it   a                            ‘S                a          ‘S       a                  it    0              ‘a    •                   a
    a    it           is   a          a            pp   ‘s         o        it    a’           ..a   a         ‘a   it          ‘a            a
    ‘S   ‘a           a    it                           B          a’       it    a                  pa        a    a           a             a
         o            a    a                       it   ‘a         a-’      a     a                  pa                   H                   a
    it   a            a    it         p                            a        a     N                  ‘4        it   S     a     ‘a            a
    a’                0    a          0            ‘0   0          B        it                                 a’   ‘a    a      a            a’
    a    t           .a    a                            pa         •
                                                   a                        ‘a    it                 ‘S        a    a     ‘a     ‘S           C
         a                            a
                                                                                                                                                              Doc 22814-29




                                                        ‘a                  o     o                  a         .t   ‘a    c      a            a
    z    a            it   a’         a’           0    it                  a                        a              a     a’    o             a
    a                 o    a          0            it   a                         it                 a         a    m     it    a             it
         pa                ‘S         0                            o        it    a’                 ‘a        o
                     ,     a          it           a    B          0        0     II                 4         ‘S   PS    it    pa            a
    B     )                •                       a    ‘a                        it                 a         is   X     0                   .4
    ‘a   0            a               0            a’   a          ‘       it                                  a    ‘a          a
    pa                a    ‘4                      •0              0              it                 it
                                                                           a’                                  a     a    w     3
    pa                it   a          ‘a           a               C       a      ‘a                 a’        it   3     a     a
         it           ‘a   a           a           it   a                         ‘S                 ‘a             a     4
         0            0    •           ‘S          o    it         a       it     a                  a              ‘a    ‘a    a
    a    a            a                a           a               a       o      it                                a     is    o
    a    a                             a           •    t.         a       0                         ‘0             C     0     3
                                                                                                                                                              Filed 08/14/09




                      it               a                ‘a                 is     ‘a                 a                    a     it
    ‘0   0            3’              it                a’         it      it     ii                 ‘S             0     8     Pa
    0    it           a                            a     a’        a’      a’     ‘a                 a              ‘a    a     a
    it                it              a            o    ‘4         a              a                  a              a     a     a
         a                            a                            it      ‘a                        a              ‘s    it    a
    ‘a   o                            a’           ‘4   a          .4       pp    ‘                  a                          it
                                                                                                                    a     a
    a    a                            a            a    o                  ‘a     a                  pa             it    ‘a    ‘a
    •    a                            a            o    a                  a      it                                ‘a          a
         a                            it                it                        a                  a              0     u     pa
    it   a                            o            a    a                  *      ‘S                 a              a     g
    a’   it                           a            a    ‘a                 a’     •                  a              a     a
    a    ‘S                           •‘           a    a                  a                                              it    z
    it   a                                              a                  ‘s     a’                                it          a
                                                                                                                                                              Page 11 of 52




         it                           ‘a           it                      a      0                                 0           ‘S
    B    a                            a            a’   a                         it                                ‘S          a
    a    a                                         a    a’                 ‘a                                                   3’
    a                                              it   0                  it     H
    a                                              -a   C                                                           I
    a                                                   it                                                          I           •                        a.
                                                                                                                                                         ‘4
 t\.)    t\)        ‘)    (‘J    1’3        r                         I-.                   f-   i-
 U’      .          C)    CJ     )-         0    C)    cx      ‘2     0)      01     iP.                 —
                                                                                            c    r             o     o                   cy     (31     •P   C.)         t\)



         CD      ft       CD     ft                                   Cu     ‘rJ           .0    ;‘     .0          .0            ft                         rt          ft
        ‘-                                                                                                                                     .0                                ft
                 CD                     0              i-s.    ()     C)
        )-                1t     CD     g                             ft      S)i                                                 CD     ft                  CU         CU      CU
                                                       )—‘     CD             C)                                                  H-      T                  ft         ft
        Cl       .         i     CD                                                                                                                                             ft
                                        Cl                     ‘      Cu      CD
                 I        CD                                                  U)                               -<                                       1<   rt                 ft
         U)     £0               E                            IQ              •      Cv     tr   cv            cv          CT     CU     CD     1       CD              CU
 Cl      C)      C))      C)     CD     CD       Cl            i                     i-     CD   U)      —     p           0      Cl            Cl      U)   C                  CD
         CD                                                           *
                                                                                                                                                                        Cl
                                 ‘      <                      CD                           ‘1   •       0     3     0     C             ft                  CD
 rt     ‘-U      E        ‘1     CD     CD       rt            Cl                           Cv           ft                rt     ft            •             -‘3       H-      CD
        Cl       CD       C)                                   CD             ft                                      -           0      CD     3       U)
 CC)    CD       ‘1              ft                                                                                                                                     0
                          C             CT       CD                                  .      Cl           0          ft     a-            ft     CU
        Cl       CD                     CT)                           ft             ft     •                              C.)    0•      -     ft      ‘1          £0
 ft                       it     0      CD       U)
                                                                                                                                                                                0
                                                               C,)            0             Cl                      CU     0      CD     U)         -                0
 T      0        Cl       •             3        CD            ft                                        CU         ‘      .                    U)
                                                                                                                                                                                            Case 01-01139-AMC




 )-.•   1           —                            C)            CD     0       I—.    CD     ft           U)         (0            Cl     Pi
                                 ‘-•                                                                                                                                    ft      Cl
                 U)                     i-•      0             ‘1             Cl     (0     Y            CT          Ci           (-            C.)
 Cl     ft       C)       Z             )                                                   CU           CD          CD           Cl)
                 Di       )
                                                                                                                                         0
                                 i-              Cl            Di     Cl             Cl     ft           U)                       C)     Ci    tI                    0          0)
‘0      CD       ‘1      Cl                 J                  )-             0)     -.                  ft                       Ci)    ft     fiT                  Ci
                 Cl              ft             ‘0                                   (/)   CU            0          i.-*                        ‘1                  £Q          CD
 CU     U)       CD      it      Ci)    CD       —‘                   (U      CD    C)     U)            Cd)        ft           Cl             C)
 C)              Cl      Z      i-’.            Ci)                                 (U     CT           -•                       CD       I    CD
 CD     Cl                                                                                                                                                                      CT
                         CD                     C)             I-•    (      CT     ‘1     CD                                    Cl                                     ft      CD
        CT)         I    <      i—i.   I—       CD             C)            Cl)    Cl     U)                       ft
 rt
                                                                                                                                         CU    ft                       3       CD
                    I                  i—’                            CT     CT)    (0     ft                                    ft      CT                             Ci)
 T      0                                                                                                                                                                       I
                                (0     i-’       -‘•                  CD      1     Cl     0            to          Ct)           J      0     0                        ft
 CD     i-ti             CD                     ft                    CD                   U)                       ft                   Ci
                                                                                                                                                                                            Doc 22814-29




                 CD      ‘1     C)     ft                     0                I    t-                  ft                        C)     ft
        it      t—’      CD      —•    0)       )             Ci               I     1     (0         ,--J
                I-’
                                                                                                                                  Ci
                                ‘1              0             I-’     Cl                    0                                    (0      0)                             1—’    0
o       c       -        Cl     C)              Ci            Cl      ‘-•    0      0                                                    0)    -                               0
Ci                       •      Ii     -“       C-                   (0       1
                CU                                                                                                                       0     0                               0
                         U)            1        Cl                   C)      CL)    CD                                           ft            0                        Ci)
01      0       H-       C)     ft     (0                     CD     (U                                                                  ft
                         Ci)                                                                                                                   0                               ft
        Ci                      (0     (0                     <      ‘1      0      0      T                                     (1)     0                           Cl        0
:3-     I       ft       ‘1     -               0)            Cl)    Cl      -h     Mi     Cl)                                   it      I     ft
0)      it      3        Cl            0        <                    CT)
<                                                                                                                                        U)    0                     CT        U)
        CD      0)       Cv     0)     Mi       CD                   Cl      ft     it     CD                                    ‘0            I
CD      I-’-    ft       Cl                                                                                                                                          CD
                                                              T                                                                  t—      0     U)                              0
                                C)     )        CT            0)     i—-     ‘1     0                                            Cu      -
                                                                                                                                                                                            Filed 08/14/09




Co              ft        I                                                                                                                    --                    Cl
                                0      Z        CD                   I       CD            0)
o               t-’.            Ci)    i-.      CD            CD             CD      I     Ci)
                                )-
                                                                                                                                 ft      CU                          U)
                                       C)       j                    it                                                          *)     (1)
CD             CD        ‘-3    Ci)                                                                                                                                 ‘15        CU
                                       Y                      (0     r      ‘0             I—                                           or     o                     0         U)
               -          T     CD              Cl             0     CD             0      ft                                           Cl)    Ci                    (I)       ft
                         Cv            ft       )-•                          Ci)    Z                                                   Cl)
U)                                                                                                                                             )—                    CD        CD
                ft              C)       3-     U)            CD             C)     CD     0.                                           ft     Cl
                 3       C)     t--    CD       C)                                                                                                                   Cl
                                                                             CD            --                                           0
                Ct)      0             ‘-U      CD            ft     l       Ci)    0      U)                                           U)    ‘i                    0          Ct)
               ‘-<       Cu     C)     CD       ‘-U           0      CD     -       ‘-ti   C)                                                 0                     i—ti       it
CD                       ‘1     Ci              Cl                                         Ci)                                                i
ft                       (0                                                                                                             Di                          -          CD
                                       E        CD            ft     C).            it     U
               CD        CD     ft     CD       Cl                                         Cl
                                                                                                                                                                                            Page 12 of 52




                                                                                                                                         Cl    0)                   )-‘•       t-•
(1)            ‘-U                     ‘1                     CD                    0      CD
0                                                                                                                                        CU   CO                    CC)        CU
               CD               CD     CD                            ‘0                    CI                                                 ‘-U
                                                                                                                                        ‘<
                                :3                                                         •3                                                 CD
CD                              Cl      I                            ,-•                                                                      CD
                                                                                                                                                                                      C))
                                                                                                                                                                                      00
                   I..          L                                               C.
        S..




to            10          10    10    10   tO     I-’   I’    Ia     1-a             1-’   I    1-’    1-’    a
s             S.          Cd    tO    Ia   0      (0    C     .4     01    CS        S     Cd   to     a-’          co
                                                                                                             o           m              01   Cl’    S    Cd       to   1-’


               0         ft          0>           .0    ft    >0>0>0>                                              0                         IS    ft             C)
              ‘U         U’     N                                                                            E           PC             >                .0            0
                                                        U’                                                   N           0        rt         Ia    U’             o    Ph
              a          a      a                       a                                                    a           0                   C     N              U
              PJ                ft                                                                                       ft       rf         U’    ft             o    ft
              N          a      a                       I                                                    a           a        5          ft                   •    U’
              ft         Ia          CI    ‘<     C     I     S            .4        W     W    S     1-4    Ia    W     U        I    I-a
              Ia         a,
                                                                                                                                                   a     5        U    a
                                a.   a     •                  .            a         Ia    N    U’    ft           Ia    N        ‘    ft    Ia    o     a        ft
              0          a      N    ft    Ci     0           I-’    0     Ci        0,    Ia   N            C)    0’    Ia                  U     a     Ia       ‘S   ft
              U                 ft                Ci          I-’                           U   ft    ‘S     N                    S     E    ft    a     ‘-a      N    IS
              Ci         0      a    Ia           a                 ft               ft    ‘4         N      ‘S    U              I     N    0           -        ft   a
X             .          h      PS    U    Ci     ‘S                       Ci        U’               U      0.    0     Ia
                                Ia         Ia
                                                                                                                                  I    a           0              a    a
m                                                            N             Ia        N     C)   N            a     ft    C                   ft    Ph    ft       •    0
•             Ia         ft     N     N    P5     ft         U      to     IS        ft    ‘S                0’                                                        Ia
              Ci         U’     Ia
                                                                                                                         a        o    a     z’          U’
                                      U           U’         0             •               a          0            .4    IS       D    Ia    a     ft    N             Ia
0                        N     -     ‘4    •      N          a                       IS    a          t      Ia     0             a                      ft
                                                                                                                                                                                  Case 01-01139-AMC




              ft         ft
                                                                                                                                       a           U’                  ft
                                                  U          ft     Ia                     N    U’    U      U      Z             I    0     PC    a          -        a
              U                L.a    4                             Ia               U     •    0            ft                        N     0           (5
CI            N          N     0      4           ft          I     0                                 ft     0      ft            )    IS    0     Ph
                               Ci     a           U’          I     Ci               ‘S         0     U’           a              s    a     ft    Ia    U
                               ft     U           N                                  Ia         Pg    0      N     Ci                  a     (I    U     0
                                     ft           ft         IS     N                           II                 ft             •          U     a     ft
                                                                                                                                                                       a
                                                                                                                                                                       Ia
              0          ft    ft                            0      0’               U’         a     N      0     Ia
                                                                                                                                       a
              IS         N                        ft
                                                                                                                                  I’         N                         a
                               U’                            a      0                ft         N     0      IS    Ph             5    0     Ia    ft
.4            s          Ia    a     ft           U’         c                                  -a                                                 N
0             a          U           U’           N
                                                                                                      a            ‘4             •    U                               U’
                                                             U’     a                Ia               U      a                               I     Ia    Ia
a             a                N     a            U          I-’                     U                ft     N     Ia             5    ft    Ia    I-’   ft
5             ft         •     g                             ‘4     ft               ft                                           I
                                                                                                      N            U                   U’    4     Ia    a             a
              -4         4     0’    0                                                                Ia
                                                                                                                                                                                  Doc 22814-29




                                                                    U’               0                       ft                   t    a     a      U
CI                       (s    a                  Ph         N      a                                 U      U’    ‘4             •          IS    (0    ft
0                         ‘5   Ci    E            Ia                                 ft
                                                                                                                                                                       U
U                              ft    (5
                                                                                                             N     0              s    a           a                   a
                         ‘4                       4          I-     ft               U’               Ia                          a    Ia    Ph                        a
0                         0.   0     PS           a          Ia     0                a                U            IS             u    a     o     z     a             U
IS                        N    Ci    0                       ft     E                                 ft                          “    a     IS          -
-                        ‘4                       U          ft     U                PC               0      aZ    0.                              2
                               ‘0    ft           Ia         I-’
                                                                                                                                                                       IS
                                                                                     0                       z     a                   o     N           Ia            a
I-I                       0     0    0            1-’        S      0                0                0                       a        Ph
                         Ph
                                                                                                             ft    ‘0                                    a             ft
                               IS    U            (5                Ph               ft                             0             I          Ia    Ia                  N
a.                             ft    Ci           Ci         0
0
                                                                                     a                a      w     a              I    ft    0     U     Ia            Ia
                         ft    Ia                            4      r                U                ‘S     ‘4    Ia                  U’    U     ft    ft
U                        U’    0     N          -P’s         a      a                                                                                                  U
                                                                                     N                (5           ft                  N     C     0      3            a
    -
                                                                                                                                                                                  Filed 08/14/09




                         N     U     U            IS         IS     U                Ia               a      ft    Ia             ).   ft                              a.
ft                       ft    -     a                              0’               .g                            0              a          ft
                                                                                                             U’                                    N
                                                                    ‘4                                •      a     U              h          Ia          I-I           Ia
N                        U     E     ft                      Ia,    .9
                                                                                                                                       ao    a     a     a
U                        Ia    0     0            t’         4                                                                                                         U
0                        I-’
                                                                                                      ‘4     U     ft             I    C     a     ft    U
                               IS    U            Ia         a                                        a      Ia    U’             S    U     .9    IS     -            ft
Z                        I-’   a     Ci            U                                                  Ci     .-.   N              1,   ft          a     ft            U’
                                                   U         U                                        •      I-’   ft                  N           N                   a
E                        Ci    ‘0    0            ‘4         Ia                                              .9                        Ia                Ia
U’                             C     Pt           ‘3         I-a                                                   Ci         ‘I I                       ft
a                              ft                            (5                                                                        U
ft                                                                                                                 o                   —           ft
                                     N                       Ci                                                    U                               U’    N
U’                             0     Ci                                                                            a              I    N           N
                                                                                                                                                                                  Page 13 of 52




a                              4     U                       N                                                                         Ci          ft    Ph
IS                             a     a                       0’                                                    0              P                      N
                               IS    Ci                      0                                                     Ph         ‘   r    I-I         IS    C)
U                                    ft                      4                                                                    I                N     ft
0                                    0                       (5                                                    Ia
Z                                    Ci                                                                                                            U
                                                                                                                   ft                                                        a.
                                                                                                                                                                             ID
r                         1            .“    L.                                      :                                -

                                                                                                                                                                           .2




     10   10       10     P3   tO       P3   -a    $-‘   a           .s     a      ga     .       ‘.a   I-.
    a’    a        to     P3       a    o    w     a’    a     a’    cii   a       to     to                                                    CIt                P3
                                                                                                  -a    o                       .4      0)              ‘P    to         Ia


          N               0    0                                     a             o                        .                                   et
                                                                           ‘a                                             .0                                  3    z
          o                                                                                                                                                        Ii
                               a                                     o     a                                    •a                                                       z0
          a               a    a                                     0     ‘1                                    U                                     b      0    •     0
          o               a        I                                 a     ‘4                                                                   a‘‘i   a      t-         i-S
                          ‘s   0                                     a     •                                                                           ‘i          t-’
                                                                                                                aa
                                                                                                                                                a             a          a
                                                                     a                                  .4      n                                      a      a    a
                                I                                    s-S           N                    a       0         N                            a      a    £     U
    ‘4    5-’.     Ia          Ph                                          I-I     .4                   0       a         ‘4                    ‘4                 Ja.   a
          Ph       Ia          0                                     1
                                                                     a         —                                                                 0     ft     ft   0
    H                                                                •     4                                                                     0     0      D’       -0
          ft                   ‘1       S    0     5     0                 •                            a                       x       S                     •
     0    a1       0                    N          N     t’                                             a                 •                     a
                                                                                                                                                       aa
                                                                                                                a                                                  a
    ‘a    0        b’                   •    N     •     N     •     •     C              •       •     ‘S       0              •       •       0             ‘a         0
    ‘a    n        a                                     N                 0       L-’                  •       .4        t                     a      o      a    at
     ‘1       -       -        0        t’   p     t-’   pq    t-’         a              a                     •               a       t’      a      ‘t     fl         ‘a
                                                                                                                                                                                     Case 01-01139-AMC




     0    0        0                                                                                                                    N                     ‘4   5      ‘1
                                                                           a       H      ‘       S             ,         i-i           ZO             S           ‘:     0
    o     0        8           I        H          H           H     a     o       (A     N       H             Ia        CO    N       H  a                  ‘-   •     ‘a
          I-’      0           0        (0         (0          (0                                                               ‘
                                                                           5                      (0
                                                                                                                                                       aft
                                                                                                                C                       (0 ft                 0
                   ‘.                   ••         ..          •.    .-.   a                      ••            a               z       •.              a     ‘s   t-’   Ia
    ft             3’              I         0           0           Ia                   ••                    ft              ••              Z      ‘S     ft   0     0
    a1    n        Ia                                                                                           -‘3                             Ia     Ia
                                             a           a           w     ‘a      ‘-3                                    ‘-3                                 a’   4     ft
    •     Ia       a           i-..     o          0           a     a     b’      a’              0                      b’            ‘.3     ft     0      •
                                                                                                                                                                   )a    5)
          C       C            4        a    ‘-3         .4     I           0      Ia     H        3’                     a     o       £       a’     I-’    ‘S   a

          a’                   a        a    ••    (P    -.    5-’   ft    ft      0          -    0                            3’      (3                         3’    ft
    Ia    ft                             I          I          0     0      0             5       ‘4                      t     0                      0            -    Ia
    ft    •       H                     0          0           a           a                      -.3                     Ia            ft      C             H    0     3
    a                                                                              .-‘.
                                                                                                                                                                                     Doc 22814-29




                               0        D’   0     D’    a           a’                   a                               ft    •       ‘4      U      a                 a
    a              ft          Z        I    D      I     I    ft    0     ft      C      0                                              I      0             ft   0
                                        t                                                 n                               a             o
    a              a’          a             a     o     .-.   a’    c     a’      a’                                                                  S      a’   a
    a              Ia                   0                      n     a     0       ft     ‘S                              a     I-I             a      a      Ia   Ia    0
    *3            a                          0     (3     I    0           ft             ‘<                              a         -   a       a      ‘-‘    a    a
                  3’           0        •    a’    •      I    0     ft            0’     •                                     8               ft     ft     5’   0     8
                               a’             I                C     a’    E       a                                      a’            ft      Ia     Ia          Ia
                  H            •             0                 b’    a     a                                              0     a       a’      0      ‘a     Ia   0     5’
                                        0    a                       3     j       Ia     H                               a     0       o       ‘-     ‘      it   ft    a
                  o                     a    a                 I           a       a                                            ‘S      0       ‘      ‘4          Ia
                  a            .        aI   •                 I     S             itS                                    ft    •i      0       ‘4            .4   0     0
                               D                                     0     C       o      Ia                              a             a              Ia     o          a
                               a        o                            s     Ia      ‘s     a                               a     •       a              a
                                                                                                                                                                   aa
                                                                                                                                                              a
                                                                                                                                                                                     Filed 08/14/09




                  ‘a                    a’   0                       w                    0                               ft            a       a                  •     0
                   ‘S          ft        I    N                      a     a4      a8                                     WI                    a      ft     ft         U
                  o            a’       ft    0                                                                           Ph            ft      a      Ia     0    0’    ‘a
                                                                                          aa
                                                                     a     a              a
                                                                     •                                                    Ia            o                                a
                  o            a        a’   .4                                    Ia                                                                         s’   g
                                        ‘S                                                                                a             a
                  a            ‘s                                          ft      4      ‘S                                                    ft
                                                                                                                                                       aa
                                                                                                                                                              a    .t    a
                  a            a        a                                  0       a      a                               a                 )   a’      a                ft
                  a             -       a                                                 ft                                                    0             ft   0     Ia
                  -            a        •                                  8       ft     0                               0)                    a      ‘a     E    0     0
                                                                           a       0      0                               to                           0      a
                  ‘4           ft                                                         0’                              0                     a’     I-’-   a
                  o            a’                                                  ft     •                                                     to     D      ft   a     a
                  a            a                                           ‘4      a’                                     ft                    o      n      .4         a
                  ‘.5                                                              a                                      o                                   i    a
                                                                                                                                                                                     Page 14 of 52




                                                                                                                                                ft     N      0    0     ft
                                                                                                                          a                     a      a      a    a-    a
                                                                           0                                                                    a      ‘S     a
                                                                           ‘S                                         0                         a      o           ft
                                                                                                                      Ph
                                                                                                                                                                                0)
                                                                                                                                                                                0
                                      t          —.         ,._




to     to    P.)    f3    P.)   P.)   I-’   I”        ha    a     pa    pa    pa    pa    pa    pa
a’                        pa    0     cc    a.        ..a   a.    cii         to    ra    pa    0     @     a.         a.    cii           go    to      pa



o      ait   >      no          >0>                   nO          >0           a    C     >0          >0          >0>              ‘Ut           0
                    ‘1                                0                        )C   G                                              I-’     ‘
                                                      is                      ‘a    ‘5                                             a   o
       it           a                                 a                        0                                                   pa
                    ‘.3                                                        b    pa                                             b   0
o      pa    .-3          >     ‘C    >     ‘4        0     0     ‘4                      ‘C    0     Z     0     Z    0     ‘C    it
o      a                        a           a         n     z     a     ‘                 a     o     o     a     a    pa    a     pa      z     w
                                                                                    s-.               -
a            a            a     a     a     a                     a     a
                                                                              i’p. 2      a                            a     a     n       Z.    ‘4
a      it    it                             •         4     it    •                 pa          .4          ‘4                     e       pa
       pa      -          it          0               a     D’          it    is    it          0     a      a    a    ‘C              -   n     a
it     a     a            b’          U               is    a           U’    o     a     a     0     i’.    0    pa    0    a     a       z’
U’     a                  a                           a                 a     Ii          pa          .5                0    pa                  •
a      •     it           it          it              pa    ‘5          ‘5    a     pa                            .          •1    N       U.            N
it           U’            -          U’              fl    pa          a     •     U                 •     fl’        it    •     N       a     r’
             a            a           a               0     c            -                                             a           ‘       a     m       n
                                                                                                                                                                    Case 01-01139-AMC




a                                                                       a           pa                                             pa                    0
a                         a           pa              pa                            it    pa                           a           o       a’    s-i.    a
o             a                       a               it                a           a     it    Z           E                      pa      a     a.
              is          a           is              a     a                                   U           U’         it          it      a             ‘4
is           so           a           it              .     pa                      a     a     a           a          U’                  U
                          a                                 a           0           a     ‘     it                     a           a
                                                      pa                s-’
ait          aa            is         a                     a                       U     0                 it         it
 apa         it            a          pa              a                 a           a     z     pa                                 pa
                           a          a                     a           ‘s          a      a    it          o          ‘a          o       is    •       0
‘4           a             is         a               it    is                      U                                   U’         s’      $‘
             o                                        U’                it          it     a     is                     0          •       a     r’      a
‘a           a            so          pa              a     it          U’          is           a          pa         it                  p.    o       U’
o                          s          a               it    U’          a           a      a    ‘a          it         0                         4       a
                                                                                                                                                                    Doc 22814-29




is                                                                                  it          is          -.a                            is    pa
             aa           a                                 a           is                 a                                                             a
it           is           a           it                                a           a      a    a                                  aa            a       a
is                                                          is          —•
                                      U’
                                                      a0                                        a
                                                                                                                                           ais
              apa         a                                                         P.    ‘0                                                     W
a                                     a               is    0                             i-a   a                                  ‘4            -
‘4           a            a                                 pa          pa          is    a     U                                  0       ‘0
             I-’          is          a               a     a           a           0           it                                 0        c    H       ‘4
o                                     x               a     is                      is    o     a                                           is       -   a
o            so           4           ‘0              it                it          $     is                                       is      ‘a    a       a
U             is          a            a              .4    pa          U’                                                         a       0
o             a           is           U                    a           a           a     z                                        a       a     U’
a             a           a
                          pa
                                      a                                 it                0                                        0       a
U            a                                              it                            •                                        so      a
                                      a
                                                                                                                                                 aU
                                                                                    a
it                        a           a                     U’          a                                                          U              a
                                                                                                                                                                    Filed 08/14/09




                                                            a           o           $a    pa                                       pa      o      pa
a            ‘            pa          ‘-                                is          it                                             N       i-s
                          pa
                                                                                                                                                  U
it           a                        0                     a           is           -    0                                        a             so
a            it           it          is                    o           a           a     o                                                pa
a                         a           a                                 a                                                          it      a     .4
             it           —a          ‘4                    a           it          pa    a                                        U’      a      a
a            ‘                                              a                             a                                        a       z
U             a           pa                                                                                                               it
a            ‘4           a                                 it                      pa                                                     pa
                                                            is                      it    is                                       ‘a      is    U.
a            a            it                                a                       a     a                                        U’      )a    a
N            a            U’                                it                            it                                       0       0     it
             is           a                                 a
                                                                                                                                                                    Page 15 of 52




                                                                                          a                                        it      a
                          it                                a                                                                      a       it    pa
U            a                                                                                                                     -3      pa    a
a            it                                                                                                                            0
a                                                                                                                                                a
a                                                                                                                                                             as
                                                                                                                                                              ‘-a
I\)     M     tJ       i’.)   r’)     J       H     H       H     H        H     H       H           H     H
U)            U)              ‘-      0       .D    CD      -     0)       Dii   4       U)    ‘s)   H     0                  -1   UI    UI        C.)   I\)   H



))      CD     iz     Pt      Z      0                                                   ft          0     U)                                  Q         i
        H             0       0                                                                                        CU                                      CD
tI      N             P1      E                                                          CD          P1    0                                   H               P1
H       CD                                                                                                             CD                      0               5
CD      CD            CD      -“                                                                     rj    .                                   H               H
C)                            U)     —                                                   CU          )     ft                                  •         H     C)
CD            CD      0               U)                                                             C)    ft          CD
              U)      Pt      H       P<                                                 Di                CD          CD                                E     H
0       0     -                                                                          i..         CC)   Cl                                            0     H
t-h     ::i           0                                                                              ft                       0                          C
        CD    U)      P1      ft      ii                          :<             x                   •     ft    z            Cf   .-                    H     CD
<                                     •                                                                                Di    LI.         II              LI
Ct)     0     P1      (C)     C               N     •       N     •        N     •             N           (C)         P1     CD   UI    •                     0
P1                     P1     CD      t                                                                                       C)                         (1)   Pt
         I             C))            N       C)    t       C)    t        C)    t             C)                C)    CD     ft   C)    C)        t-’   Dl
                                                                                                                                                                     Case 01-01139-AMC




)-*     (fl            Cl     rt              0     N       0     N        0     N             0           Ci)         cli    H    0     C)i       N           rt
                                                                                                                                                         <
C)      H     ‘-)      CD      3      H       C     E       C              C                   C           U)                 0    C
        X              U)     Li)     Cl)     J     H       J     H        J     H                                            z    ii              H     ft    LI)
H             CD              ft              -3    Ci)     t-3   C!)      ‘-3   (1)           ‘—3         0                       ‘-3   :I        U)    :•
I-..    H     <       0                       ••        •   ••    ••       ••    ••            ••          CD                 rt   ••              ••    LI)
ft      U)        -   Mi      C)                                                                           Mi                 0          .               ft    C)
CD            P1               I      H                                                                    CD                                                  0
•       I     CD      <       H           —         ‘-3     3     C)       (4    0                                            P1   U)                    H     P)
        0             CD      0               H         3                                      H           Cl                 CD   CD    Z         0     ft    P1
        ft    II      P1      C’              i-    Di      CD    H        U)    Di                        CU    0            C)         0                     (CC
              H       S                                           C)       ft                                                 CD   P1              CD    LI    CT)
        ft    ‘Ii     H               CD      P1    j        -    t\)            •             P1          rt                 H    CD    0               H
        :•    Pt      C)       3      I       H             P1                                  H           -                                      01
                                                                                                                                                                     Doc 22814-29




                                                                          DC)                                                      C)    Cf              Cl    (C)
        CD    Cl)     C       ‘-1     cli     (C)   <       CD    ft       H                   (0          U)    0            H    CD    Li.       II    -     P1
              1       H       0       H        cl   0             b        <     H                               Ii                H     Cl)       S           CU
       ‘t5    CD      I—      c       J        ft   C       Di    P1       CD                  rt                P1          (0    <     C)        H     <     LI
        Di    1       ft      (0     (C)            -       H     0                                        P1                      CD    ft        U)    CD    CD
        P1    ft      CD                                    H              5     (3                        0                  ft   Cl    H         CC)   U)    •\)
        ft            -)                                          (C)      CD                                    0                 •     0         H
        -•    (C)             CC)     0             0       Ci)    Y                                       0                 CD          z         0
        C)     P1              I                    Ii      II             ft    J                         CD    0           U)
               CD             H                     P1      5     C)             Di            Cl)         CD    P1          CD
        H      Cl             0       C)                              I    CD    i             ft          Cl                            ,.<       0
        C))    CD             0)       I                    ft    H              Cl                                          0           0         Mi
        P1     CD                     H             0       ft    0        Cl)                 C))         CU)               ft          Ii
                                                                                                                                                                     Filed 08/14/09




                              Di     0              i       CD            ‘ti                  P1          X     H                       P1
       (C)    0               H                     0       Cl             Di    0             CD                            CD                    H
        P1    P1              H                     P1                                                     H                 P1                    Di
        CL)                          ft             •                                          ft                Pt                      0         H
       LI     Cl              (C)                                          0         I                     H     Cli         it’         :i
       CD     H                      P1                                   Mi         I         CD          ft    C)                      0         ft
       •      ‘-t             o      0                                                                     CD    ft          0           P1        H
              Pt                                                          ft                                                 ft                    Pt
              CD                     If)                                                                   H                 0                     Mi
       H      PI              Cl                                          CD                   S                             U)
       ft     CD              i-i.                                                             C3          C)    CD                                U)
        -                     Pt     C)                                                        CT)         H                 ft
       U)     ft              Pt      I                                                                          :3.                               N
                                                                                                                                                                     Page 16 of 52




                              CD     H                                    5                    Cl)         (1    LI)         LII                   x
       U.                     P1     0                                    Cf                               CD    Cl          ft                    :3.
       i                      CD     —)                                   CD                   0           Cl                                      H
       U)                            •
                                                                                                                                                   Cf
       ft                     ft                                          (C)                              H                                       H
                                                                          •                                z                                       ft
L               L




     t%)   M            CO      1’.)   CO     CO        H               H     H       H    H      H     H       H       H
                                CO     H      0         D     Q)              a)      01          0)    Cs)     H              (.0
                                                                                                                        Q            0)    1     0)    01    $      0)   Cs)    H



    O      U)           I—                    rt       (1)   0                rt           CA)
           (
                                                                                                               0         X>    .0
                        U)             0               Ti                                  rt
                                       I      (T)      0                      CD
                        ft                             (I)
                                       CD              ft
     Z                  CD             TI              U)                     H
     o                         CD                                                                                                                Z     0     <                 C-i
                                        -3    I-..     i      U)              H                         CT)     1       CT)    ‘1     J     Y
     Z                         H              ft
                                                                                                                                                 C)          CD    Z     CD    ft
                                                       C)     *<                                        U)              (1)    CD    CA)   C))   -     C))   U)    TI    U)         -
    -                   3      H              CD       CD
                        H
                                                                                                                               S     ft    ft                -                 U)
                                                       -                      U)                               H               0                 U)                H
     H                  ft                    Cl                              (I)                                              H
                                                                                                        (0     ft       (I)          H     H     H           (0    ft
                        CD    (1)                      ft     .               U)     I            1I    I-’.        -   A-’.   C-.   U)    VT                C-.
                               CC)            C))                                    LXI                ‘1     U)       ‘1     ft
     it                                                                                                                                                Z     ‘1    U)          C-.
                        5                     it       (1)    Cl              ft                                               CT)   ft    ft          0                       ft
                        CD     CD                      S      N                      0                         U)                                                  CD          CT)
                                                                                                                                                                                              Case 01-01139-AMC




     CD                 ft     A-I            it       0                N     CD     0            N            0               U)
                        CT)    C))                                                                                                   CT)   U)                      X
                                              3’       H      i-i             5                   E                            U)          ft
     o                  ii     H             C))       H
                                                                                                                                     S                                    *    CA)
                                                              (I)       H                         H            it              cr    0     “)                      0)
     H                  A-”    H             ft        ft    “P-’       C!)   CA)                 Cl)                          CD    H                  j          I           H
     TI                 U)    <                        CT)                    S                                0               U)    -‘.               H
                        H
                                                                                                                                                                   Cl          U)
                                                                              0                                A-ti            ft    ft                C)          CD
    Cl                                       0         CD    Z                                                                 0     CT)
                        ft     ft                      U)                                                                                                          TI
                                             Ti               0         ‘-3   A)                               Cl)             U)                                              CD
                        3’     3             H         0’                            CT)          CA)                          “.)                     C-.
                        C))                                                                                                                                        (0
                               CD            $1        CT)   -          C))          U)                                                                U)          0
    5                   it                             (I)
    C-.                        ft            C)        ft    ft               CD                  H            A-’.
    H                                                                                                                                                  I           ft          CD
                               ‘t            0         0     ‘                S                                ft                                      0                       C)
                                                                                                                                                                                              Doc 22814-29




    H                   0      CD            C))       (0    Cl)              U)     -i          (.0
    -                   ii
                                                                                                               CD                                      it          CD          CC)
                               S             rt              ft     0         CD     Ti           H
                        S      0                                    $i        H      (I)                       C)                                                  Li.
     ft                 U)     H             ft       A-’.          -
                                                                                                                                                                               0
                                                                              <      ft           CD           0                                       CD          Ti          A-ti
                               H                      U)     Z’               CD                               H                                      t-
    CD                  ft    ft             CD              H      ‘<         0     Y            ft           o
    rt                  T     CL)                     ft     ft     C)               0)                                                               I-’.                     CD
                        CD                   5         J’    CD     Ti                           (1)           ‘.                                     C)           C)          A-I
                                                      CA)                            $1          U)                                                   Ti           C))
    C)                  TI    ‘              H        ft     ft
                                                                                                                                                                               S
                                                                                                 (C)           H                                      C-’                      H
    U)                        A-”                            I-I                    ft                         U)                                     C-’                      C)
                    U)        C)             (0       )      CD     0                            ft                                                   ft           ()
    Cl)             ft         J’                                                                                                                                              Ti
                                                      ‘      S                      CD           C)            .
                                                                                                                                                                                              Filed 08/14/09




                                                                                                                                                      CD           CD          H
                                                      1))    0      0               5                          ft                                                  CD
    ft              H         H              J        ft     C-’    A-                           rt                                                   C))                      ft
    CC)                 )     U)             CD              C-.    •               ft                                                                ft           ft          CD
                                             ‘1              ft                     0            CD            C)
    CI              ft        A-ti           CD       0      CD                                                ft                                     U)           U)
    H               V         0                       Ti                            ft           Li.           s)                                     H            ft
    Cf              CD        Ti             ft       H      0                                   Ti                                                   H
    H                         I                       TI     CI                     CD           CI                                                   -.
                    CA)       TI             CD
                    A-I                               S                             Li.
    Cl              CD        Ii             5        Cl)                           Ci           rf                                                   U)
    Ti              C))       ‘d             CD      ‘       C-.                    Al
    U)
                                                                                                 0
                                                                                                                                                                                              Page 17 of 52




                                             I       CD                             1<
    ft                                                                                                                                                H
                              ft                     Cl)     C-.                                 H                                                    ft
                    ‘<        :J’                            (0                                  0                                                    •5)
                    CD        CD                     Ti                             0)           0
                    U)        A-i                    ‘CI
                    -         CD                                                    TI                                                                                                  01
                                                                                                                                                                                        C’)
 t     r’)     (\)    E\)            E’3    I—        I-                        I-     I-       I—i     I
 Ui            W      I’)            C)     CD        CD       -           CD   CD     if.      CD             I-.    C)   CO    CD           o    c;i    .     CD


.0                    Fl       E’   Ci     AD         S                .0       0      5                ft    ft     AD                            Di     -t
               CD
                                                                                                                                       AD                       AD
       Z              rt            ‘1                0                         )-t   ‘<                                         0                 Cr     ‘1               I-.
       Q                             0                ‘1                                                Dl    CD                 Ii                0      0                Dl
               it                    C)               CD                         t     Dl               it
       CD                                                                                                                                          Si     5                0
                      Dl             CD                                         ::3    S                      ‘1                                   ft                      CD
       Cl      it     U)      f<     (1)    0         0       Z                 (TI    U)           E   it    CU                 ft     )‘                ft    C”
       I—
                                                                                                                           ‘<                 ‘<                      <
 ::S           0               ID    U)               t-t,    0         r                      CD                          (TI   r            CD          0     i     CD
 (1    CT)                I    U)           Di                it        (I)     Cl.    (I)     I—’      Si    rt      Cl   C))   CD     Cl    (0
        1      ft                                                                                                                                        ‘3     Cl    U)   Z
                         I                            CU                        Ci     ‘1      1-4      CD    CD                 I                 U)                      CU
       ft                                   -                      I    SI      C))    U)      -        •     ‘i                 CD                       ft    F-         Cl)
 0     (0      CD     F-i                                               Si      ft                            (0      i    C))                (0   ft
                                                                                                                                        C)                0     ft    U)
 Ci                   it      CD     Di               0                 (0                     I-’•                        I--   -      Si    -                            F-
1-’    F       Cl             CD     U)     E         ‘-      Z         ft             ft      l                           II                      CU     Cr               ft
SI     l       ‘1             0             i         Cl      0                  J     r                      0       Dl                                        (Cl
                                                                                                                                                   ft     0
              ‘<      Dl      (C)    ft     (Cl       (D      rt                F-     (5)                    Si      0                 l                 ft    Cl
                                                                                                                                                                                 Case 01-01139-AMC




ft     ft             (0      Ci            ft        1                 0       C)            Cl)             ‘1      ft         CO     ID         ft     ft               C
3              S              (0     CD                                 Si       J     rt     0                                                          0      ft
 CT)   CD     F-      iti     (TI           CC)       0       CD        C-’                   CD              0       0          0)                Ci    S      3’
              I—’     CT)            CD     Cr        0       0         Cl             CD      F5             F                  --     rt         CD           (Ci
CD     S      1—s     Cl      Ti)           0                 Cl)               0      5       Cl                                       )‘          -3   F-     ft
       i-i.   •               I—’    ft     5i                (0
                                                      0                 CT      Ci     0                      h       ft         F.     Dl               Z
Cr     i—’            F.      C-’           ft     ‘          U)        CT)     C-’    I-’     ft             F•                 (/)    it                      ft
CD     F’     Dl      i              ID                       (U                Cl     i-.-    0              <      CD                                  Di
              I                                               i
                                                                                                                                                                ‘i
                      ft      0     5              ft                                  it                     CD                 ft     (Ci              F’     CD
  I           Cl      0       h     0       Y       3         F-       3’       Ii)    CD      ft                    ft                                  I.-.   S
  I    CD                           F-’     (Ti    (U         C-’      F’       0              3’             F-      0
       CD     ft
                                                                                                                                 CD    Cl                       0
                      ft      ft    F.       J     i         ‘<        ft       0      C       F-             I      ‘Ci         it                      ft     F’
F-C    C).     J      3        J’   ft                                 CD                      Cl)
                                                                                Si     0
                                                                                                                                                                                 Doc 22814-29




                                                                                                              0                        (0                Z_     F’
i      .      CD      ID      CL)   CD     ‘<      CU                  -        S      Si                            F’          ft    Dl                0      ft
                                           0                                    Ci     F.      CD             CD     CD          ii                      U)     CT)
ft            ft              0     (U     Ci                          ‘1              SI       1
                                                                                F’                            U)     <           Si                      CD
r                    (TI      1     U)                z’      ‘        i-’.     (Cl            ft                    CD          CD    ft                       Di
CD            CD     it       CD    CT     CC)     F-         CT)      CC)      r+     Cr      F-             Cl.    F’          -i     3’               U)     U)
              S                     CD      0      ft                   Y       CD     CD     i               CD     U)                (C)               F-     Cr
              0      5        0     (I)     it     CD         Cl       ft                     (TI             CD                       ct                       CD
(V            C-’    F-       Dl    ft
                                                                                                                                                         X
                                                              Si       -              0                      FEl     F                                          (1)
it            F.     C-’      5     0      ft      0          U)                      1       1-                     ft                                  F’     ft
              ft     I—’      CD    C/)    0      ti          ft                      (5)     1-’.           F-ti                                        CD     0
S             CD                                                                                             11                        CD                       (1)
F’                   CT       F’    F-     ft     (C)                                 0       CD             0       0
F’                   CD
                                                                                                                                                         CD
                              i     S      J’
                                                                                                                                                                                 Filed 08/14/09




                                                              0                       -t                     S       Ci                                  F’     F
1—’           Di     ,-b      ft           CT)    (C)         Ci                              0                      F’
•             U)                                                                                                                                         (0
                     0        0     it                       F’                       ft      F-ti           ft      CL                0
                     II                           (C)        Cl                        J’                    F-                        Si
              0      CD       ft    CD     CD     ‘<                                  (1)     C)             S       CD                                  0      CD
0                                          ft                Cr                               Ci             CD      0                 iti
Ci            CD                                                                                                                                         Si     ‘1
                     CU       CD                  0          CD                       F.      CI)                    0
F.                                  CD     5      0                                           (0             ft      Si                                  ft
(1            0      ‘<             ft     C-’-   i-.’       (C)                      CC)     ft             0       5                 Cl)               CD     Mi
              Mi              CD           I-’    0           CD                       ‘1     F•                     Si                ft                       F-
it                                                                                                                                                       U)
                     0        ft    5      F’     #                                    CD     0              it      I—’
:-                   i-ti           F.
                                                                                                                                                         ft     Z
                                                  .          CD                        Cl     l              i-’-    (Cl
CD                                                                                                                                                       F-     CD
                              S                                                       F-      (1)            5       ft                (5)               F-I.
‘1                   I-’-     F-
                                                                                                                                                                                 Page 18 of 52




              CD                    F’                       (C)                      CD                     CD      CD                                  F.     (1
CD                   ft       F’    (0                       1-’                      5       (Cl            •.                        ft
                              F’
                                                                                                                                                         CT)    Ci
                                    --3                      C-’                      ft      tS                     0                                   (1     U)
Cr                                                                                    (0      Cl             i-’-    i                 ft                       ft
CD                                                                                                           U)                        0
 ‘J        rJ     t\)     M             t’)                                       -‘      -.
 01        J      01      C)    )-      0     (.0         0)                C))   (>1     U>          ()    )3    (-    0      to     0)     )      01        01           01    (‘)    I-



AD                              S      AD                                         S       tt       dO                          (Ci            t)
                  it
                                                                                                                  CU    AD           1              0         r      do          s      ci>
                         C                    0           0       CU                                              (V           0     CD                       CU                 CU
                  (I)    CD     U)                                U)
                  CD                                                                                              Q            5     Q                                           C)     <
                         U)     ii            CD          t-                      CD          1                                CD     C              3        CD
                  (—                                                                                                                                                                    (1)
                         ft                   ‘        l          (—i
                                                                                                                  Ct                                (—‘fl                        (-•
 ,         <                    Cl      0                         0         E            -                        -                   i
           CD                   CD
                                                                                                                               0                    U)        ft           (-1   i     <
                         0                    rt          (V      0         CD    Ct)                 Ci    0           i     M       CD     CD               0       CD    Z    CD
           (Ci    Ci)    J      ‘C      Ci)   Y           (1)     C))       i-    <       it          (I)   U)    ‘1    Lii                  )i                      (—i
                                                                                                                                      Cl            C)                           U)     frti
                  (V            U)     .<     Ci)                 ft              CD      T           ft    (I)   -“          ft                    I        (C)     (—i
                  0             ft                                                                                                                                         u)    •)     .
                                                  1       Cl      CD     -                CU                )‘    to    l-    J       ft            0         Cl)
                                Cl)                                                                                                                                  -     0
                                                                  Cl              -       ft          (I)   (V          it    CD      0             ft        it           S            CD
to     ‘J         CD     C))    )             rt       (1)                                            0           rt                         (-•    J                )—    Cl)
       0                 C      Cl      -i        3    0          (V     0                ft                      •)          S       Cl            CD        Cl
 it    1          it     it                   CD       CU         CD                                                                                                                    S
                                                                         -        U)          3       ft    •           0             0             U)        0            Ci)
                                S                      ‘1                                 CD
                                                                                                                                                                                               Case 01-01139-AMC




                  CD                                                                                                          Cl            U)                       CD    ‘1           Cl
           S             ft     CD     Z      S        (1         0         (0    ft                  C))                     -             0       ft       )             CD
                                       Cl     (-       CD                                 0           rt                Cl                  5       0                (1i
                  S      CT)                                                                                                                                               Ci)          it
                                       CD     ti       CL                         Ci)     0                                   <       CD    CD                -       0    U)
  1    CD        (-.                   i      CD                  it        •     ft      (1)
 CL                                                                                                                     (V     CD                  Cl                 1                 Ci)
                         CD     f1     U)     •        C))                                ‘1          CD                CD     U)                                    -
                                                                                                                                            0      0
       E                               Ct              ft         CD              C)      (Ci                                 -       0     Pt               ft
ft     CU        -             Cl)     CU                                -3       0       CD       C)                   H-                         3         Y       (C)   Cl)
:3•    U)                Ci)   Ci       1              ft        S       V                         CU
Ci)    ft                                                                                                                     (Ci           ft               Ci)     CU    Cl)          0
                         U)    0       CL              V         •       CD       1                                     CD     -      Cl    V      tO        it
ft     CD        U)                                               i
                                                       CD                         CD     CU                                                 CD                       5
                         C))    0                                CI)     S        C)     (0       to                                 C)
       ft        ft            10                                                                                                                                                       Cl
                                                      5          •       -•       Ct     it        CD                                CD            0                 Cl)
o                                      CU             i-                 )—       )
                                                                                                                                                                                               Doc 22814-29




                                                                                         CD        rt                   (-•          ‘1     0      ‘         CL                         Cl
C      CD        Ci)     CU     N      rt-                               I—i
(-
                                                                                                                        et           ft     1      ?j                S                  CD
       ‘1        rt      (0     CD     •                                                          i)
CL     CD                ft
                                                                                                                                     Ci)                     Pt
                                                                                         0                              (0           (-‘•                                              CI)
                 C)      CD     Pt                               Cl      CU              C                                                                           l—
(V                                                                                                                                   i      ft     0         0
                 0              0                     CD                 U)                       CD
CD     0)        ‘1     Cl     P                                                                                                            0                S                         0
                                       CU                        rt                      Cl       ‘1                    5                   CD                                         itt
       U)                                             CD         J       Ci)                      (0                    C
CL     •         CD                                                                                                                         it     CL        it
                        U)             (V              -         Cl)     C)              CV                             Cl           C)
                 C)     d      C)                     -                                                                                            0                tO                 Cl)
                                       CD                                ft              CD       CD                                 0      CD               S       D
U)               ft     0      C)                                ft      i                                                                                                             0
                                                                                                  0                    ft            S             <         CD      H-                (1
C)               .-‘)   (0            )-(                        Ci)     Cii
CU                                                                                       Cl       rt                                 CD     5      0
                        Ci)                                      C—,.    —               -•           ‘
                                                                                                                       CU                   I-i.
                        ji                            p..
                                                                                                                                                   i         ft                        C)
                               Q                                 C—i     P-
                                                                                                                                                                                               Filed 08/14/09




                                      5                                                  U)       <                    ft            I—i’   C-’              ()
Cl                             Cti    I—.             C)         P-’                                                                                                                   0
                                                                        ‘<               0        CD                                 1                               0
C))                     Ci)            U)             Z          0      -                Ci)      -
CL                                                                                                                                                 i         ft      (                 CD
                        1      C)      U)                       (Cl)                     ‘1                            Cl)           C)     ‘1     0         -‘      1—’
                        CD            tI                         U)     CD              (1                              -            0      i’               S       Cl
I-’.                    Ci)    CU     0               Cl)               )-              Ct)       0                    -             0      10     —-J
0                                                               P-h
                                                                                                                                                             CD                        U)
                                                      ‘-C               Cl)             Cl                             CD            ft     0                       Ci)                0
                        CU     C-”    CD              CD        1
0                              ft                                                                                                    Cl)    rt              0)                         5
                        ft                                      C)      0)                        U)                   ft            C)
0                              ‘<     C)              U)                                                                                                    0       5                  CD
                                                                5       ft              ‘13       CU                   (1)           rt                     CL      C-’
CD                      ft            ‘1              0                 ‘                                              3-’                  0                       I-’                0
                               C-’                    5         ft      0               CU        Cl                                 3      C               (Cl     1—’
                        Cl)    0                      CD        0                                                                                                                      P-h
                                                                        0               ft        -                    C-’           C-”    C-              CD      3
                                                                                                                                                                                               Page 19 of 52




                                      0               E         CD                                                      0            ft
                        5      ft                                                                                                           Cl              ft      ‘U                 ft
                                      %Z                                                ft        I—I                  CO
                               0’                     0)        5       3—i’            0’                                                  CV               -“     tO                 CD
                        0      CD                     ft        C-’     (I)             Ct)                                                 CD              ft
                        CD                                      C-’
                                                                                                                                                                     0’
                                                                        CD                                                                                           ft
                                                                I—,     -
 I\)   VJ      t’3   )     r)     r’3   *-                    i-          I.
 01    .       01    t)    I-     0     (D   CE?       )      01    01          01        3              0      0     CD       -)    0)    (Il          01    P3    i-



0      r      dO           Cl    dO     E?   ft        ft    do           C    do         E?’    0       dO     S              Z     do                 do          Cl
                           Cli                                           TJ
                                                                         t                                                     LU          CC)
                           S                 c         Cr)                                                      I.             (C)         U)
                                             CD                          ,t)                                    (C)            ft                                   C))
                                                                                                 0                             Ct)                                  0
Ui     ‘-<                                             0      E?    ‘<   0      Z’     0                                             (i    U)    —j                 ft
       it      1     CD    (/)    I     CD             0      i     CD   S                                            (C)      (1)   .           ft     0     CC)
rt     (I)     Cl    (C)          Cl    U)             r1     Cl    U)         $1      0         ft      Cl           l-       ‘1    tu)   1            Ci    _d
                                                                                                                                                                    0
                           ft                          CD           -                                                          Cl)    3
rt             ft          J      ft                   I      ft         -‘•   ft      ci)       CD       J                    Cl)   ft          0      Cl
                           Cl)     Y    U)             c     :r     u    cy    r                         0
CC)            0)          ft     CD    1-             .      0     .           LU               S                    ‘-4      CC)               ‘—i          0     t
               ft                  i    PC                    (0         <     ft     <                                    -   0     0           Cl     ft
ft               -         rt                          tJ     CD                                 )-      Cl)          S                                       CD
CU             U)          ‘1     I•                                           U)      F.        )—      CT                                      (3     CT
                                                                                                                                                                               Case 01-01139-AMC




                           C                       <         M                                           0                                       CD     CD     I
                           CT)                     CD                    (1)   it                        i            C)             0                         L    CD
                           -3      -                                           T      it                 ft           ft                         Cl     Cl
               CD                                            CD          ft    0)     T                                                                             S
(C)                               0                Cli                    3    rt     (1)        0       ft           (0             5           (0     (0          0
 U)            CD                                  rt        it          Ci)                              3           Ci             Ci)         0      0           Ci
                                  0)                         ci)         ft            i                 Cl)                         i           Cl)    Ci)
              it                                   ,—        i-i                       CD        M                    CD                                            it
CC)                               Cl               CD                                  4-•       U                                               Cl     Cl          Ci)
              CD                                   Ci)       I-i’        ).    ft     (C)        i       Cl)                         S           CT)    CD
CD                                 -               U)         )          CC)   CD       J                U)                                      Cl     Cl          Z
                                                   ft        )C)                       CT        Cl      rt
                                                              U)         ft    (C)     0         0       CC)          0              Cl)         0      0
                                                                                                                                                                               Doc 22814-29




CD                                                 Ci                     ‘)    C’)    ‘i        C).                  U)             U)          <
              CC)                                  )         C)                 (C)    tT                Li)          U)                         CD     CD          I-”
CD                                                 ft        0                  Y’     0                                             Cl          ‘1     ‘1          (0
‘1            ft                  0                                                    C)        ft      (C)          CT             0
              Ci)                                            ft                ft      Cl         Y      ci)                                     ft     ft          it
CT                                                                                               (C)                                                     3          -‘3
Ci                                Mi               f-        i                 Cl)    0                  0                                       CD     CD
                                  0                    L)    Ii                it     Mi         S       ‘1           ft             ft
                                                             CD                                  0                    T                          U)     U)
CD           (C)                                   0         Cl                       0)         i       ft           CD             0)
Cl            Cl)                Cl)                                           0                                                     ft          Cl     Cl
                                                   0         ft                       S          it      CT)          CT                         CD     CD
                                 CT
                                                                                                                                                                               Filed 08/14/09




                                                   ‘l        0                                   Cl)                  CD             S
              C))                Ci                                            (I)    4-.’       4-a’    ft           ft             0           0      0
CD            ,1                                                               (I)    CD         I       CC)          ft             Cl          Mi     Mi
              CD                 4-.’              CD        CD                CD     •                  4-.          CD
CD                               ft                —.1                                          Cl       I—.’                        H-          t-)’   it
              Cl                                             Cl                                 0        4-•                         0           CT     CT
ft            4-’                ci)               -         4-.                                CD        J                          4-’         CT)    CD
CT            U)                                             C)                CD               (0      (0            ci)
CD            C)                 4-’               -•        C)                                          (2)                                     5      5
              CT                  S                U)        ci)                                                      it             Cl          0      0
‘-3           Ci)                ‘ti                                                                     it                          0           Ci     Cl
                                  0                rt        0.’               0                ci)     CT            0              CD
             (C)                  Cl               3’        CT)                                ft      LU            Mi             (0          ft     ft
                                                                                                                                                                               Page 20 of 52




              CD                                   Cl)       0.’                                        ft                                       Cl)    CU
              Cl                 Cl                ft                          I-.’             (CC                   0)             ft          4-.
              ‘-.3               5                           4-.               0                 0      C)                           CT          i
                                 CD                                            0                ‘-‘3    0                            CX)                ‘-3
                                                             ft                                         S                            it
                                 ft                                                                     CD                                                                0)
                                                                                                                                                                          0)
‘3    1\.)       f\.)   f\)   r,        ro     —.     b—i                                1-.                 I.-.
Ui    4-         C.)    s)    I-        C)     CD     0)       ‘-J    0)    Cl’          C.)    F’)    —     0                        0)     Cli   4      C.)    F’)



ft    Z      Q                          Cl)   .0          r’   CD     .0    ‘     rt     (Cl          .0            ft    .0          0     .0           Cl)
b     0                       CD        U)                     X                  r      X                                            0
Cl)                           CU        cr                     o                  Cl)   ‘ti                         CD
it                            F         CD                                        ft     Cl)   U)                                                        -.
                              rt        (I)                    U)                        Z     rt                   Mi                0
ft    CU                                ft            Z        CD     C)    )—{   it     C).          (1)    Z      .
‘1    H-                CD
                                                                                                                                                                       Z
             0                •         0      1      0               0     H-    ‘1     CD    U)     0      0            (Cl   CD                 (U                  0
             C          U)              (I)                    S                  C:     Cl                         Ci)   tj    U)    CU    Cl     U)    (C)     1-
CC)   F-     l-         -                                      (C)          Cd)   CD
                                                                      ‘<                       X      i-’.          i-    CD         (C)
‘)    CD     Cl               i—i       S      t      (1)      -       0           .3    <                   U)                       M     ft           ft      ft    U)
      CU                (B    CU        .      0      i-..                               CD    ‘ti           1-i.   C)                (Cl    Y     Cl)           Cl)   i-
      U)                                       (               ft           0                         it     M      0     0           CD    It)    I—            )-•   ‘1
      ft     C)               it        Ct)    I—’-   -                     U)           S            ::y    •
                                                                                               0                                            U)     M
      -                 -               Cl     C)              CU     )     U)                 it     0             0                       CD     •
                              Ci)                              it     0     ‘-           0     0      Cl)           CD    CD
                                                                                                                                                                                  Case 01-01139-AMC




      ft     UI               H-        Pd                                  Cf           C:    U)     CD                             ft     ft                  (C)
             (C)                        ft                                                                          H-    CD         Y      CU
      CU      M               rt                               CD     Cl)   Cl)         (-     ft     ‘ti           ‘1    1
      H-         ID           M         L      0                                        ft      3      3            Cl)              rt
             CD               (         i-•    (               S            ft          (1)    CU     0             it    Cl)                                    (P
                              (Cl       Cf                      --     CD               -      ft     ft            It)   Cf         CU                          ‘1
      H-                          ‘)    Cf                     C)      ‘1   CU                        0             Cl               H-     IC)                  CD
                                                                       C)   H-          it      zr    U)                  CD         .‘)     U)
      -•     ft                                0               i—      CD                      Cl)                  ft                                          CU
      U)     f                          I—                     I-..     1   ft           CD    <      ft            M     ft
                                        U)                     ft      H-   f           ‘<     CD      J            CD    0                 0
             S                                 CU              CD      CU   Cl)                       Cl)           S                                           Ci)
             CD                         CL     (B                     (C)               (1)           it
                                                                                                                                                                                  Doc 22814-29




                                                                                               C)                   0     (CC
                                        (U                     ‘—-     CD               ft     0                           CD               (2.                  U)
      Mi     ft                         (2    1<               (B           C)          )-•           ft            -•     ft
                                                                                               (2
      Cl)    f                         (CC     0                      0     0           -      C)     3             ft                                            0
      C)     Cl)                        (1)    (               fi)    Mi    (2          )-     Cl)    CD            CD    Cl)               (2                  t1i
      H-     ft                                                (1)          ft                                      •     —                 C)                    CD
                                        0     Cl)              cr     ft    Cl)         0      ft     LI.                                   I-.
      CU     l-’                        p                      (U           .‘•         0
             it                         U)    ft               Cd)    CU    (2          (2     Cl)    II                  0                 Cl                  ft
                                                               ft     ft                H-     ft     <                   Mi                It)                 0
      Cli    )-‘•                       ft                     0            Cl)         C))    (C)      -
      N      U)                         0     i-•              Cd)    ft    0           )-     £1     U)                  ft                ft                   CD
      Cl)                                     CC)              .‘)    II    5           (2
             I--
                                                                                                                                                                 X
      M                                                                                               Li.
                                                                                                                                                                                  Filed 08/14/09




                                                                      (C)   (0                 <                          CD                ID                  ‘ti
      P1     (2                         0     ft                      S                 (I)    CD     Ct                                    5                    0
      o                                 Ct                            0     Cl)         0      M      U)                  CU                0                    U)
      Ct     Mi                         ii    (2                            U)          S      5      ft                  U)                )-.                  Ct
      U)     CU                               0                       .     Cf          CD     F--                        Cf                )-•
             C)                         Cl)                           it    (0                 C)     U)                  CD                ft                  CD
      S      ft                         S                             CD    (I)         CI)    ç      CD                  U)                CT)
      CU     -                         ‘1)    ft                            ft          U)     l-     CD                  ft                                    Mi
      ft                                —                              I    0           Cl’     ..-   (2                  0                 Cl)
      (U                                0     CI)                      I    U)          CD     it                         U)                U)                  C)
      M      0                                ft                            •           U)     (C)                                          Cl’                 S
      I-..   Ct                        CD                             0                 ft            it                  0                 Ct)
      CU                               CD     ft                      ‘                 0      Cl)    Y’                                    Cd)                 ft
                                                                                                                                                                                  Page 21 of 52




                                       (I)    (2                                        (B     (2     0                   H-                H-
      •      (2                                                                         -“
                                              CD                                               CL     (1)                                   0                   CD
             0                                                                                        CD                  0                 U)
                                                                                        1-i.                              Mi
      I—I                                                                               U)
      Cl)                                                                                                                                                                   0)
                                                                                                                                                                            ‘—I
 1’)       \)    )        t\)    )        1\)   l-        )-   I-   —         -         I—i
 Ci        4     ()       I’J    1—.      0               CD   -    0)        Q         s       U)     I\)       F—    0     (0       CD       -J         a)   U)        4       U)        N)   H



       EQ        >        H-     13.     AD                         (3.       f-I       —J             EQ              Cl    i-ti    t     EQ                  H-        H-      (1)      0
 0                        3      CD                                 CD          -         3                                          CD
 0                        U)                                                                                                                                                     :3
                                                                    H-        S         (1)                            U)    0        (                        Ci)       U)      CL
                          H-                                        H-                                                 CD    5       CD                        H-        H-
                                 0                                  CD     U)           0                              U)                                                       H
 U)              <        Cl             —                     U)   ‘1     0            i                    Z         U)                      F-I    -l       0                     3
 H         0     (U       (C)    t-       N            U)      CD                       -•
                                                                           ‘1                          Ui    0         CD            CY        Cl)        J    0         0      CD        C)    CD
                 U)                                            C)   H-     M        (C)                                      ID      (U               U)       -
           H     -        0      0                                                                                                                                                        II    (0
                                                               H-   r     ‘<            )-.            C3                            C)        H      H-       M
           £1             U)                           H       (U   U)    -                            (C)       (I)         t-t     U)        H-         -    CD        Cl               H-
                 U)       -•
                                                                                                                                                                                0
                                         i      -)             S                        U)                                   —•      S                U)       0         —-     CE)       C)    Cl)
 CD    <         I—       H-    (0       -             U)      O           (C)          H                                    3
                                                                                                             1                       CD    <                   H-        Cl     H         CD    H
       0         M        f--    ‘-i-           N     tl       CD   H-     C))           3                   -               U)            0          M        )                H
 t\)             *
                          0      1                                                                                                                                       :3
                                         t                          0      0                           S                     H       C)        C:     0                    -    i—-       Cl
 0                        )      U)      N      C)     1                   •                   C-i     -.                            0         ‘1     Ii                 H-               H
                                                                                                                                                                                                             Case 01-01139-AMC




           H-                                                                                                                                                                   0
                                 H              0      0       0)                              11      Ci)   -J                                      (Cl                                  U)
           C:         H-                 f-I
                                                                                                                                                                                C)
                                                C      U)      H-   C:                  3              C:                    CD      C)        H-     r                                  tI
           h          UI        Cl       (I)    i      C)      Z    CD                  U)     H       i     U)                      CD               H
                                                                                                                             M                 CD                        C)     H-       C:
           Z                    CD       —      -3     T       -    U)     t3           H-     Cl)     Cl    i-I-            S                 U)    1<                  0      Q)       H-
                      CD        C)              ••                  H-     U)             —    •       CD      -
           H-                                                  -*   -
                                                                                                                                               H-                                        (1)
                       i        0                     H-                   I            Ci)                  U)              C)      CD        H      0                         CD
           0                    U)       Cl)          3        U)   0                                  U)                            $1        5      0                  H
z                     0                  -•     <     CD       CD   1                C)        U       H-    C)              H                 0      M                  H
U)     Iti                      H-       ‘1     CD             (0         ‘<         0         0       0     0               -       l)
CD      I))                     i—-
                                                                                                                                               C)     M                         0         Mi
                                         -                     •          0          H-                0     H-              H-      1-•   1<         Cl)
       (Cl            Cl)       0                     i-’-                                                                           r+
                                                                                                                             CD                       C-)                U)               i-I
H       It)           CD        I        H            H-                             H-        0             H                             H-        H-                  U)     H
                      e                               :3                                                     ‘-
                                                                                                                                                                                                             Doc 22814-29




                                                                                                                            S              :3*       .*                         :-        C:
           (%)        H-        f-i-     S      CD    CD                  CD         CD                0     C:             U)             Q)                         Cl        CD        C)
U)         a)         CD         Z              H     U)                                       r       C:    CD             H-       CD    H-        ‘<               Cii                 Cl
                      S                  C)     i—.   Ci)                 <          0         U)      1     •              CD       S               CD                         ()        CD
       0              C3                 U)           -
                                                                                                                                                                      C)
                                H-                                                   ‘1        <                            M        0     N         11)             (C)                  M
       ‘—Ii           CD                                                                                                                                                       0
                                C)       C)                               S          (—-       (D      I                    H              0         -                CD       5          Cl)
Cl)                   1         H        IL                                         (C)                I                    U)             C)                         ‘1       ZI         H
U)     H-                       U)       H            0                   C)                                                H        C)                                                   U)
H                                                                                                                                          0                          0        Ci)
                      0)                 C)           C:                            C)         t-                                   (0     H
       ))i                              (C)           .-                                                                                                              C:       C)         C)
                      H-        C)                                        •         Ci)                                     CY             H                          U)                  Cl
0      H-             3.        U)                                                                                                                                             <
                                                                                    H                                       CD      H      H-
                      -         U)                                                  -                                       C)       3     CD                        C:                  H-
        Cl                      CD       0            0                   F-I                 0                             11)     CD                               C)        i—i-      :-
U)      CD            f-
                                                                                                                                                                                                             Filed 08/14/09




                                                      C)                                                                                   0                         H-        (0        CT)
U)     tj
       t              U)        U’                    0                   1))       0          -.                                          F
                                                                                                                            U)      H-
        0             CD        I       E             I-i                                     C)                            CD      ‘1                               H
CD      U)            U)        £1      3                                                                                                                                      <          0
                                                      -J                  0         —                                               CD                                         0         ‘tt
       H              •J                U)                                C:                       -                                       •                         U)                  fri
       H-                       0       H-                                H         H-        U)                            H-      0                                (3*
U)     H                        H-                                                                                                                                                        C)
                                                                          IL                                                                                         0         I—ti       -.
       0                         Y       U)                                         Cl)       Cl                            C)      H      •
11     )                        CD      ‘ti                                                                                                                          C:        0          C)
                                                                                    M         Cl)                           0       H                                H-        H         (C)
       -                        M                                         U)        CD        D                                     CD     C-)
H                               CE)     CD                                                    0                             f-.            M                         H         (0        U)
:3.                             •       U)                                CD        H         U)                                    Qi
                                                                                                                            l              U)                        (0                  H-
                                        M                                           H-        H                                     U)     C)                        0)                  U)
U)                                                                                                                                                                             C)
                                                                                                                                                                                                             Page 22 of 52




                                        U)                                                    H-                            0       C3     ID                         -l       H         H
                                                                          )         -.•       f-•                           U)      CD                               -         Cii       CD
                                U)      H-                                0         Cl)       0                             C:      Ii)                                        f-.       S
                                CO      0                                           •         C)                            U)      H                                                    CD
                                                                                                                                                                               S
                                                                          S                   •.)                           CD      0                                H                   C)
                                                                                                                                    CE)                              Cl)                 H-           C-fl
                                                                                                                                                                                                      £0
t’)    E’.)    1’.)     r\)     C\)    r       F      —       f-      ,—    l—       i—     ,-        i—     )—        i—
01     4       Ci)     V’3      I—i    0       U)     0)      -)      0)    01       4      C.)       )                0                        0)    01            C)



(1)    ft              CL)     ‘1       C’     ft     hi,     C)     .Q     ft       C).    (I)              hi        CL)   Q       I’
               L))                                                                                                                                           Cr     N            CL)
                               CD              hi     0       0             hi       i-.    L))              (TI       C))                                   CD     0
rt    Cl)      U)                              CD     hi                    Cl)                              EiT
                                                                                     C).   ‘<                                                   0            C)     3            U)
                                                                                                             0      o                           E            CC)    0
      Ci)      0       0                       0      Cf      CD            0        )                       <      ht                                                           CD
ft    hi       i       0                       I-        3     1       -i                             i-)
                                                                                     0                       CD               (I)   ‘<    0           i>     U)     -‘          11
       CD      CD      3                3      )-     CD      rt            I—fl    Cf      I-I                     *-        0     CC)   0           I      CT)    rt    U
o      CU              ft      U       CD      ft             hi            ft                        h.     rt     U)              U)
                       L))                                                                                                                            TI            CD    hi    (C)
               0                       rt      CD     fr      CC)     5     CD              Cl        UI     J      CD                    1<
               hi,             ft          -   -.
                                                                                                                                                                          CD
•                                                             ft      0              CD     0                CD     U)        0           0                  y      ()
                                                                                                                                                     .<
                               hi      (1)            Z       Cl)           I-i,     CL)    l         U)                            Ti)               0     CD
      h.       ft              CD              li•
                                                                                                                                                                    0    <      CD
                       Z                              CL)                   hi                   —    ft     ft     0                                               T    0      Z
      C)        3      CL)            V        Cl)    )-      Cr      rt    0               rt        L))    hi     tt.       C).   hi    CD                ft     ltj
               CD      :i      0                                                                                                                                         )
                                      CL)                     CD            3       ft                ft     CD               0           Cl)               ‘1      CD
                                      hi       ft     Cl)     C)      CD                              CD            CD                    (1)         Ci)   CT)      )    CC)
               l-•
                                                                                                                                                                                            Case 01-01139-AMC




                       C))     I-      ft                     C)      ft    ft      C)                       0       1
      CD        1              ft      h       CD     Cl      ii            :               0         CD     )-‘   ‘<         ft                      UI    0            CL)
              CC)      Cr      CD      CD      ft             Cl)           CD                        :i     ..                                             )-      rt
      C)       hi      CD              i-.
                                                                                                                                          :3.        E                   hi
                                                     V        CT)                          -          ft     ft    C)                     CD         CD      -•     0    CD
               CD      0       -‘      I-’     ft    hi               ‘<    C)      CD                       CD    0                      ft         hi     ft
               Cl      CD      C-..   ‘<       hi    0        C-i-    0     0                                       1         0
      Cl)     I—i’
                                                                                                                                                            CD     ‘1    0
                                               r     C).      ft                            Cr        Cr    Cr     C)                                              CO    hi,
      <       CC)      (1)     Cl)    ft       CD    C                      C)      CD      C         CD    CD     CD                                UI     C)
      U)       i       CD             ‘1                                                                                                                           S
                                               •     C)       3             CD      ‘i      ft        C)    0      ‘-        0                       ••     0      0     Cl)
              ft                                     rl-      CD      Ci)           CD                C)    Cl)        1     C-ti
              Cl)                                                                                                                                           Ci
                       0       Cl)    CD                      Ci)     hi    rt              ft        ti    Ci                                              C-     CD    ‘<
                                      •                               CD    ‘1      Z                 U)    U)     Cr        Ci)                            Cl
      CD      0                                      C)       C)            Cl)     0       C-•       CD    CD     <          1                                    ft    C)
                                                                                                                                                                                            Doc 22814-29




      E       Mi       ft      CD                    0               hi     ft      ft     Ci)                                                       CD     C)     Z     0
                               hi                            3       CT)    CD                       i—..   C-•                                      C—i    CU     CD    i
              ft       CD      CD     CD             C)      CD      5      •       C)     Cl        ft     ft               C)                       --.
      Cl)      3-                                                                                                                                           Ci           C)
                                                     CD      U)      0              C)     0                                 0                       -      CD           CD
      (1)     CD      Mi       C)                    l       ft      <              :3     CD        C)            J         S                              CD     hi    hi
                      Ci)      0      CD             ft      CD      C-’.           C)     Cl)       0      0      •         C)                                    CD     5
      :3      Cl      0         i     hi             hi
                                                                                                                                                     S
                                                                                    CD               Ci     Ci               CD                      <      CL     S
      0       Ci      ft       C)     CD             C)      5       CL)                             l—     C—’    C)        ‘1                             C-’.   0     0
      ft      U)               CD                    ft      0)                     :3     0         C).    Cl     hi         1                      CL)    U)     -‘    F-h
              ft      ft       hi     CU             CD      ft      ft             CD     ft                      CC)                               3      CD     i—.
      CC)                             C—’            Cl      CD      hi             Cl               C)     C)     C)        0                       UI     CL)
                      C’       CD     CD                     hi      CD                    S         CU     CL)    CD        hi                      D      UI     C))
               3’     ft       Cl     0              0       C-’.    5              CC’    CD               Ci
                                                                                                     Ci                                              CD     CC)
                                                                                                                                                                                            Filed 08/14/09




      C))     C-’.                                   hi      Ci)     0                     Cl)       Ti)    CD
                                                                                    0’                             0                                 hi     -.)    -h    J
      CD      C)      ft       Q)     C)                     C-’     I-’            0      )         CD     CD     hi        0
      C-      3’      3.                                                                                                                                           hi
                               Cr     0              CC)             C-’.                                                                            ,.•
      ft              CI)      0      1              i       CD      ft             ft      I        C).    Cl     N                                 Cl)                 CC)
                              Ci      C)                      1                                             1-’.
                                                                                                                                                                   5
                                                     V               C                      I        i-..          C)        £1                                          hi
      Mi      Ci)             ft      CD             CL)     Cl.                   hi                U)     Cl)    i         C-’                     C-C           ft    CD
      Ci      Cl)      I              hi             :3              ‘-ii          CU                CD     CD     0         Cl                                    3
      C—’                     hi                                                                                                                                         C)
                       I              :3             Cl      I       hi            S       ‘<        CU     Ci)    F-’                               C).           CD    CD
              Mi              CD      CD             CD      0       0             C)                Ci)    (C)    .          1
              0       it      S                                                                                                                      0
                                      Cl             C).     ft      5                     CC)       CD     CD     ft        0                                     5     0
              Ci      ‘1      0                                                    -‘•     I                ‘3     CD        ft                       *            CU    hi
              i       CD      <       C’)                    Ci      ft             1      U)        CD                                              ft            ft
              Cl      S       C-’•    Cr                     CD                    CL)               Z             ft
                                                                                                                                                                                            Page 23 of 52




                                                                                                                                                                   CD    ft
                      0        i      0                      CD      CD                    CD        Cl            0          1                                    hi    J
              t-.     F-      (C)     ç                      I-ti                          hi                                0
              :3      ‘-‘             ft                     Ci                                      C-C                                                           CU
                      ft                                     C-
                      CD                                                                                                                                                               01
                                                                                                                                                                                       CD
    1”
L   -           C         [           .         C,




    10    10         19   tO    to        tO    WI   WI    WI   WI   WI   WI       WI    WI     WI    WI
                          to    WI        0                “4        5$        1         I’)    a                       .4                   a”    Ca     M       WI
    a a ca                                      w a             a                                                  a         0       cn

    o     ‘         .0    >     ft        ft    WI   .0    “                             .      ‘0    0     Ph               .0      ‘       4            PS     .0
                                SW        ‘1    U                                                PS         0           lb
                                WI        a     it                                 LI
                                                                0•                               0          ‘1          rt
                                                                                                                                     aPS           ‘saa
                                WI        N     0                                               a           a                        LI            SW
                                                                                                                                                           a0a
                                WI        0                                        I                        WI                               WI    it       4
    Cl)   ‘4        UI    Cl)   U         I-’   ft   t     Z    o                  PS                       in     z    rt                         a             0
                    C     0     in        WI    U’   0     0         on                  a      t     a            0                                             N
                                                                                                            a                  o a’ aa             a      aa
                                                           a                            WI
    oN    aLI       ft    N      LI       ft    a    5          ‘9   PS a          rt                 rt                D      SW SW         I-.                 SW
    a     -               a     a         a          a               SW                 WI      a           N                ‘4      it      WI    0      ft     .4
                    LI                          N          LI        C,   •4            a       LI                      rt   •           -   ft           U’     .
                                                                                   m                  5     SW
    o     LI        0     0     a         SW    WI   .4    WI        a     0       it           a     a     it     UI             LI a             a.     a
    Ph    WI              Ph    WI        LI    WI   0     PS                                   PS    PS    a      a    lb                   ‘9    (I
          ‘S        a           n         w     WI   0     a         ‘0                         ‘     a     PS     a    D     >                    SW     it  Ca
    WI    •               WI    Ph        a     a                    WI   SW                I               WI     SW                              I-’     PS
    ft              0     it    a         LI         LI    H         SW   Z        a        I         ‘4    a                                      it
                                                                                                                              aa II H
                          a
                                                                                                                                                                            Case 01-01139-AMC




                                ‘S        ft    ‘4   SW
                                                     WI
                                                                     a    SW       LI     .4 0              WI     g                 .4      LI    U’
                                                                                                                                                          aN .40
    in                          a         0     0          a         it   PS       ft   Ha’Ø                       a         *       UI
    o               ft    ‘4    U         LI    a    a     WI                      WI                                        U’      SW      ft    U’     WI
                                                                                                                                                          o. 0a
    a               a’    a     ft        •                a         S             0                        I      WI        SW      ft      U’    SW     WI  ‘S
    LI              a     LI                    it   a               SW   it       a                               it   D    it          -   SW    N      tt
                                it              a    SW              LI   D’            U       LI    it    a                    -   LI      ft    SW     SW     ft
    WI              WI                    ‘     LI   PS                                                                 Ia
                                ‘4
                                                           a0             SW            o                   0                LI                    PS         a
                    ft          ‘0        0     ft   WI    ft                           it      5     4     a           I            SW      ‘4    aPh           LI
                                a         a     WI   WI                                         a’    SW    WI               ft               0           ‘S     ft
    ft              in          LI              Ph   a     w         a    4             LI      SW    ft    a           lb   U.      ‘0            tt     0      WI
    U’               0                    ‘4    WI   PS    U         a    a             a       .t    a            a    lb   a        SW     n0    o      N
    a               a           o         o     a          0                            PS                  Ph                        PS
                                                                                                      a
                                                                                                                                                              a0
                    LI          Ph        0     a    it    S         WI;                a       it          ‘5               o       it      it    at
                                                                                                                                                                            Doc 22814-29




    PS                                               U’              a WI                       a.     0’   0                ft
    SW              WI          it        LI    ft   SW   ‘ft             C)             I      a     ‘4                4’   U’
                                                                                                            a      aI                o       aa     a.a afta’ ScU
    Ph              0           SW        SW    0’   it    U’        ft   a                                        ft   t    a       Ph       ft                 WI
    ft                          WI        WI    SW         SW        a’   i-i                   .0     U’   ft     a    9    ‘S              WI     C    a LI
    a               it          WI        a     it   S     it                           H       a     a     U’     a                         a      LI
    PS              U’          WI                   U’                   it                -   a     SW    a                ‘0      U’      0
    LI              a           a         ft    SW   a                                  a       LI    WI           ft        SW      a       a     an 0aa
                                in        U’         U                                          it    ft    a      0         PS              ‘4    LI   a ‘.5
    SW              SW           LI       SW    LI                   $    WI            a       WI    ‘     0                ft      ‘5      .9           a      ft
    U               WI          a.        it         ft              a    a             o       0                  PS        ‘9                           it
    a                                           0’   U’                   LI             nag                a0     a
                                                                                                                                     aSW           oPh ‘S 0
                    a           ‘.5       WI    LI   WI              o    a                                  a     N                 LI                   SW     Ph
    0                           WI        it    ft   LI              Ph   WI             LI                                  UI      0             ft     ft
                                                                                                                                                                            Filed 08/14/09




    o               PS          in              SW                                                                           a
                                                                                                             aft                     U             U’     a      ft
    4               WI          a’        in    a                                                           PS     a         a                     a             U’
                                                                                        aPS in0a a0a
    a               in          ft         0    ft    I              o    WI            a    LI             SW               SW      ft                   S       a
    PS               U’         ‘9        a     WI                   a    0                                 ft     SW        0       U’            a      SW
    LI              it                    LI    SW   ft                                 ft      ft                 WI        LI
                                                                                                 aLI‘S      a                        SW            0      LI     ‘S
                    ‘9                          WI   U’                                 UI      0                  WI        Lb      ft            U
    ft                                    WI         WI              a    Ph            SW      •     Ph                                                  0.
                                                                                                                                                                 aSW
    U’                                    U     at   LI              an                 it            0            0         ‘4                                  LI
    a                                     ft    0                                                     PS           Ph                                            0
                                                                                                                                     a5            aaa    aa
                                          0     U    0                                  H                                                          it
                                                                                                                             oa                                  a
                                                     PS                                               ft           ft                a             ‘i
                                                                                                                                                          a’a
                                                                                        o             U’           U’        ‘       )ds           a’     (4
                                          fta                                                                                                                    ‘4
                                          a’
                                           in                                                                                SW
                                                                                                                                                                            Page 24 of 52




                                                                                                       a           a                               ft     a      0
                                          a     a    a                                  aSW                                  a a     •             a             a
                                                     0                                                                                             a      WI
                                                WI   N                                                                       ft                           ft
                                                                                                      aU
                                                LI   a                                                a                      0
                                                     LI                                                                                                                .4
                                                                                                                                                                       0
t)     ‘J     Is)          Is)   Is)   Is)        F-   H      H       H      H       H    H     F     H    H
(11    .Is    C.)          IsJ   H     0          cO   CO      -.I    0)     Ui           C.)   j’)   I-   0                     -1    01       01    4      C.)    Is)   H


CD            Cl                                                                                           CD                   I-    Q               rJ    Q             (0
H             0                        0                              0      0                             H                    H                     H
0.                                                                   i       $i                            H                    LQ                    (U
H                  -                   0                             0                                                                                                    H
CD            ri-                                                    1       -t-                           C)                   rt                    if                  V
<      U               -               .-3                    U      -               Z          H                 P     H
                                                                                          Z           Z    <                                                              S
       o                   N                           It)    H              F-      H    C)    it    0    CT)    )     it                      It)          I      CD    (U
o             CD           -<                          U)     0.     CD      U)      H    -           -           Cl        -          P.       U)    1      Cl     (0
0)            03                                                                                Cl                      (1)                           H                   if
(I)    0                                                                     t3      Fi   U)    0     U)   t      rt                                  CC)    (I)
ID     g                   i     H                     (0     0        I     0       H    H     CD    H    H       3    Cl                      U)     V     0      U)
              ii-                                      H                     C)     CC)   e-    U)    ej   CY     CD    C              CT)      H            S
       ‘-i    o                                                                                            cr                          i        1     •-     CD     1     H
       CD                                                     Z      H               it          -                C).   if                                                (0
       O      it           C))   C)                    H      CU     C))                        rt                C                    if                    0
                                                                                                                                                                               Case 01-01139-AMC




       C))    c                  0               N                   H                          .5)               (0    -                                    F-ti         if
       H      ‘f           H     CZ                    Cl     CD     (      H                              H                           (C)
                                                                                                                  if
       H                   Ci)   C1              I—I   H             it     C)      H                      U)                          if                    H
                       —         H               CO    Cl     CU     H      j
              S                                               I      )-             H                             0     (0            V
       o      <                                                      F-h            (0                     rt     CT)   -              H                    CC)
       Ii                  U                                 0         -    C))                                   U)                   CD                    0
       ‘      C3           0     Cl)                         V       U)     0)      5                      it           U)                                   (1)
              CU                                 C))         V                      0                             1     H              it                    U)
      Cl      C)                 ii                          0       N      cr      ‘1                     Ci)    H     j                   -
      CT)                  0     CD                          1       >      Ct)      1                     it    CQ                    (1)                   0)
      V                                          H            it      3     ID      H                                                                       H
       o      0                                               (i     H       1                             it     it                                        H
                                                                                                                                                                               Doc 22814-29




       U)     Zi       ‘-i                   C))              Z      0             (P                      hI
       I—’.            It)                   TJ               H      )-.                                   i
                                                                            5                                                                               it-
       it     <        C)                    V                it     it     (1)     )                      Cl)   V
       H      0        0)                    hI                             hI                             .‘)                         ‘-                   CD
       o               H                     0                       U)             IT)
              •        H                     C))              it            CD                                                        (C)
                                                 C)           0      (31    l                                     i-F                 -                     (1)
      CJ                                                             .-.J           H                             0
      CT)     H        0                                      H             F-)                                                       H
      H        -                                 H-           0             0       0                            it                   it
              S        hI                                     0             hI      (C)                                                    -
      (C)                                        CD                                 S                            CD                   U)                    if
              U)           I                                                i-F     CD
                                                                                                                                                                               Filed 08/14/09




      it                                                                                                                                                    0
              0            I                                                tY                                   (0                   0)
      0)      II                                 H                          It)     it                                                                      i-F
                       C))                       i-F          hI                    0                            ‘-<                  Cl
      ID      <        X                                      0             hI                                                                              CD
              •        C)                        CD           Ci            CD      it                           CU                   U)
                       Ci                        U)          (C)            C)                                                        it                    CU
      H                (I)                       (0                         0      H                             P.                                         H
      Z                CD                    -                                     C))
                                                             CF             (1     H                             (0                   5
      CF               S                                                                                                              It)
                                                                                   -                             V                                          Ci)
                       ID                        0           H                                                   I-                   (0
      CD               -                         Ci          U)             <      H                             CD                   U)                    0
                                                 hI
                                                                                                                                                                               Page 25 of 52




                                                                            0                                    cv                   -•
                       H                                     (J                    (C)                           Cl                                         CD
                                                             o              hI     (ii                           U)
                                                             o                                                                                              it
                                                                                   CD
                                                                                                                                                            CD
           L         L




to    to        to   to    to          pa    pa    pa    pa   pa    pa    pa    pa    pa     pa
cia   a.        co   to    pa    Q     ‘0    0     ‘4    0    (3    a.    (i)   to    pa     0     ID     0    ‘4   0)   (3   N’   CD)   to   pa


      CD        Z    ‘1    rt    B     0                                  ‘     00>0                      ft   40   0’   >B        0     40   ‘I
      o         pa   a     a     w     Ph                                       0                  0                          pa   0
               ft
                                                                                                          0’                  pa
                   N       N     ft                           0                 13                 0      0         ft             13
      Z        D’i-’       ft    a     6)                     a.’               ft                 ‘S     N                   pa   0
      ID             it    )a                                                   N                  N      a                        a
                N    a     Ph    pa    ‘                 ‘40’>            H     pa    >      ‘4    a           H         Z    pa   ‘S    0    .4
      Z              O’’4        N     ‘4                a    0     13                13     a            a    13        a    13   13    0    a
      o         N                I”                      N    N     a     a’    a     a      N     o      0              pa                   N
      e         st   it          pa                           pa          a     a                  Ph     0    N         pa
      a—        e    o     z     a     ‘4                     13    ft    pa          ft
‘.3   0.        0.         a     ‘4    0     X           N    a           pa    pa     13’   N     ‘4                                         N
N              ‘4    ft    fl                N           pa   N     a     a            a     pa    0      a
                                             •
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o
      m
      o         N
                     D’
                     N
                           a
                           N
                                 •
                                 X           o
                                                   •

                                                   t”
                                                         ‘S   N
                                                                    ‘
                                                                    ‘4
                                                                    S
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                                                                          a
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                                                                                      ‘4
                                                                                       N
                                                                                             ‘1
                                                                                             •.‘
                                                                                                   0      13
                                                                                                          ft
                                                                                                          N
                                                                                                                              I
                                                                                                                                   ‘a’ Ga
                                                                                                                                              ‘S
                                                                                                                                                        Case 01-01139-AMC




o     0        a           C)    0     0     N     N                a     N     C      ‘S          0’
                     I-.   0     N                                  ‘l    o     a.’   a      a           .4
                                 ft    0           H
‘.3
•‘
      a
      0
      It
      •
               0
               ft
                S
               pa
               rt
                     N
                     0
                     pa
                      t
                           I-’
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                           a
                                 0
                                 Ph
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                                                                                pa
                                                                                pa
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                                                                                             13’
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                                                                                                   N
                                                                                                   N
                                                                                                          2
                                                                                                          0
                                                                                                          0
                                                                                                          B
                                                                                                                                   II
                                             z                                                           ‘0
‘4             D     N     0.    a     ft    a     a                C     N                              pa
                                                                          pa
Ii             ft    0.    N
                           U
                                 N
                                 a
                                       1
                                       a     S
                                             o
                                                   —
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                                                   0
                                                                    pa
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                                                                          •
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                                                                                      0
                                                                                             pa
                                                                                             a
                                                                                                   pa
                                                                                                   ft
                                                                                                   13’
                                                                                                         pa
                                                                                                         a
                                                                                                                                                        Doc 22814-29




N              a                                                                                         a
                     S     a’    a     a’    0     4                a                 O      N
                     a     N     0     N     pa    a                a                 ‘S     pa          pa
o              o     s     a     0     N     a                                        ‘S     I-.         13
13             n     a                 hi’                          pa                a
N              a                 s     N     o                      13                o      0     N     ft
a              Pa    N     a     a           0’    a                                                     0’
.9             13
               N
                ‘1
                     0
                     0
                     0
                           13
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                                 13
                                 ft
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                                                   a
                                                                    It
                                                                    13’
                                                                    a
                                                                                      00
                                                                                      o    ‘S
                                                                                                         a
                                                                                                         0
               ‘4    B     ft          ‘S    it    B                                  d Ph N             ‘S
                     0     o           a           pa               0                 pa     a.’   0     a
               o     i           N     I-’   it    N                ‘1                a      o     a     pa
               o     N     N     N     ID          N
                                                                                                                                                        Filed 08/14/09




                                             o     pa
                                                                    a                 N      $            13
               0     ft    I-’         4                            pa                             0      N
               n     a     pa    ft    N     ft    0                13                o      o     ‘S     ‘S
               a     a           z’          13’   13               N                 Ph     0           ‘4                        ‘a4
               a           o     a           a                      a.’                      ‘S    N
                           Ph          .2          0                ‘4                5            0      N
               o                 S           pa    Ph                                 13’    n     13    a
               Ph
                     a
                     0
                     o
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                                                                                                         a
                                                                                                         0
                                 a           o     ci’              ‘S                N      N     ft    N
               N           B     N           a                      N                        •     a
               Ga    a     N     N           0                      a                              .9
                                                                                                                                                        Page 26 of 52




               13    0     ft                0
               a
               N
                     ft
                     pa
                     0
                           ft
                           a
                           ‘1
                                 S
                                 pa
                                 I-’
                                             ft
                                             pa
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                                                   •                0
                                                                    Ph
                                                                                                                                   ii
                     13    N     I-.         13
                                                                                                                                                   ‘4
                                                                                                                                                   to
                         (\)    ‘       t’                            I-                   F       -               I-.
 01              Ci      L\)    I       Q       tO     0)       -i    0)      (3’    .     ü)              ,-      0                          -     c     cn           ()     t\)


         0       S              rt      ‘1      Di                    5             Q     o        u      ::      0        ;o          Cl    0      0           CD            Di
                                                                                                                                                                       CT
 :3      0       Dl      Z      T       CD      3                     DI            CD             U)                                  CD                       X            o
         :3      Cl      (*
                                Dl      U)      Cl     0       0      rt                                                                            CD          0      U)    0
 C)      (I)     CD      C)     rt      ç              5       0      CD             ID           CD                                   0            ‘1          CD     1
         i-i.                           I—i     0              -.     ‘C                          Cl                                   U)                       ‘ci          S
         Cl      cr                     ft             U)                     H     Di                             z       z                                     rt    CD    C
 14      CD     <        ‘1     CD      UI       3.    ft      CD     CII     3     l-     0      0       CD                                 tO     i-
                                                                                                                   0       0           ft                              U)    I—i
                         CD     ‘-C             CD     Di      0             CD      -.    C      Mi                       •           l-           CD          0      U)
                 Dl                                                                                                                                                          CII
‘ci      CI)             Mi     CD      0       ‘-C    ft      ft            If)    ‘<     I-’            (—‘                          0            Cl
                IC)                                                                                                                                                          ft
 Di      CT              CD                     (0     CD      Cl)           CD     -      Cl     S       -                                                            0     Cl)
                 CD      ‘1                    -               Cl                                 CD                      (-I                             H     ft     Mi
 rt      CT)     1                                                                                                                                                           Cl      X
                                ‘1      Cl             C))            H      Cl     )-    ‘<              (-I      3                   CC)   •            X     0
                 0       ft     .       (       ft    (C)      Mi            0      l      0      k-’.                    C)           (F)                N            rt    (-‘•
 C)      3       ‘—•     0      &       (ii     T      CD      0      CD     C)                    3      C)       rt     01                                    Ct      3
 I-’.    ç       CD             r1      rt      CD      1      ‘1    ‘<      C      (C)                   CD      Y                    ‘<    0)           0            CD
                                                                                                                                                                                           Case 01-01139-AMC




‘Ii      S       (C)      I     Cl)             M      0                     5      Ct)    ft     ft      M       CD               —   0                 0      CD           ft
 Di                                                                                                                                                                                  N
         CT               I     Z       (I)     CD     )       CI)    C)     CD            CD     3       ft              rt                 I—f         0             1)    f
 rt      CD      Dl                     Di             Cl)            0       3     CD     I--’   CD      II)     C)                   ‘1    0)                  J     0     CD      F
 CT)     ‘)              rl     CT      S       01     (C)     (1)    <      rt     i      I—’             -‘.            If)                            -3     CD                   Ci)
                                       ‘13
                                                                                                                                                                       5
 Cl              Cl      0     <                1     -        ft     Cl)    Ti)    CU            C)          1   C).     11)          Cl                       CI)   Ct3    0
         °                              ‘-      a              ii     ‘-C           I-’    ft      -‘     I-’     i-      ‘<           0                               Di
                 CT      Cl     0      •               ‘-C     Cl            C)                   Cl.    •<       Cl)                  0     Z                  U)     Z     Cl
                ‘<       ii              1      CD     CD     ‘<       I     C)     ft     CT)    )                       ft                 C)                 C))          (-‘•
                                                                                                                                                                      ‘<            ‘-3
         ‘1              U)            (C)      3                      i     <      CD             CD     Cl.                          S                 CD     ‘<            3
(C)      CD      Di      ft     CD             (C)     0                     CT)    ‘1    LA.     ‘<      0        Cl.    C))          CD                ‘-C                 C))
 Di                                             )--
                                                                                                                                                                                     (TI
        ‘Cl      I-’-                                  M              ‘-3    ‘1     5      (TI            3        CD     ft           i                        ‘1           ‘1
rt       0       ‘       S      (CI    ft       I      ft      H       3            U)     ‘1     Cl              ‘Cl                  ft    ft
         ‘-C             Cu                                                                                                                                            H
                                       Zi.      CD     U)       3.    CC)    C))          ‘<      CD      ft       0      (—1          (/)    J                         3
                                                                                                                                                                                           Doc 22814-29




CD       ft      (0      ft     I--•   CD       CD             CD    ‘<                           Ti               U)                  •     CT)         CD     CD    CD     Di
‘-C      U)      11)     ft      1     ‘-C      ‘-C    ft      ‘-C                                0       h       ,-...                      (F)                             i
                                                                                                                                                          —.          ‘<             i
                 S       CD            Cl)      ‘-‘    3.      CD     -.      -‘                  U)      CD      ft           I             CD                              Cl     CD
 :3             ‘ti      ‘      Di              l      C))                   Cl                    -•     S                            (3
CC)                                                                                                                                                                   C)            U)
                 I--     U)     I      Di      CC)     ft      1—’   C)      CD           ft      ft      CD      0       ‘-           0                                      3
                                                                                                                                                                      CD            U)
                                Cl     I-C                     U)    1-.                           -.     5       :3      0                  CD                       ‘-     CD
ft       C)      1       CU            CD       ‘-C                          ‘-C          ft      0       CT      i       (TI                ‘1
                CC)       1                                                                                                                              ‘—3          ft     0      Z
                                0               CD    CD       I-    Cl      Di                   Z       CD                           0     ID                       CII    CD     Di
CD                       C).    (T     S       ‘CI    ‘1       I     (D       1           Cl)             ‘-C             S                              CD            -•    U)     U)
        ‘Cl                     ft     Di       0     CD       C)           CC)           U)      CT                      CD                 ‘-C                             (C)
‘1       CC)             -.•    U)     i        M              F-    I--’    CT)          CD      ii      CD              (i)          ‘1    CD                              Dl
0)                                                                                                                                                       0                          ft
         ‘1     H        3      I—’-   <        Ct     0      ii     CD                           ft                      l            CD    Mi          CT           ‘-<    ‘-C    CD
E        ft     :3.      (1)    Cl              (0     0      Cl     ri-                  Cl              1!)                          C)    Cl)         LA.
                                                                                                                                                                                           Filed 08/14/09




         Di     Cl)                                                                                                                                                                 U)
                        ‘(3     CD     i—’             5      Cl)    Ct       1           0        I      ‘-C             Li.          C))   ‘-C         CD           0             ft
Cl       v-..   ‘-C      Cl)           CD      ‘-     ‘CI     Cl     (C)                  C_I      a                      C                  ‘-C
Di       .3                                                                                                                                              C)           0      C)
                CD       C)    0       ft      l      i-’.           ‘-C     C))          (TI            ft               U)           -.    CD          ft           5      0      i-ti
ft                       ft    I--h    ft             I—’      F-    (C)                  S                               ft                 Cl                       CD     (i     I—..
Di              I—..    I-..           CT)      J     CD       3                          CD             i-a.                          ft                C)                  M      CD
        C)      U)      0       ft     ‘1      (1)    Cl             C))                  1                                                  I-’.        3                   (I)
I—h                     l                                                                                                                                             Z             Cl
                                       in      ‘-C            T       3     Cl            ft             IC)              0            Cl)   Ii                       I-’.   CD
o       C)i     C))     (I)    CD              CD     CT      CD     $1     Cl)           U)                                           ft                i-..         ft            ft
‘-C                                    I--.•          ‘<      ‘1                                         ft               )            )                 U)                  0       3
        U)              ft     C)      Z       0              CD     Cl     ‘C            CO                                                 0                        I—S-   Mi     CD
 I      ft              3.      0              )      S              Di     DI            ‘-C            Di                                  (3
 I      Ci              Dl      S       Y             ‘<      ‘-C    ft       1           CD             ft
        Cl              ft     ‘Cl     CC)     ft     U)      CD     C))    (C)
                                                                                                                                                                                           Page 27 of 52




CI)                            (ii
                                                                                                                                                                      Di
                                       ‘1       Y     CD      ‘C)           CD                                                                                        Z             CD
Mi                              1      ii)     CD     i—      0      ft                                  0)
ft                                                                                                                                                                                  II
                        CT)    ‘<                     I--ti   ‘-C    Z      0                            U)                                                                         Cl)
Ct)                     ‘-C                                   ft     C))    Mi
‘-C                     CD                                    (C)    ft
 E\)    )      C’)     M      t\)       I\)           I.     -                               )—          I—s
 01     .      U)     s)             0          CD    0)     .-)    01         01    .C).    U)    r\                  CD
                                                                                                                 0            0)                 0)    01      P.   C.)    ‘J


 C)l          ‘       C)                              10     -“            it        CD            C)           dO            it        dO                    10
 I       j     ‘1     t       (C)    0                              CD
                                                             Z             1        (3             CD     1                                            C)           t      Di
 Cl     CU     CD     C-      U)     1                              0)     Cl)       -.                  C).
        it
                                                                                                                              CD                                    CD
               <      it                                     it     U)     S         Cl            it                                                                     (C)
 :3.           -•     CD      .      CT)                                                                                                                                           CU
                                                              J     0      0         CD                                            -.
 Di            0             i                                                                                                                         it                  CD      it
        Di            i              l                       Cl)     3               5                           fri   C)     1                         J
 Cl.                  i-•   CC)                                                                                                                               -<    0
                                                CD    r             )      •         .                   0)             0     (0            1    CD    Cl)    0            1
               Cl)    C))     h      Mi         -
                                                                                                                                                                                  ‘i
                                                      Di     C)            it        0       fr.   C)    it      U)    cJ                   Cl   U)           (     U)     Ci     CD
        Cr                    CC     0          i—.   it     0      Mi     CC)               CD    Di            it    1-     fr
 o      0      it     0              11                      3.
                                                                                                                                                                           S      Cl
                                                                    0                0             it            CU    CT)    1             it         C)           .<     (3.
        Cl     0      Mi     -                        Cl     0             CD       IC)            CD    CU      1     U)     C)            t    Cl)   0      CD           CD     0
                                     C                0      1                               Di    U)    U)      Cl                         0    -      -•     1
 CD            it    ‘t3      it     CD         CD           it     it    tS         Cl)     (I)   )                   0      C             CD         fr     it    0
 Cl                   CD     J                                      J      C)        it                  it      C)    Mi     Cl.           CD
         3     CD     0      CD                 C)           4-
                                                                                                                                                                    ‘1     0      Mi
                                                      0                    U)
                                                                                                                                                                                        Case 01-01139-AMC




                                                                    CD               U)      Cl                  0            CD                              Di    P      fr(    0
 Mi     0                    ‘1               0       $                                      Di          CD      M     it                Cl            CD
 o             (I)    -                                                                                                       Cl                                    CD
                             CD               S              (I)    Cl                       it                                          CD            it     0     Cl     Cl
         3.    it     CD                1     Ci      S      it                                                                                                                   S
                                                                    CD     CD        T       C))        ‘Ci      Cl)   CD                U                                 CD     CD
        CU     Ii                    Cl               CD            U                0                   C       C)    S       1         it
                             Dl
                                                                                                                                                       C).     1    -t.    Ci)
        Cl     Cl.                             1-’    U             it     Cf                Mi                  it                                    <      Cl    0      it
 U)                   T      Cl                CD     :3            r     <                  0          ‘t       CD           it                                    ‘1            CD
        Cr    -       0              0         Cl                   Ci)              .       1           0       CL    ‘<                C)                   0)
o       CT)                  it                                                                                                                                                  5
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CD      S     T       0)             it                                              CD                                -                 it
                             Cf                I.
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                      P.                              0                    5         Cl      CD          0      C)            N                        Cli    0            it    ‘<
o              C)            CC)    ID         l—’•   II            it     CD                            i-ti   0      U)                ti
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‘-             3.     Cr                                                  *-;
                                                                                                                                                                                        Doc 22814-29




                                               Cl)                  j                                           IC)    .      r         ,—.                   it           -t.    Co
        1             CD     (I)    GD         it                  CD                0       C)          U)      i-.   -                C)                    U)
S       CD            CD     0      it
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                                                                          CD                C)           CD     CD           Cf         CU             U)     -‘•          C)
o       Cl    Dl      l      S                 0      i-i.           I     S        CD      I-..         C)     (1)          i-..       it
‘1            U)             CD                                                                                                                                            Di
                                    Cl         Mi     U)             I    ‘CI       <                                        it         CD             C)     CD           it
CD      -‘.           CD            ‘<                it                            Di                          0                       Cl)            0      P.          CD      )
              0.      5      C)     -          CU     •.j          it     0         I-.                 fr•     Mi           C)                        ‘1                 U)      I
              0      ‘z      ‘-                                                     r       U)                                          it             M      it
CD                   i-.     .                 l—                                                                                                                                 Cl
                                                                   CD     CD        Di      it          CC)     it           C))        b              CD     3           0
0)      (0    CD     0      it      )                              (1)    CD        it
‘1      (1)                                                                                                                             Di             C)    0
                     <      CD                 CD                  CD     Cl)       CD      Cl          it      CD                      ft             ft    Cl)
U)            ‘-‘    CD     ‘       o                                                                                                                                             Z
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                                                                                                                5                                            CD           ‘CI     C)
                     Cl             M         ‘Ci                  CD     0)        it                  CD                                                                 CD     i
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E      0                    0)      Cl                             5      i                  Cf         U)                   CD         0
CD     M             tJ             CD
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              tO     0              ‘1                             I—.
                                                                                                                                                                                  Cl
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       ‘CI    CX)                             CD                   0      M         CD      Di          Cl      r                       0
                                                                                                                              y                              it           CD     Cl
        ‘1    0)     0              Mi        CD                   ‘<     CD        )-h                 CD      0)           Ci)        Cf
it     4-..          fr     i       0         Ci)                  CD     01        F-li    it          Cl)     it           ft         it
0      0                    Cl      Ii                             CD     U)        CD      CD          it       -                      Cii                  C)
                     5                                             Cl)    0         C)      0)          Y       U)           C)         ‘-                   CD
Cf            f      0      it      I-..      f                                                                                                                           0
                                                                          :3        it                                       0           1                                       it
(C)    it            M              it        0                           Cl)       Cl)                         C)                      CD
              C)            CD                                                                                               M                               it           J      z
       0             CD                                                                     0                   0            ‘-1        Cl                                Di
                            ‘<      ft                                                                                                                                           CD
                                                                   0      Mi        0       Mi                  ‘1           CD                              F-ti         Cl     U)
i      it                           0         0)                          0         F-h                         ‘-           C)         Cu
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C)      r     S      Cl)    1                                                                                                                                -.                  CD
                                              Cl                          ,                                     CD           it                              C)
I—’    CU     CD     Dl     Cl)     Cf                             CD                                                        •s)
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       1     CD                    U)             C-.             CD    0     Ci                0        ft      CD    CD     C)     CU            o        o         Ti)            ;c;    (p
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i-     Cl                                Cl       ft                    •)     C-.              0-.      i       i     •..    U)    CD                      U)        ft     0
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CD     Cl    C-.        ‘ti         I    ft       CD        C)    C-•          i         ‘1     Cl                            C)            ft     0        ‘-1       C--    ft             C-.
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CD                      ‘1               Cl)      C))        -                 rt        S          -    ft      ft           ft            Ci    ‘-s:      (Ci              CD
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                                                                                                                                            I      0        Cl        (C)    U)     0-.
U)     i                ft         1     Cl)     cC)        CD                            —              CD      U)          U.                    Ci                        C--.
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0                       C-.              ft      ft                            i         C-•                     ft           Ii            CD     ‘-C                frt’
-      £1)                         C-    (Ii     CD     ID                     0         rt     )        Cl                   (I)           ‘-C             ,c.       U)
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((C    ‘-C                                                                     Cl        (C)             0       C-.          CD            ft     CD       (C)       ft
I-’    CT)              CT     ft        0       rt     C))                    (C)             ID        C-il    ft           ‘1            3.     II)      ft
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                                                                                                                                                                                                  Doc 22814-29




.      CD               ‘<         CD    rt       i     J                     (0         U)    C)        rt                   Ci                   .‘3      ft        0             C)
       C-               .)               U)      (C)    C-.                    CD         1    -                              Cd)           ft                                      C-.
       <                       ‘t3       1              CT                     ‘-i      (0               (1)     (U                         CD              C--..    ID             C-.
       CD                      C-’       (Ci     ‘1     C-.                    C)        CD    <                 (I)                        ‘-C             U)
                               CC)               0      ft                     Ci       C-C    C)       Cl                                  S                        CT
       0                       tI        -h      Ci     C’)                    U)       0      Ci       (C)      U)           Li                           ft        CD             Ti
       0                       ft        ‘1      ft     •                               Ci                                    C))                          Cl        Ct’
      ‘U                                 0       C-                           C-        U)     Cl       (C)     ft                                         CD        0              I-’
       C-.                     ft        5                                    ft               C-•      (1)     0            IC)           ID                        ‘-C
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                                                 CD                                       I    0-.      Cl      ,             ID           ‘-C             0         CD             CD
       U)          ..          (C)       ft                                   E           I                     C-•           ‘-C                          C—.                      ‘-C
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       C)                                S                                    (I)       0      rt       ft                    Ci           (1              ft                       C-’.
                                                                                                                                                                                                  Filed 08/14/09




       Ml                      N         CC)     Cl                                     Cl                      S             U)           (U              CD        CD             ft
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      ft                       )         ft                                             (C)    j        U)      ft           ft            ID              0)                       -‘3
      T                        0         0        I     0                     i-               0        (0      ID           0              CD             U)        0
      0                        C--.               I                           Cd)       ft     E                                                           CT        C)
      (U                       C-.       ft             .                               C)                      C-.                        o               CD        C-.
      CD                       ft        C-.     ‘-3                          ft        X       I               U)           0             Ci              Cd)       C-’
                               CD        5                                     J        C-.     I               C-’          Ci            (1)             ft
       Cl                                CD      (C)                          (C)       C)                      -            ‘-C                           0
       CD                      0                 ft                           ft                                                                           U)        C))
      ‘U                       l         Cl       -                                     5      0                CT                                                   ft
       0                                 0       U)                                     (Cl    Ci               Ci                         U)                        Ci
      -C                                                                      0         ft                      ft                         o                         Cl
                                                                                                                                                                                                  Page 30 of 52




      ft                                         U)                           Ci        CD                                                                 Cl)
      CO                                                                      ‘-C       ‘1     :i                                          I—I
      .‘3                                        CT                                     C-.    CD               It)                                                  C-.
                               .                 (C)                                    (C)    E                                                           CD
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  J     C\)   t)     ts)       M                            t-             -‘    t-.                               .
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                                                                                            tY’                    0           ti      .0                     .0      r’     C)
                     C:                                                          -      .<           .                                                    -
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        Lu    U)     5         C:    U)     Lu        -     U)      LI     U)    •                  :3             tO    Ci)            (0
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        •            rt       Li.
                                                                                            rt      0        I     ct                          Cv              l-
              Ci)             C:     ci)    Ci)       ft    (1)     0      Cd)              C:      t-t     cC)          CO                    t-t-   ‘<       CD     U)     l-      0
                              U)     I-s.   Lu        0     1-’.    C:                      LI                           I—             i-)
                                                                                                                   Z.                                 0        0      i-     ‘--i
                     Z        ft     ‘1     ‘<                                          ‘<          C)      LU     (U    ‘i                                    it
                     0                                                                                                                                                       CE)
                                     •      (1)   ‘ti               ‘1     •                        •              ‘1    •              CD                            •      Cl
                     )        U)                   Cl)                                                                                                                               ‘1
                                                                    CD                   Ci)        U)      ‘-1    CD                   Cl)           Mi      R                      Cl)
                                                                                                                                                                                             Case 01-01139-AMC




                              Cl)                 IC)               C)                   ri-        CD      CD                          (U            I-.      0             ft      C)
                                            rt     CD               CD                              Ci)    d
 f-f                 0        Cl                                                                                                                               C:                    CD
                                            0                       F-                   t-         U)      0      0                    Cv            (I       II
 Cl)                                                                                                                                                                        CD       i..
                                            X         it                                 0          CD      ‘1     C:
                                            f-.        3.           CD                                      ft     i-                   CD                     i))
                     CI                                                                                                                               i-.                   C)       Cl)
                              0             C)        ‘1                                 0          C)             LI                                 rt       i-fr
                     C))                    ..        (U                                                                                                                    0
                              C:                                    C))                  s—i        0       ‘--t                        r-t-          -        ft
                                            ft        (1)                                                                                                                            C)
                                                                                                            ‘1     (T                   (Ii                    CD           ‘tI      0
                    to                                              C)                   i-fr       it      0      CD                   CY’           U)       i             Lu
                     CD        1                   0                0                    CD         t                                                 5i.
                                                                                                                                                                                    t
                                                                                                                                                                                    ci-i.j
 (0                                                                                                                                                            i-fr
                    ‘1        CD            •J     Mi              ‘TI                              0              C)                  ‘—i
 ft                 0                                                                                                                                                       <        CD
                                                                   ‘-<                  0           i—i     i-fr     I                 Cl)                     0            •)       U)
                    C:                             ft                                   i—h
                                                                                                                                                                                             Doc 22814-29




                                                                                                            b      (0                  ft
 o                  (1)       i-fr                                  0                               C)      CD
 Mi                                                                                                                .                   CD                                            0
                                                   Lu               Mi                              0                                  LI                      ft                    Mi
                              Lu                   i-fr                                 s-•         :3      X
 Cl)                ft        ft
                                                                                                                                                               C)
                                                                    ft                  0           C)      0                          0                                             ft
                                                   ‘1                                               CD      )
                    t         Lu                   CD               l-.                             i      rt                                                 —‘                    o
                    CU        CO                                    CO                  -                  Ci)                         ft
                    Ci)                                                                                                                                       Cl)                   CO
                              CJ                   0                                               .-i.                                                       i-•
I—f                           CD                                                                                                                                                    (C)
                                                                    ‘1                  X          ‘       Lu
                              (0                  it                CD                  0          to
0-i                                                                                                                                                           ft                    II
                    ‘1        -t                  •                ‘t3                  :3                 Cn                          U)
                    )-i.      0                                                                                                                               I-•                   (I)
                                                                    0                   ft         Cd      ft                          5.                                           TJ
                    to       (0
                                                                                                                                                                                             Filed 08/14/09




o                                                                                       Cv                 Cl)                         LI                     I-h                   0
                                                                   i-fr                  1                 ft                          CD
                    ft       )                    :1               ...)                            s-.
                                                                                        Cl)                CD                          .                      U)                    i-fr
CD                  “.‘      Lu                   LI
                             U)                                                                                                                                                     Ci)
i-fr
                                                                                        0          Cl      Ui                                                 Ci)
                                                  LI                                               C:      0                          I—I
                             i-fr                 0                                                                                                           X
CD                                                                                                 U)      CV                                                                       (0
                             C)                                                                    ft      I-                                                                       Mi
Ci)                                                                                     C:         ‘-      Cl                          0                      Cr                    0
                             1-’.                 0                                                i-.
LI                                                                                     to                                             ‘Ti                     I—”
                              C)                  C:                                    C:         Cl)     C)                          CD
S                                                                                                                                                             ft                    (U
                             -                                                          Cd)        s--i    s-
                                                  U)                                    it                                                                    C)
Ci)
                                                                                                                                                                                             Page 31 of 52




                                                  CE)                                                                                                                               E
U)                                                                                                                                    0
                             0                    CD                                   0)                  CC)                                                cC)
I_-i.                        C:                                                                            a)                                                 •
0                                                 Ci)                                  Cl)                 I-                         C)
                                                                                       :3                  ft                         Ci)
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 C’.)     J       C’.)     C’.)    C’)    N)         F-’       ‘                     i—’       i—’   -       ,—       ,-        i—.
 (ii              C.)      C’)      -     C)         (0        CD    .—i      0)     CD              C.)     C’)                C)          CD     CD      —.l   (71    CD              C.)       C’)


 ft               r        ii.                 s                             ft     tI               ft     -•        CL         -.
                                                                                                                                            5      i—.           j
 CT       i       CD       CD      (      0           -.    0        CD      T       u                Y     Cl)       i         i        p.                      CU                                     I-i)
 CD               S        C)      C)     CL        (C)              0       0       rt                               C))       C)       ft        rt            ‘1
          rt      C)       Ci      I      )))               S        ‘       (I)                     Cl)
                                                                                     CT                     Di        ft                 CD        CD            Dl
 I-       CT      CD       Cl)     CD     Cl)        P1     Dl               CD      0                                                   II
 3        CD               C)      Dl                ft     ft       0                                      C-h       .         CL       .         Dl                                                   U)
 C)                        U)      CD     Di         -.     l-.      it.     0   0             CD    I—i    Di          1       CD       U)        ft     it     U)     Cl)
          (3      it       CD      CD     :3         0      0                Mi’CD             >     Di     C)                  P.       )—        $i      -
 (C)      CU                       U)     P.                         it              l--       it     )     it       ft                            ‘1     CD     CT                                     ft
 CU       U)      i-                                                 CT      CD      C)              rt     0        CT         0        l-•       Cl)           (I)    X
 CD       CD      U)       I              i          0      0        CD              C))   ‘ti              ‘1       CD         1        (fl              ft
 CD       Cl)                      ft     0          ‘1     C-h              l-      —      UI                                  C--.                             ft                                     it.
 CL               CD       ‘—      CT                                U)                     ‘1                       CL                     i
                                                                                                                            <                      i      ft     0                •     (‘I
         0                 C       CD     I-b        ft     Dl       S       C)      C)     U)                                           0        Cl      C-            tEl                             C))
         C-b     C)        l              0          ‘1              CD      0       CT    (C)                       Cl)        Di       rt               C))    ft     (‘1       t     0     C)
                                                                                                                                                                                                               Case 01-01139-AMC




 0              CL)       (C)      ‘      i          Di     0.               Cl)     Dl     ‘1              ft       ft         (I)               C)                                                    (13
                                                                                                                                                          Cl     CT               Cl)   0     Cl
 ‘1      CD      CD                CD     5          ri    i-..      i.-     I-’.    I      CU              CT                           CD                                                   ,
                                                                                                                                                  U)             CD                     C)              >3
         CD      C))       C)      CL     U)         U)    I-h               CD            ‘(1              CD       i-’•   U)           CD       it                    Cl)       I-I    )l       ]3
         C)      ft       Di              ft       L(5                                                                                  Fj
                                                                                                                                                                                                        CT
                                                           I-h       Di              CD                                                           CD      i-3    LJ               Cl)
         0       CD      tl        ()     I-.              i         I-..
                                                                                                                                                                                        ‘3
                                                    0                                C))                    C)                  1        CD       (1)     0      C3                                     CT
 C-      I       CL       Cii      ft     0         ‘1     Cl)       I-                                     0        ft                                          1
                                                                                                                                         C)               >3
 ft      0.               C)       1•     S         ft     CD                       ‘31                               f     I-’.         C-..     it      I-i.
 T       Di      ft
                                                                                                                                                                 <     C)                               it
                                   C)               Ci)              Cl)     CT      ‘1                     Cl)      (I)    U)           Di       CT      C)           1      ]         Cl)
         C       3        ft        1     (3        ft     I-h       CD      Cl)     0         >                            fi)          I-’      Cl)     F            CL     CT        CD    Z         C)
 ft     ‘<       Di       <              C-b        I-’.             C)              CL        C)           P.       Dl     1            I-.      ft      ft           CD     Ci)             C)
 CT              ft               I-.•              0      CT                Ci)     ç         ()           CD       i-..   C)         <                               C       1        i
 CD      Di                         1    -1ti              C(                                                                                                                                           (1)
                                                    Z                ol)     CD      0         0            ‘(       CC     CD                                                73        CD    0
         U)      CD       S               i-..             0                 CT      CD        ‘(           U)                           ft       (V                                    C)    CT
                                                                                                                                                                                                               Doc 22814-29




 CT      CT       3       0       I—’    CT         0      Cl)      i-’      CD      Cl        CL           ft              C).          0                                                    U.
 CD                                                                                                                                                                    ft     ‘<        CD
         Cl)     i-’      ‘-(            ‘-C        i-ti   (-        3       Cl)                            I-’•     C))    Ci
 Ci)     U)                                                                                                                              >3       S                    0      0               C))
                 Di       CD       1     0                 Cl)               ft      CT      1              0               Cl)         C-i.      C-i.    i--4         >3     Ci              C)
 Ct      ft      ‘                (C)    (3                                                                                                                                             <
                                                    ft     •        ft       0      ‘<     (C)              1        0      ft          C)        C)      ft           l-               CD    ft
ft       0      CC)       CL             CD                         CT       CD                                      C-ti               -
         U)      CD       )-
                                                                                                                                                  (3                   0                Cl
                                  U)                CD              CD              Di     it              0                                      I-’     U)           C-     <               0
Ct       ‘-      CL       C-h     ‘1     3                 I-3               I-h    U)     0               ‘-h      C)                  Di        C-      ft           rt-
CD       U)               I-h     CD                                                                                                                                          0
                                         0          CL     CT                       CT                              0       Z           3         ft      CU                  Ci              -
U)               CT       C--fl   U)     0.         (3     CD        (3     CT      CD     d               Ct        1      0           $1        CD      ft                  Ct
Ci       S       CD       C)             Ci         (      Ct         1     CD      U)     Ct              CD       U)                                    CC)
         Ci)     U)       Ci      0                 ft     CD       (C)     Ct      ft     -‘•             Cl       )-.     CD          i-’•     C)       Cl)
it                        C-
                                                                                                                                                                              (13             0
        ‘<       Ct               Di     CD                          CD             0      C               (3       CL      <           it       Ct                           0               Ci
C-’.             ft       ft      (3     (1)       ‘31     C-’              CC)     Cl)    c               C)       CD      CD            -                            0      (1
                                                                                                                                                                                                               Filed 08/14/09




  1     CT       C))     .<       CD                       Cl)                                                                                                                                Ct
                                                    Di              Ci)      Ct            CD              C-’      Ct      ‘1          Cl)      ft                    Ci     0
(C)     CD                        CD                ‘1              i        0      CU     Ct              l        Cit     -                                          I—.    C
                                  U)                ft     1        CL       (3     Ct                              CT                 CD        CD      >3.           CL     •               0
I-ti    ft       0       (1              >3’        C-•    0                ‘CI     CD     Di                       I--     ft          CD
Ct      CT       ft               U      U)         C)                                     (I              0.       CD      CT          (I       CL      ‘1
0       CD       CD      CT                                                                                                                                            .<                     o
                                                    I--.   CL       ft      C))     (I     P.              (3               CD          CD       Ci      CD                                   11
                         Ct              ft                                                                                                                             0
S                P.               CD                CD     (V       i-’•    CT      0                      CD       ft                 Ct        CD      <             Ci
        Ct               C))      CD     CT         U)     -h       5       0       ft     13              ft       0       Ci)        Di        it      1-a.
ft      CD       i-li    Ci)      Ct     CD                )-       (3      Ci             Di                       >3      U)                           Cl)
CT      U)               ft       C-’.
                                                                                                                                                                       Ct
                 Ct                                ft      (I       1—-’    ft      i-     ft              1        I--’-   CT          i--’     I-ti                  CD
I-      Ci       CD      CT       0      I-b       0       C-”      Di              I-..   C)              CD       C)      CD         ‘-<3      Ct                    (U
CD      I-’     ,31      I—’.     (3     I-’•              ft       ft      ft      %‘     CT              Cl)              Cl)                  (3      0             CL
        it       (3       (1      CD     CT        -‘      CD       (Ci     CT             -               Cl)      ft
                                                                                                                                                                                                               Page 32 of 52




                                                                                    CD                                      ft                   5       h
                 CD      (C)             Ct        ‘<3                      CD                                              0                                          it
        C)                                                                                                         ‘-<3
                 (I                      0         5                ft                     ft              I-..             C))                  ft
        C-h      ft                      U)        CC)
                                                                    CT                     CT                      Ci)                           CT      CT            0
                                         I-”       CT               (P                     CD                      :3                            I—’     CC)           (0
                ‘<3                      CD                                                                        CL                            (I)                   CD
               1..          1




       M             to    to   to        ra   pa        pa   pa       pa    pa    pa    pa    pa   pa   pa
 c     •                   to   a-’       0    to        •    ‘.a      as    ci.   s     to    to   pa   0    to   m        cii    (P     .P    to       to    pa


 a    C              ‘     is   o                                      ‘4          .
a                          a                                                o•           a    o     .    C    .    C        is     0     ‘0    0     it        0
a                          0
                                                                       o                 if                                        is     a          b’        0
                                                                       0                 ‘a                                               it
                                                                                                                            aa
                           0                                                             pa
                                                                                                                                    a                a
‘a                         a                                           Li                0
                                                                                                                            a                                  za
                                                                                                                            ‘a
                                                                                                                                   aCr
 it    I-I           ‘4    if   —.                                                                                                         i         a        ‘a
           -         a                                                 a     Z     Z     ‘4    W    ‘<   ‘4   ‘4   ‘4               a      i   z     a        it
                           a    w                                      a     0     0     a     ‘a   a    o    a    o               ‘
‘4     U             a          ‘4                                                 -     a     a    a    a    a    a                                 a
o                    —     a                                           it                                     -
                                                                                                                                                              a
                                                                                         a                                  it     a      0    -     a
a                          a    z                                      b’   m            .o   ‘4         N         a                                 it       -
                           it         Z        ‘4
                                                                                   a‘a
       o‘a           a‘a   ,.
                                                     X        a4       0     0                 0              a    ‘a       a      a     ‘4    ‘4    a
a                               •                             x        a     ‘a    is          a         a    ‘a   a        it     ‘a     a    0     it
eq                         o          •              •        w        a           •                     Z    is                                     ‘a       a-a
 is   eq             •                                                      eq                Ia              •
                                                                                                                                          a    a
                           a    N     t’       n     t’       a
                                                                                                                   a                                 a        it
                                                                       a                       ‘a
                                                                                                                                                                         Case 01-01139-AMC




                                                                                                         it                        ‘a          a
       it                       Z              0
aa
                                                     N        0        0     Cr    Z           4                   a               tt     0    a     it       it
       a                   it   H              a     Z        C        D     0     0                     a         a               ‘a          ‘a
                                                                                                                                          it         .
Z                          D    (a    H              H        I        0           it
                                                                                               a         it
                                                                                                                                                              a
‘a
                                                                                                                   is   I          a           a
       is                  a          ca       ‘i    ca       .        5d   ‘a                           •J        a    I
.t     a                   is         ••       ••    •.
                                                                                               a                                   a      a
                                                              •.             a     it                              it                     b    ‘4             a
       a                   a                                                Ia     o           a
                           o
                                                                                                                   a    {          rr     a     o    it
       a                        U                                      ‘a    a                 o                                          a     g             a
if                              0     ‘        ‘4    N        Z        0           if                              a               D’     is         is       0
a      a                                a      ‘a    x                      1%     ‘4                                              a      a    is    o        is
•      0                        ‘4    a        it    a        a        a    o                                      o                      it   a
       if                       0              it    0                                                                             a                 0        a
                                                              .t       -4    0      N         0                    is   •          Ia     0    0     (0
       a                        a     a        ‘4    a                      is                is.                                  it          a     ‘
gZ                                    it
                                                                                                                                                                         Doc 22814-29




                                                .    a        ‘4                    0                              a.              z’    a     ‘a
                                                                                                                                                              z0
      o                         a               a             a             o       Z         it                   ‘a                          4     it       is
      it                        a     ca        ‘a   if       a                    ‘                               a                     it
                                a                                                                                                  D           a     D        N
                                                     a        is                   a          a                                    a     D’    a     a
a     it
                                               x•
                                      a              -                      Cr     a          it                                   N     a                    it
is    D                         Cr                            E                    (0                              o               a     it    it
      0                         z•    a                                                                                                                       0
o     a                                              ‘4       a             a      a          is                   it              is          u     0
z     a
                                a                    o        a                               a                    .4              a     it    ‘a    is       ‘a
                                      to             a                                        ‘a                                         b     a
a                                     -              is       it
                                                                                                                                                     if        a
                                a                                           is                o                                    it    a           a        a
      it                        0                                           a                 is
 •    0                               pa                                                                                           0                          ‘a
                                                              ‘a            ‘a                it                                         a     a
 I                              a     to             a        a             0                                                     ‘4     a     ‘a    a-’      it
                                                                                                                                                                         Filed 08/14/09




      a                         a-.   a’                      -                               it                                  o      a.     o
Epa                             a     cii                                                                                                            a
                                                     0             •        it                0                                          a     aj             a
a     a                         a     •              is                                                                                              eq
a-’   a                         ‘a                                          -                                                     is     a     it
                                                     •                                        a                                          Cr    •     •        a.
‘a    a                         o                                           pa                 $
                                                                            to
                                                                                                                                  a      o                    a-.
      it                        a                    I-I
                                                                                              ‘4                                   if    a                    0
                                                                            a’                                                    ‘a           U              0
H     ‘                                              it                     as                0
 -                                                                                                                                 a-’   ‘a    ‘a             a
      ‘a                        a                        -                                    it                                  0
a-    a                                                                                                                                  z     a
                                                     a                      is                                                    ‘4                          it
a-’                             a                                           a                 ‘4                                  a      ‘4    .
                                                     pa                     ‘a                0
a     ‘a                                             to                                                                           a       a    z              is
                                                                            o                 a
                                                                                                                                                                         Page 33 of 52




N                                                    (P                     is
                                                                                                                                  a            a              0
                                                                                              is
                                                                                                                                         ais
‘a    a                                                                                                                                        it             a
                                                     as                     Cr                                                    a                           C
‘a    $                                                                                                                           at     if
      a                                                                                                                           it     ‘a    0
                                                                            a                                                     a            it
                                                                            0                                                     is     a                          ‘4
                                                                                                                                                                    to
    r\)     r3      t\)      t’J     ‘S)     ‘J       i—         i—     —                     ,—         1—                i—.
   Cii      3’      C.)              I-.     0        (C)        CD                C))        Cii             CA)          )-*         Q        (C)   CC)   —C     Ci)     (ii                 CA)         I\)


   CU                        Pi      ci      ci       ty      0                i—.
    1       CD                                                                                CU                                    Mi                            (0      0=          <       CD       ft         G
                    Z        (U                       Di     tI                4              0=
  Cl       ‘15                                                                                                                      CD                             CD     (I)                 X            J       CU
                    rt       C)      C,)     (C)      U)      CD       CU      -              0                                     CC)
            (U                                                                                                             0=                                      i      1)       0=                  CC)         ‘1
                    -=•      0               ft       Cl)
  o                                                                                                                                 Cl                             CD     0        M          CU                   ft
                                                      Cl      CU                                                           IL)                                                     (U
  M                                          C)               ft       D       i—f                    I-f           -1    ft
                                                                                                              <                     (C)               ‘<    i-i    (I)    CD       ft         U)       C           0
  (C)               U)       CD              0        0                0       :i             i               Cl)   Cj)   CD                          CD
            0       (         1     I-i
                                                                                                                                  tI                        (C)   ft               CD         ft       (1)         Mi
                                             C        I       0                               .C.     C)      (II                  0         c        U)                  )-       U)
  Mi        Mi      C)       Cl     ft           i                                                                                                                                                     ft
                                                                               (1)                    0       -     rt    0        i         0=             ft     i      0                   ?        i-
  CD                         C))             ft       ft               Cl      (i             Cl      Ii                  Mi        ft       0=             C     (0      CU       CU         Ci)          i       ft
  CD        (I)              rt              U)        3      C)                              i-..    i--     (C)   C))   Mi                 CD             C))
  (I        X       ft
                                                                                                                                    (0                                             I—’        C)       ID
                                            -         CD      Mi       CC                     Mi      (1            ft                                      ft    i-h     Co                           U)
                    i-’     0       i-                                 CD      (U             Mi
            U)                                                                                                ‘1          0         CU                                    Cl       0          CU       U)
 ‘15                        i       I-’      Cl)      C)      ft               i-             CD     LD             ft    ‘                 C)              ft    0
  I-        ft      CD      U)
                                                                                                                                                                                   Ci)        Z                    (I)
                                                      CT       3      ‘11     <               M       0                            CD       0                             (U
                                                                                                                                                                                                                              Case 01-01139-AMC




 ‘15                                         I-’                                                                                                                                   ft         I-                 C))
                                    0=                U)      I-..     0                      CD                    CD    ft                                CD
  CD       i        CU      ()      CD       I-       CD      (0
                                                                                                                                                                                              U)       I         <
                                                                       0                      Z       0                                                           )       Cl      0                              U)
  (C)     (0        10      ‘1               C)       i-f              1       ft             ft      i             CD    Cl)      0        CD              CD    CD              0                    ft
                            CD      i-f      C))      <:    ‘15                T                                    )              ft       C)              3
   Y                                                                                                                      ‘<                                       i      C’)     5
           Cl      ft               CD                DC     I-’      ‘5       CD          Mi         C))
  (U       CD
                                                                                                                                            ft                    ‘<      i-f     ft          Z        (U
                    J      ‘11      C)      C)        ft     CU        0                   i-         1                   C))
  <        Cl      CD       C))                                                                                                    ft       0                             CD
                                    0       0         .      5         I-      Mi          I          Cl                  ‘1       I-•      i                     (C)                         Cl       0.
  CD       Ci               II     (C)      i         0      ft        i-i.    0           Cl                             Ct)     (C)       (C)
           C)     (C)       ft       1      ft
                                                                                                                                                                  0       0       Ci          CD      i-f         CD
                                                      1                C)      i-f         l-.        i-f                                                         (i      0       0
  CC       rt      CD       f-i’    I-’     CD        U)                                                                                                                                      U)
                                                                      ‘<       CD          1          CD                  )        ft       0=                                    Ci                              Mi
  (I)              I        C)      N        5                                CC)         ff)         CU
  CD                                                                                                                      0                 CD                    C)     ft       C,)     (C)                     0
                   CD       Ci      (1)     ft       ‘11     i-3      I-.      0           U)         Cl                  i-f      I
  i                                                                                                                                         rt                    CD     $—.      l-          5       I-s.        I
           0       M        l—      ci               ‘1      T                                       -
                                                                                                                                                                                                                              Doc 22814-29




           ‘1               C))                                                                                           5        0        E                     (C)    1       <
                   CU                                CD      CD                                                                             CD
 U)                l-       11              Di                                                                                     ‘-f                                   Ci                   0=                  0
                                    ft               CC)                      (C)                     CT                  0                 CD
 Ci                                         5        CD               C))                                                                                                CU       0           0
                                                             Mi                            i—4        Ci                  Ci       CU                                    i--=     i-h         CD      CU
 Mi        0=      0       ‘<       C))     Cl       I       0        rt      ‘15          3         ft
 i-b       0                                                                                                              rt       i-f                                            i-h         (0       i
                   <                ft               ft      I—’      rt       0                                                  CD        i
 I-.       ft      CD       C               CU       CD      l—                                                                                                                                       Cl         (C)
                                                                      CD                   i-h       l-’                                    1-
 o                 M       1       ft       (C)      Cl      0        i-f     5            CU        S                            ft        0=                           t-        J       0          3          C’)
                   Di      0        Y      (1                E        (i)     rt           C)                                     3         i-f
 CD        I-i.   i-       C))                                                                                                                                           0        CD       ft         CD         M
                                   CD      (U        CU      i-a.             U)           ft        C,)                          CD        Di
                           P.              U)                                                                                                                            C’)                          (U         CD
                                                     5      1         0                   -                                      ‘<        ft                            (1       1        i-h
 ft                                Mi      rt        Cl     (C)       i-ti    CU
                                                                                                                                                                                                      <
 i-.                                                                                                 ‘<                                    I-’.                          CC)     CU       Ci         ‘<          (C)
          ft               CU      0       0                                  i-f         ft                                      l-        5                            Cl      Mi       1                      (1)
                  IL)       5              (C)
                                                                                                                                                                                                                              Filed 08/14/09




                                                     0      i-f       ?I      Cl)                    CD                           (U       CC)                                   ft       C)           I
          CD      I-=      C).     l—                5      CD        C))                 CD         <
 i-C                                                                                                                             ‘(5                                             CD       ft           I         CD
                                   0       C)               C)        I-.     l-’                    CD                           i-=      (C)
 CD       CD      ft       I                                                                                                                                                     i-f                             i-f
                                   D       0         ft     0          5      I-’         (I)                                     C))      C)
‘15               (1)      0       .       5                                  ).a
                                                                                                                                                                                 Cl)      0           C)         C))
                                                                      ft                  (i         rt                           C)       i-f
 C))      tT       5       i        i      ft        CD               CD                                                                                                                  :i          :i         i-.
                                                                              Ci                                                  (I)      CD                                                         Cl
          I’)     Cu               (0      Cl)              CD         5      C))                                                          CT)
‘1        Ci               (C)                                                                                                    Cl                                     Cl                                      ‘-C
                                           J         CT      5        (U      ft          C))        ft                                                                          I-.
CD        (0      C)      ‘C)              cC-       (U     0.                                                                                                           Ci                                      CD
                                                                       1      ‘i          i-f                                              (C)                           (C)     C)       0
Cl        ft      CD       CD                        (C)    Ci)       C)      C))                    CD                                                                                                          CU
                           C)
                                                                                         <                                                                               ft      Y                   ‘-<         U)
                                           0         i-     ft        CD      ft                     II                           CD       )-•
          U)      C))     l-’                        (C)    I—’.                                                                                                                          CD                     0
                                                                              I-.         U)         CD                           5         5                                             •          ft
3         ‘<      5       Mi                                0         CD      <           CU          -                                                                          C))                             U)
                                                                                                                                                                                                                              Page 34 of 52




0         U)      Cl      i-               ft        0      I         5       CD                     U)
          ft                                                                             ‘<                                       ft       ft                                                        CD
                          C)                         Mi     (C)       Cl                  (C)
          CD                               (C)
                                                                                                                                                                                 CD       0
                                                                              0                                                  CD        CD                                             Ci
                                                            CU                Mi         i--i.                                   ‘-<                                                      C’)
                                                                                                                                                                                          rt
                                                            CD                                                                                                                                                           CD
                                                                                                                                                                                                                         0
               IE




 to   Sb)               to        to   to    to   pa    P-    pa    pa   pa   pa       pa    pa    pa   pa
 Cs        ‘            C.)       to   pa    0    40    01    ‘4                                   pa
                                                                    01   05   Si       C.)   to                40     01       0)   0’             C.)     to    Pa


 Si   fl                               N          .     0     Ia   C     ).   C)       U     0     ‘    C)     0     2         0    U     >       C)             a
 •                                                                            0    ‘4                   0      ‘a    pa             a             0
‘0                                     U                      0.                                                                                                V
                                                                              Si   C                    U      a     n              4             0              a
 o                                     Ia              ft     U               Si       Ia               ‘a     a     w              a                            a
 Si                                    Os              U      •               a        a                       a                                  0.             Ia
                                       Ia         ‘4   0      ft   .     ‘4   ‘                    .4   a      a           S        U     Z                CO    P
 •    DI                               ft         (I          Si   a     a    ft   a
                                                                                             t
                                                                                             .     a           a     Ia
                                                                                                        ‘4                 a        0     0           -    0     Ia
      .4                                          to   to     ‘a   a     a    ‘o             a     a    •            a     s-.      a     •       .t             a
                                                  •    .t     a                    a               •           a     a     ,        a                      Ia
 c                                     a                0     5a   a               n
                                       pa                                                    U                 0     0
 a                  ‘3        Z             X           a          a-’   a                                                                pp
                                                                                   u         a          i-i    a     a         i     a                           a
 0.   •                                0               ‘4     U    a               a          -         a      rt    ft        I    ‘0                     Z     a
 a                  N         •        •    •                ‘4    0     Si        ‘4        a                 Si    Si              a    a       a        a    0
 Si   t’                                               Ia    C           •                              ft           Ia             a     o                a    U
      N             C)        0                        a      Ia   Ia                                                               ‘a
                                                                                    a        a          U      a-.   a                    a       a
                                                                                                                                                                           Case 01-01139-AMC




                                                                                                                            Pt                                  a
                                                             a     a                o        a          a            a-.    a       n         -   ‘a       i    a
 o    p-p                                              (4    D     a                         C)         ft    ft
                                                                                    a                                      ‘4       Ia    .t       a       i    a
 o    U)            W                       H          a     a                     a         a-’              a       U    •        a             a
 a                                          to         a
                                                                                                                                                                a
                              ,_                                                             0          0            ‘4                   ft      Ia       ft   a
 o                            .a            ••         U     a     0.              o         a          o     x      so             ‘S    U       n        U    ft
 a                            ••                       a     ft    a               a         Ia         s     ‘s      Ia   z        a     Ia      Ia       a    Ia
 a    S                                                Si          a
                                                              C                              a                •      a     o        n     a       a             o
 Ut   o             <                       z          ‘4     a                                         a            a     z        o    it               ‘a    a
 Si   0             a         z             0                ‘4    Ia              a                    a            a                            ‘s      a-’   a
      i-.           n         0             44         pa          a               0         ft         ft    •            ft            ft       a       Oa
 an                                                    to
      a             ‘4                      a                 *                    a          E         .4           a     0        a    U        a       a
 Ia                           0                        —     U     ft              a          o
 o    LC                      0’            ft               Ia
                                                                                                              >       a                  a        o       a     ‘aa
                                                                   U
                                                                                                                                                                           Doc 22814-29




                                                                                   Os                         •      so                  ft
                                                                                                                           ‘sa      aa
 a    o             a         i.            U          pa    a     Ia                                                ‘a
•                   ‘a                                                             a          a                                     a        —
                              •             a          50          a
*
                                                             0’                    Si         0               w      a     ft            a        a       a     a
                    I-.       0                        Cs                                    ‘a                      a              Ia
  S   so            •         ft                                                   ‘a
                                                                                                                           0                      a       a     Si
                                            a          o     p.                              Ia               a      a              0    Ut       a
      o                       Ia            a          •     a                     as        a                Pt     ‘S    N        a    Si       a       Ia    fl
 Ia                           0             U                      6’                        0                a            ic       a
      ft                                                                                                                                 C        rr      a     a
 a                  w         a             Ia               a     ‘a              a                          *      Ii    U        •    a        Ia
      o             a         •             a          H     a     a’              a         0                       o     Ia            •        0       a     a’
ft                                          a          a     ft    Ia              a         a                a      ‘s    a’                     a       c     a
U     V             Si        ‘4            Ia               a     ft                                         a            Ia                     a       o
a     a             a         o             0          ft                          ‘a
                                                             a                               ft               a      ft    ft            H        •       U
Si    C             a         U             a          U     •     0               ‘4        U                a      U
a     a             a         ‘s                                                                                                                                U
                                                                                                                                                                           Filed 08/14/09




                                                       a                                     a                so     a     0             ft               0’    a
                    Ia                      0          fl    1-4   pa              ‘a                         a             I
      o                                                                                                                                  U        s-s     a
a                   <         Dl            ‘t                     0               40        Ia               ‘1     0     ‘a            Ia       a       a     Ia
      a             a         o                        a     so                    cs        a                       Ia    0             a
‘a    a             a         a             ‘a         0     c     Ia              m         a                o      4     •             N        ft      a     Ia
a                   •         o             a-’        Si    a     a               •         U                       ‘a                           U       U     a
 Si   o                       ‘s            a          ‘i    a                               a
 a                                                                                                                   a                   ft       a       a     a
                              •             Ia         a     a     ft                                                Ia    fr3
                                                                                                              N                          U        ft      V
so                                          a          0           U               H         Si               o      a                   a
 Si   ft                                    ft         ft    n                               Ia
                                                                                                                           U                              a
                                                                   a               a                          a            a             .4       ft
a     U                                     Ia         ‘4    U     ft                        a                0
V     a
                                                                                                                                                  Si
                                                             a                     ft        ha               I-’    0     Pt            0                ft
U     ft                                    Pt                                                                                                    U
                                                                                   U                          ‘a           ‘a            0        a       U
                                                                                                                                                                           Page 35 of 52




                                                             a                     a                          ft           Si
o                                           a                a                     ft
                                                                                                                                         0                a
                                                                                                              a            a             ‘a               .4
‘S                                                           ft                                                            ft            a
                                                             a
                                                                                                                                                                      0)
                                                                                                                                                                      pa
LI?           L           t                            L..




  (4)   1b3       P.)     10   P.)   (43   ,.a    pa          pa   pa   pa    pa   pa   pa    pa   pa
  Cs    S         C,)     10   ‘a    0     ID     W          ‘4    0    (5    5    (a   )     pa   0    10   0    0    Cl    S    (a    P3   pa



  o     o             i   a    a     p’a         a           in    ‘q’a       a    a    a     a    a    a    z    ‘    .0    “    .0    ‘    a
  it                  I   ‘a   P     a P’        D’          a     p’ a       a    0    0     a    0    0    a                               U
                          ‘a   a     n.a         0           P     a  n       a     B   U     U    P    P    Ii                              a’
  a               a       a                a     U           a        a       a    ‘a   P    ‘a    a    a    a                               a
  a               a       a    a     a           pa                4  a       n    i    a     ‘a   a    a                                    a
  a’    ca                     ‘     ‘     a     p.          a     a  P       a    a    ‘a    a    P    P    a                    ‘-I        a
  a                                                                           ‘a
                                                                                                                       Z     ‘4         ‘4
        o         a       a    o     a     a                 ‘a    ‘a a            a    p     a    a    a    e    ‘    0     a    a     a    a
  a               a       p    a     n     a     a’          ‘a    c          p               •    ‘i   ‘s   .i        U     a          a    ‘a
  a     a         a’      a    a     a     U     a           ‘4    a    *     a    a               a    a    ‘a   ‘1   ‘a         a     •    0
  o     z’        a       a          a     a                       a    ‘a    a    0    a          a    a    p    a    a          b’         P
  a     a         a            ‘a    a     ‘a    p           o          ri         ‘a   p     w    ‘a   ‘a                   a    a
        ‘4        a       a    a     a     ‘a    a           p     it   ‘     a    ‘a   a     P’   0    0         ‘a   i.4   ‘a   ii         ri
  ‘a              o       o    ‘t    ‘s    ‘4    a                 o          o    a          a    p    p    a    a    a     ‘i   a          p
  p     it        a       e    a     ‘a          a           a     0    0          a    a               a    b    S    U     •               a
        0                 ‘a   ‘a    a     ‘a    a           P’    p    p     a’   a    a     a    o         a                    a          a
                                                                                                                                                      Case 01-01139-AMC




  a     e         a’      a    a     a     ‘s                a     p.         a    a    a’    0    it   5         a    n          p
  P.    p                      ‘a    ‘a    a     a                      a          a    a     P         a    ‘a   it   a          ‘4
  a     a         a       p    a     a     a     p’          a     ‘.   4     ‘a   •    a     a    a    ‘t   ‘s        a                     a
                          o    a     a     a     a           C     P    a     p         a     a    a    a    a    a    a           U         ‘4
  a     a         z       a                      a           a          n               0     P    a’        C    a                a         a
  ‘a    a         a            a     0     a                  ‘1   a    a     a    ‘4   a     a    a              a    a           P
        P         n       a’   P.    it          a            a    P.   in         P.          s   a    a    o    ‘a   P.         a
  a’    a         a       a    a           ‘a    p           so    a    a     a    a    ‘a    a    a    ‘a   g    a    a          ‘a         a
  o     a                      a     a     p     ‘a          a                a         a     a    o    ‘a   a         ri         0          0
  ‘1    p         a       o          a           a                 a    a’    p    ‘a   n     ‘a   a    ‘a        0               P          P
  P     a         4       a’   a     a’    a                 a     a    a     a    a    a     a              a    p    a                     a
  a     ‘i        a       a    n     a           a           o     a’   ‘a    a    ‘s   ‘a    p    ‘a   a    a    a    a          a          a
                  ‘a      a    a     a                                        p
                                                                                                                                                      Doc 22814-29




        a                                  a     a                 a               a    a          a    ‘a                        it         p
  a     a         0       ‘s         a           p           a     a    in    a    a    ‘a   o     n    so   a    ‘a   a                     a
  U     ‘a        a       C    a     0     a     a           a     a               P    a    it    a    P    ‘4   P    P.         a          ‘1
  a     o         a       a    o     a     ‘a    a           P     o    a     a    a    a          ‘a   pa        a    a          a          a
  a     p         a       p.                     p           a     a    ‘a    a    a         a     a    it   ‘a   WI              a’         Ut
  -     a         a            a     *     -     a           n          ‘a    ‘a   in   a    a     ‘a   ‘a   z    a               a          ‘a
                               U     a           ‘i          a     ‘a   ‘s    o    a    o    a’    a    a         a    c          a          a
        o         a       a    a     i     a     a           a     a    o     p         p    a     a    a    >    a    ‘s         a          P
        it        a       ‘s   ‘a    a     ‘a    a           ‘a    is              o    a    a          p     o   a    ‘4         0          a
  a                       a    ‘a          P     ‘a          o     a    ‘a    o    it   a    a     it   a    so   a    -          a
        it        0                  a     a     o           p     ‘a   U     it        ‘a   0     0         0
  a     ‘s        4       p    a     p’    a     p                 a    a          a    p    a     g    ‘a   a    a    ‘a         ‘a         a
  P.    o         a       o    P.    a                       a     ‘a   a     it   ‘a   a          P    P    a    P’   ‘a         P          P.
  a
                                                                                                                                                      Filed 08/14/09




        a         ‘s      a    a           a     a           it    a    a     ‘s   ‘s   a    *     a.             a    a                     a
  ‘4              a            ri    0     P.    a                 a    ‘a    0    a’                   C         a    a          a          is
        pa        ‘a      a          p     a                 ia                    0               ‘a   ‘a   ‘a        a
                                                 ‘4                     ‘4    0                                                   P.         a
  a     ,o        ‘a      o    a     ‘a                      .     a               is   p          p    a    w    a    a          a
  a                       c    P.    ‘<‘a         a’               0    Pa    pa   P         a          *    (a   P.   •          a
  ‘a    a         a       p    a           a     a       ‘a        ‘a   ‘.i   ia   a    a    a     a         a    a               ‘4
  a     0                 a          o     ‘s                a     g                    a    a     a    a
                  a       a    is    p     a     ‘a          is         ‘a    a    a    a    ‘a    a    it
  a     w         a       a    o     a     ‘a    a           a          a     o    a    ‘    a     P.
  P.    pa                     a     a     a     a           a          ‘s         a’        a          a    ca
  a               ‘a      a     i          ‘a    a           p     ‘a   a     ca   a    a    a     o    P.   U
  a     ‘a        a       a    ‘a    a     a                 a     a    a     ‘a   a    it   a     it   a    a
        a         4       a’   ‘a    o     a     a           •          p          a         a
                                                                                                                                                      Page 36 of 52




  a     ‘s        a       a    W     U           P.                a’   Ut         0    a          a         a
  P.    a         ‘a      a    a     p     *     a                 a    •          a    p     a’   z’        P.
  a     a         •       a          a                       H     a
                                           P.    p                                      a    ‘4    a         a
  a     p             :   0          a     ‘a                a     a               S
  a     a                 a          p.    a                       p.              a    ‘a
                                           p                                       a    CO                                                        0
                                                                                                                                                  N
p....
                    t•.•.•         .




10      10    P’3   10       10        10   Ia    Ia     Ia   Ia   Ia   Ia   Ia   Ia   Ia    Ia
a       Sb    0     10       Ia        0    (0    W      ‘4   Qi   a    Sb   ca   10   Ia    0    (0    01   4   a   a   o   ca   10    Ia


ft      a     o     )‘       O         .    ‘     to     sO   .    ‘a   S    O    .    a     B                                    :.    C)
b’      a                                                          II   Ia             C)    0    0                                     0
a       u                                   a     a                o    ft             o     Ia   ft                                    a
ft      a                                   to    ft               0’   D’             o     ft   0                                     a
        a                                         Ia               Ia                   B    Ia   0                                     ft
C)      ft          ‘CE                ‘C   ‘a    a      H    .4   a    a    .    ‘C   ‘a    ft   Ia    ‘                         ‘4    a
o       0           a        0         a    ‘i    a      ft   a    B    o    a    a    i-.   a                                    a
‘1      a     a     a        a         a    o     a           •    a    ‘i   a    a    Ia    a    ‘4    a    ja!                  a
ti      Ia.                  I—.       %                                                                                          —
                                            0’  a                       a         -    a     a                                          Ia
•       a     ft             a              I-’                    ft        ft        a’         ft    S                               it
o                                      •    a   a’       a    •    a’   a    a’   a    a     0    s     0                         a
ft      Ia    0              .4        Ia   $14               ‘    a    ‘a   o    Ia   a     it   0     0                         Ia    a
‘4            ft                       ‘1   a                 n    ft   a    a    is                                              is    a
                                       •    .     ft     a                   •    ‘    ft     a         a                         a     (4
        ft    Ia
                                                                                                                                                   Case 01-01139-AMC




                                                  a’                                   o     ‘a   a’                                     ft
                             1                    a      ft        a    it   S                a   ‘5.4                            l      a’
        a     a              0              H                      ‘1   Ia   a         0      0   0  0                            rt;   Ia
        ft    Ia             0              a     a      a         a    o              Ia    Ia   0
              0              ‘V                   a      ft                  a         a     it   to
        a     0                             ft    a                Ia   ft             a     Ia   a’    a                         a     -
        0     ft             a              a’    a      ft             .4   ft        D     0          10
                             ft             a                                a’                   a     is
                                            ft    0      B         ft   Ia   a         a     is   i.    a
        a                    ‘U                   it     a                             ‘a    a    x     a
              ft             Ia             ft                               a               a
        a     b’             a              ,1    0      ft             ft   a         ft    0    0     5
        a     0              Ia             0     i•.’   a’        Ia   a’   B         a’         it    Ia
                                                                                                                                                   Doc 22814-29




        a     ft             a              a     a      0         tO   Ia   a         a                ft                              0•
        ‘a.                  ft             ‘.3   a      ft        a    a                    a    ft    a’                        0     a
        o     ft             Ia                                    01        N         a     a    a’                              0
        0     D’             it                   ‘.3.4                 ‘1   Ia        a     a    Ia    a                         0     Ia
        I-’   a              it                                    n    a    a         a     a    a     a                         I-I
                                                                                                                                    0
              II                                                   a    ‘a   a               ft                                   as
        it    a              a                                     ‘a    0   a               Ia   ‘1    ft
                                                                   o    is             ‘a    0    a     a’                        a’
                                                                   ‘1   ft   o         .i    a    ‘a    a                         a
                                                                   ft        it        0     a    0     ft                              H
                                                                   •                   0’         ‘1                              Ia    a
                                                                        ft   ‘a        I-.   ft   ft    0                         0
                                                                        a’   is        a     a’   -     a                               ft
                                                                                                                                                   Filed 08/14/09




                                                                   ‘-   a    o         a     a                                          a’
                                                                   a         0’              ft   ft    ‘a                              a
        0                                                               a    Ia        a          a’     a                              ft
                                                                   ft        a         ft    b    a     to
                                                                   a’        B               a    .s     a                              ft
        ft    ft                                                   a    a    a         ft    a    a      a                              .5
              Ia                                                   ft                  a’    a                                          a
        a     o                                                         N    ‘a        a     a          ft                              a
        .t                                                         ft   Ia   o               a
              a                                                                                   ais   a’                              ‘0
                                                                             Ia        a          a     is
        a     o                                                              a         Ia    ft         a
        0     it                                                   a    a    ft        Ia    0    a     a
        ft                                                         ‘4        a         Ia
                                                                                                                                                   Page 37 of 52




        a                                                               0    a         -a    a’
                                                                        it                   a
                                                                             0
                                                                             0
        H                                                                    ft
        a                                                                                                                                     01
                                                                                                                                              Co
       M     M    ‘S)   M     CO             *.-    -     -.                                 —

01           C    CO    i—’   0      (0      CO           CO     Ui    J        U)    CO          0                -      Ui        (J         ()


             o                                  x   0            o     c                                                  ‘                    0    0       ‘
o                                                                          I                                       0      to                   0
                                                                                                                   1      01                   ‘1
ft                                                                     0                                                  (0                   ‘1
                                                                       •                                           o                           CD
                                     ,                           i     C)       ‘3                                 1
                                                    E     <                           ‘-<                     <                     Ui    <    0
CU    CD                Y            J      U             CD     0                    Ct)   U)    CD    1     CD   CD      Y        U     CD         i      CD
•            CL         0            CL      I-’    CU    (I)                   CD    U)          (1)   Cl    U)          CU        ft    U)   J     Cl     (I)
                                            ‘<      ft                                      ft                -    0      rt
      CU          4
                  C     E     CU     )                           0              CL                      ‘<
      U)                CU    U)            CO            U)     U                          C’)         0     U)          rt        0                CD
             0          U)           0      0       Cl)   I-..                              ft          U                           U
      CU                      C’)           ft                                  CD                            ‘1   0      CD                         CD
                  •     ft    CL     Z      Z       ft    •      CD             0           ft                •    U      ‘1        .
     (0      CU         J     CL     CU                          0              ft          ‘i                     1      CD        CT)              Di
                                                                                                                                                                       Case 01-01139-AMC




      CD     U)   0     CD    ‘1     Cl)            CD           0                          U           Cl)                         ,
                  CU          CD                                               ‘<           C))                    Ct)    D         CD               CD::
      (I)    C)   ‘f    Di    U)     I-’.   to      Cl                          0                                         CU                         0
                        U     U)     ft     01      C’)                         U                       Dl         (0     U)    ‘C)
      C’)         I     ft    CC)           tO      1-           N                                      0•                          U
                  U)          Cl     CU     •       Cl)          CD                                     0          0      C’)       ft               CU
             0          0            CL                                         C’)                     U                                            Cl
     (0      Di         f     ft     Cl             0            ft             ft                      ft         CC)   ,1)        0
             ‘i               0      ‘1                                         ft                                 CD     U                         (0
      CU                0            CD                          Ci)            CD                      ft         U)     CD                         U
      0      i          Mi    lJ     U)             r+           rt                                                •      U)                        C—.
      ft     U)               CU     (/)                                        ft                      CU                ft        0
      I-..   3          ft    ‘<     CD             CU           CL                                     ft                          ft
                                                                                                                                                                       Doc 22814-29




                                                                                                                                                     0
      rt                J     S      Cl             ft           0              0                       )          Cl)    0         )•
                        CC)   0                                  0                                                        l         0                U)
      0                       i      ft             CL           U                                                 ft     CU        CD              ‘1
                        Cl    CL     0              0            5             ft
      0)                0                           0            CD            0                                   CI)   p—.        CU
      ‘1                0     D                     U                                                              ft    CT)        ft              ft
                        U                           S            rt            (0                                                                   Ci
      Cl)               S                           CD           •3            C—’                                 ft    Cl         C—’             C3
                        CD    Ui                                               CU                                  h)           CD                  CD
     Cl                       I--’                  ft                          -‘                                 U      C)    C))                 ‘1
                        ft    C’)                   •3                                                             CD    (C)    (Cl                 0
     U)                 •J    7                                                ft                                  ‘)     0     ft                  U
     U
                                                                                                                                                                       Filed 08/14/09




                              (C)                                              I-’•                                       0                         C—’
     ‘1                       •                                                Mi                                        CD                         0
     (C)                                                                                                                 C-’•                       (I)
      CD                                                                         -                                       (Cl
     o                                                                         Cl)                                              (0                  Cl)
     0                                                                                                                   0      CD                  -.
                                                                               CII                                       Ct     Cl
     C—..                                                                      >:                                               ‘1
     0                                                                                                                   CU     U                   Cl)
                                                                                                                         CC)    Ct)
                                                                               Cl                                        Cl     ‘1                  ft
     C-..                                                                      C-’•                                      CD     ‘<
     Cl                                                                        ft                                        (Cl                        (1)
                                                                                                                                                                       Page 38 of 52




     Cl                                                                                                                  ft                         ft
     1<                                                                                                                         C-’
                                                                                                                         0
                                                                                                                         C))    -

                                                                                                                         U)
                                                                                                                                                                  Ui
)    ‘J    t’   S)    ‘3     \)     I-   f-                3—i                       I-’
Ui   4     0)   r     i-     0      (0   0)           0)   (31   4.    0)    t’)     I-     0     (0     CO       -)           01
                                                                                                                        0)              0)     C\)    I—’



r’   ,Q     x   0                   z           r    0           C)   0             0      CD     0               0     ‘1             0       >     0
                                                                 0                                                      CD
                                                                                                  ft
                                                                 CD                        0      J                     Ct
                                                z     z    <     Z     U)                  1b     CD     1-1                            U             Ci
CD    1    CD    I    CD     i     0     0                 Cl)   <     0                                 rt       t3    <
U)         U)         U)     l     1                 Cl    (I)   3           CD      0     0                  -   DI    CD     Cl
           -                                                                                                                            Cl            Cl
                      -            ft                                                             i      U)       rt           o
                                               1                             C)      C)    1      ft                    <              <       (31
U)   Z     U)         (31    CD     I    DI    Cl     0    (1)        1-a.   C)      0            CD     CU       Cl               -   0       1—     0
C-   rt    .    (I)   .      (1)   CD    Z                 I-         U)     ?1            CD     l-              0     Cl)    ft              CD
(3   CD    (3   0     (3                 <     CD          (3                                                     CD    0
•    (3    *                 rt    (C)         Cl          •                         1.    ‘rj
                                                                             Dl                          CD       (31   0     (3        Cl)    CD     ‘-
     U)         CD                       0           Cli              CD     l       (3)          C))     i                   (1)       CD            CD
                                                                                                                                                                  Case 01-01139-AMC




     ft                     CD     ft          CD    I                Cl)            U)    0      rt     0)       rt
                                                                             <                                                          Ct)    1      C)
                0           (3                                                       •     <      CD     i-       Z            CD              oD     CD
     rt                     CD           ft    (1                     Cii    Cl      0     CD     ft    <                               Cl)    C)     i-
                                                     Cl)                     I-*’    i     CD    $-•    U)        Cl)         CT               CO     <
     CC)                    CD           CD    rt                            Cl      Cl)   (3)   C)      *                    CD        C)     l-•    C))
                                                     ‘ti              X              Cl          i       U)        (3         (3        0      <
                0                              I-•   —                 I                   1-•   U)                CD                  ‘Cl     CO     Cl)
     Mi         U)          Cl                  (3   0                (3             ft    l            0         ‘Cl         CD               Cl
                CD          CC)          CU     ft   <                i)                         0      Mi         0          >                       C)
     0          “3          l            Cl    ‘<    CD                              CD    i•    I-h               (3         Ci)              Cl)    C)
     (3                     C)                       CD                              rt    tO           ft         ft         C)       CD            ‘Cl
     o                      CD           CC)         U)               U)                   Ui    Cl)    V                     ct       ‘1      C)    ‘<
     (0                                  tJ                           rt             X     (U)    1     CD        rt          1-’              0
                                                                                                                                       ‘<
                                                                                                                                                                  Doc 22814-29




                            0             1                           C               I                           CD                          ‘Cl    0
     Cl)                    Mi           0           CD               Cl             (3          X        I       I—’                  U)     ‘<     Mi
                                         ‘1          ‘1                              CC)                  I                            0
                                                     CT)                            ‘<            (3                                   0       Ci)
                                         DI                           Cl                          Cu    0)                    (1)
                            CD           I-          CD               0             U)           ‘<               (3                           Cl
                                                     X                1             rt                  CT                             03            (3)
                            (3           C)          CD               CD            Ci           Cl)    (3                             Mi      (-I
                            03                                                      Cl           rt     CD        U)          CT       rt            ‘1
                            I—’          CD          •                CD                                CD        i-’                  CD      U)    CD
                                         (0          l                ft            •)           Cl               C))         r-t-     ‘1     Cl)    ‘C)
                            ft           ft          CD                                          ‘      Cl                                            0
                                                     Cl               ft                                                      -
                                                                                                                                                                  Filed 08/14/09




                                                                                                        0         CC)                                 (3
                                         X            )                                          ft     DZ        •‘)         ft       ‘1     C))     ft
                            C)            I                           CD                                                                              “3
                                         ‘1                                                      CD                                            C)
                            Cl)          Cl)                          (3                         rt     0                     0        0)      0
                                                                      (U                                I-h                                   ‘Cl
                                         Cl)
                                         “3                           Ci                         CD     rt                    Cl
                            (C                                        CD                         (3                                    CD
                                                                      U)                         CD     CD
                                                                                                                              CU       (3     CD
                                                                                                 Cl     (3                             CD     (I)
                                                                      0                          0      CD                    CD       C)
                                                                                                                                                                  Page 39 of 52




                                                                      Mi                         i      CC)
                                                                                                 CD     Ci                    CT              U)
                                                                      ft                                C—’                   CD              C-”
                                                                                                 0      ft                    CC)      (1)    (3
                                                                      CD                         Mi     (I)                            Cl
                                                                                                                                                            (31
t\)   r\)    (\)     O      t\)   r\3       i—a              I-                 I-.    l—    I-.
01    4      0)     )             0         (0      0)       0)    01           0)     t)          0        (0   0)    )      (7)   (3)               0)     N)     -.




7;’                .0             0                dO        dO          0            0      r-’                       N)               U’            ;L..
                                                                                                                             0               0               0
      (0     C                                                           frt    Z                                      01
                                                                                0
      H-    U                                                            C))    ti                 CD                  0                                     CD
      Cf                                                                        a.                                     CD                                    U)
      LU    FC)
                                            Z       -<   Z   ‘<                        Z     -<                       U)      —4    Z        -<       Z      Cf     0
CD    rt     )      0       CD    Cf        0       0    0   0                  I      0     CD                  (0   CD      Z     0        0        0      CD     0
(0           0              U)    CD                         (i    (1    0      CD           U)             Cl   U)   (0            -                 -      (0
      H-     Cf                                                    C)           H-                                            U)                             H-    <
                                  Di                LI       LI    I     CD     CD                          H-         0      i     (0       LI       (0     0      0
      c:     CD     1                       i—i     0        0       -   CD                  CO             Cf                      -•       0               U)
      CD            0             U)                               H-    U)     <      CD                   CD                               J        ‘1
      -3     U)                             H-       -        -                        ‘-                             ri-     CD                  -          U)     i
                                  CD        Cf      H-       rt     I           Cf     (1)                  CD        Cf                     H-              -.3    I
             Ft     H-            Fl        s-..                                                                      U)     CD                                     Cl
                                                                                                                                                                              Case 01-01139-AMC




             o      Cf                      I       Fl       ‘1                 (C)                                          i
                                                                                                                      H-                                            CD
             ‘1     0)                      ‘       CD       CD    i-i           Cf    0                    LU               H-                                     ‘1
                    H-            (I)               C)       C)                                             U)         —i.   -               (I                     CO
             CD                         H-          U)       0)    Cl                                                                        CD                     H-
                    H-                  Cf                         0            )      f-•                  0)               CU              Fl                     CD
            (C)     Cf            CD    0)                                      o                           H-        H-     i               U)
             FL     Li)           U)    H-                   ,‘)     -           —.    frh                                                   H-
                                                                                                                      Cf                                           Cl
             o      H-                             C)              H-           Cl     0                              0      .               U)
                        -                    I                                  CD     Fl               CD            U)     3
                    (0                       I     CD              FL                                   U)            CD     H-              Cl
                                  U)                               CD           H-     CD               U)                   CD                                    H-
            o       11)           Z                                0)                  CI               H-            X                      H-                    CD
                                   -               Li)             —            0                                       I    U)              Cf                    FL
                                                                                                                                                                              Doc 22814-29




                                  H-    H-         ‘-<             i—i          t-i    Cf               0             Pj     H-              EU                    U)
            Di      (P                  Cf                                                                            CD                     H-                    H
                    X             I-’   I-         0                            i—.                     (0                   H-
            Cf      C)            H-               FL              FL           $i    H-                              U)                     H-                    H
                    CD            •3                               CD           3     Cf                              -‘     0)              0
             1     tI                              H-              C)          LC     I-•               U)                                                         CD
            Cl      H-                  H-         Cf              Cli                U)                -.                                   Cf
            FL                          Cf         CD              i-           Cl                                    U)     P-ti            CT)
            CD      0                   CD                                            LI                to
            Cl                                     0                            (0    0                               H-     Cf              LI)
                    Li)                 Ili        H-                           CD    C)                0)            Cf     FL              (0                    Cf
            LU     I-                       1      Cf                           Cu    H-                              Cl)    0               Cf                    FL
                                        (0
                                                                                                                                                                              Filed 08/14/09




                                                   CD                           (0    0                 H-            H-     U)              CD                    0
            Cl                          E          FL                           CD    FL                                                     U)                    U)
                                        C))        3                                                                  C)     U)              H-
            H-     Cf                   FL                                      Ft    H-                CD            0                      0                     U)
            Cf     )-                                                           0     Cf                (0            FL                     U)
            I—     (C)                                                          FL    Li)                             FL      I              C-                    H
            FL     Cf                   (0                                            H-                0             CD                     (0                    0
            H-                                                                  H-                                    C)     H
            ‘<     F-                                                           Cf    H-                •             H-     Cf                                    Cf
                   CD                   CD                                      Li)   Cf                              •      CD                                    CD
            ti     <                    (0                                     H-     0)                                     Fl
            CD     CD                   •                                             H-                F-I                  CD                                    0)
            0      L—                                                          (C)                      (0
                                                                                                                                                                              Page 40 of 52




                                                                                FL                                                                                 Ft
            C—a    C)                                                           C)    Cii               H-                   (V                                    0
            CD     Ft                                                           C     (0                Cf                   FL                                    II
            -.                                                                 ‘ti                      Li’                  CD
                                                                                      LU                H
                                                                                                                                                                         03
                                                                                                                                                                         0)
       3       (0        (0    t       (0   I-                                                    ‘-
(31    4       (0        (0    I—i     0    ID       Cfl   )       O        U)           (0       (0              C)      ID    CD             U)      01    4     C,)      (0


       C)                                                                                     ‘TJ          Ft             .0           -‘     Ft      AD                    ‘       AD
                                                                                                                                                                   i-.-     i
                                                           cii                                0)           0)                                                      Cl)      Ft
                              Si                           CD                                 -            rt                          CD     C!)                  CC)      CD
                              Ft                           .3
1<
                                                                                                                                        U)                         CU       M
                              CD                                                              Ft                          H                   1-a.     U)    H     Cl)
(Cl           U)              (1)                                                                                               -<                                          U)
(1)    CD                                                                                     1-..       <                      (Cl    C)     Cl       (           (Cl      Ft       i
                                                                                              1-h        0                      (1)    F-h    (5)      Ft    Cl   -         C-.
                              Ft                                                              F-h
                                                                                                                                                                                     Cl
                                                                                                         $i               fi)   —                            0              Ft
       0      Z                                                                                -
C!)                                                                                                                                           Ft             S     I-’.     t-’     Ft
                              CD      3                                     ‘-    X           U)                          Ft    U)     0
       rt                                                                         13
                                                                                                                                                                  F-h       CU
                                                                                        U)               U)                     1-a.                                        1-.a    C)
                                      4rJ                               N        •      N     N          0       -        Ft                  i-a.     51)
*      Cli    (1                                                                                                                       hS                                           (ft
                              Ft                                                              X          S
       H-                     (U
                                                                                                                          0                   (Cl      )          0        Ml       CD
              N      t-               C)                                C)       C)      C)   D         0        t1                                               rt
                                                                                                                                              Cl      ‘<     D
                                                                                                                                                                                                Case 01-01139-AMC




                     N        7’      0              N                  0        I       0              li       UI       CU           0                     0
       C)     1-4                     C                                                                                                                            J       0        Ml
                              CD                                                        c     o                           (Cl          M               (Cl        —•       F-       ‘-a.
       o      U)     H                EI             H
                                                                                                                                              0)
                                                                                 U)     I     l-.                1-4                                               I       0        1
                     U)       51)     1-3            Cl)                ‘—3             ,—3   Ft                 U)                    (Cl             (Cl
      ((5            ..               .-             .-                 -a                                                                   C)                   (Q       U)       Cl.
                                                                                        a.              H            .                 ‘     0         t
                              C)                                                 --           C)           -              0            Cl)    Ft       Ft         (Cl      C))
      F-ti                    0                                                                                                                                                     i
                                                                                               4                          Si                  CD                  1-’              (C)
      ‘-(     0      1-3      Mi                     H                                  0     -
      o       Si                      CD                                                                                                                          (Cl               U)
                                                                  ‘-3   CT)      Z      0’    0         U)       ciT     rt                   Ft      1-’-        CD       51)
      S       ‘--a   Li)      (Cl     -              CU           Y     0        C)     Li.   .         0        i--a    C)                   ,.      )                    Ii
              (1     D        (I)    l-                           (5)   (Cl             CD        o     ‘i       ,—                           CU                           (Cl     ri
      Ft                             1—’          0               Ft    4—’.     0      0                                (C)                  I—’     i—’         1-
                                                  I-’              -    <        tr     H-             ‘<                                             CD
                                                                                                                          0                                       Cl)      0        (Cl
                                                                                                                                                                                                Doc 22814-29




      (Cl     0      ‘<       11     (0           0              (1)    CD       Li.    I—’            •         H                            Cl)     (3)                  0        Si
              Si     0        (Cl     0          If)                    Cl       CD.    0                                H-                   (I)     CD          Ft       i        ‘1
                     Ii       CU                  4-’•           Ft     •        o      i                       cr
              Ft     -
                                                                                                                         0                   I-f                           U)       ()
                              V      F-ta         N                              Ft     -)                      CD                           I-’.                 CU       ‘-‘-
             Si               -      0            Cl)            CD              i-a.                  0        Ft        4                  C)       )                    (ft
      :ti    M                                                                                                                                                    Ft
                     ‘<                                                          0                     <        Ft        S                  Si       0                    H-       Ft
             I       0                                           II                                    CD       CD
                     Si              (U                                                                                                      U)       Si          H-       (1)      J
                                                  ci             CD                                             ‘1                                    -a          I-f      j        4-a.
      51)    Ft      I-f             0’           0                                                    Ft
      I-f
                                                                                                                                              J       51          Ti       Ft       0
             0                       0                           0                                              5                            CD
      51)            U)              Si                                                                                                                           (Cl
                                                                 ‘1                                    CD       0                            Lii     ‘‘           •                (Cl
      0      ‘1      0               Ft          U)              Ft                                                                                                       1-a.
                                                                                                                                             1-’      0                            Z
      (Cl    I—’      )                          (Cl                                                   Ci)      CD                           H-
                                                                                                                                                                                                Filed 08/14/09




             (5)                                                                                                                                      Si                  Ft       i-a
                     0               0)          i--a            0                                     Cl
      Mi     I-’-    I-f                         0               1-h                                   5        Ft                                    Ci)                          CL)
                                     0           I-f                                                   1-.                                   J       (C)                  Li)
      1--’   Ft                      Ft          .                                                     (ft      CD                           Ci)      ‘-I                 U)       (U
      CD     s—’.                                                Si                                    C))
      .3                                                                                                                                     N        (Cl                 Cr’      D
             —l                      (5)                                                               4--’.    CU                           CU
             Mi                                                                                                                                       CD                  (I)      Cl
                                     I-f         ‘-<             ‘<                                    0        51                           ‘-f                          (1)
               -                                 (I)                                                            5                            51                           Ft
             Cl)                     Ft          (0              )                                              )-a.                                 1-.                  Q
                                     CD                          0                                     0        U)                           Ft      H-
             N                                                                                                                                                            U)
                                                                 Ft                                    Mi       U)                           0                             I
             x                                   4--..           ;J_                                            4—.
                                                                                                                                                                                                Page 41 of 52




                                                 Ft                                                             0                            Ft      S                    (Cl
             I-..
                                                                                                                                             D’      CD                   1—’
             0’                                  4--..
                                                                                                                                             (5)                          Ci)
             i-a.                                Cl)                                                            0
             Ft
                                                                                                                                                                          Ft
                                                 •                                                              1-h                                                       CT)
                                                                                                                                                                          51
                                                                                                                                                                                           -J
r                   C;
         •i.



    IC         P3        IC   IC    Pa   Pa    ‘a    ‘a    ‘a   I-’     ‘a   ‘a   ‘a       ‘a   ‘a   ‘a
               *         ca   r’a   ‘a   0     10    cm    ‘4   0       cm   *    Co       IC   ‘a   0      40   0    ‘4     0)      Cii    *    Co   Pa     ‘a


    ‘S         .0        E    S      b   >     ‘1    ‘a    .0   >0                ft   .0       >    0     .0    LI   D         m.   i-a   .0    >    H     fl
    a                    0    0     .4         a     a                                               it.         0    0              40               LI
    a                    ii   a               ‘a     Is                           a                                   C
    a                    a    ft    ‘a         o     a                                                           a    a
                              a     a          n     e                                               a           ri                  ‘a               a.
               U         •                     ft    ‘.5   0    H       0    ‘4   a     z       ‘4   a      “    ‘a   0•     S       lo     w    i-   0     H
               o              a     a    0           a     w        -   w    a    a     a       a    ‘a     a         a     a        cm     0         ri    ft
               a                               •           a    ‘a      a    a                  LI   ft     a    a    a     ‘a       io     ft   o               -
               LI             ft    LI               a.    ‘4   ‘a      ‘4   -         a        a                           ‘a                   a    ‘4    LI
                              0     ft   SE                •                                                ft   a                   ‘S     ‘a   -‘
               ‘a                   0    a     o      i         a       •    LI   a     ft      LI   ‘a    a.    it   n              a      a    ‘a    0    to
               ft             a.    a    ‘s    o                a            ‘a                 ‘a   a     a     ft   a     H        ‘a          a    fl     0
                              a     ‘4   a     ‘a          H    ‘S           ‘1   a     a       ‘s   o     ft    a    a         -    o     a     c
               ‘a             ft         a’    a     ‘a                      •    a    ft       •    ‘a      -   ‘s   a     a        n     a     a    Z
               o              a      *               a     *    a                 a         -        ‘a    LI         Ia             ft    ‘4         ‘S         :
                                                                                                                                                                         Case 01-01139-AMC




               o              ‘s    a    cm                a    ‘a                     LI            a           *    4     a        -.          Z    ‘a    Pt
               N              N     LI   ft    0     it    a    a                 a                  a.    a     a.   a     a              a     0    ri.   ‘a
                              ‘a         a’    0     a     ft   ‘a                0        I               b     a    a     ft       ‘a    4     ft   ‘a    ‘a
               ‘a                        a                      ‘4                •        I         ‘a    0     ft                  LI    a     •    a     a
               ‘a             a     a          n     ft    ft                                        LI    ft    •    ‘a    LI                        C
               N                    a    ‘4    a           0    ft                     H                   a’                        ft    ft         .4
               a              ‘a    a    ft    a     .t         n                 o                  ft    a                1.5      a’    a                N
                              it         a’   a      a’    to   ‘4                a    a             a’    ‘s         ft    a        a                      a
               o                    0    a           a     a    •                 a    ‘a            a                a’             ft    ‘4
               o              a     it        ft           ft                           0            ft    Is         a     ft              0               N
               N                         0    a’     4                            ‘4   ‘a                  a                a’       a      U               a
               ‘a             ‘4    ft   a    a      a     o                      o    a             a     ‘a         a     a        o                      a
               o                    a’   a    ft                                  U    C             0      0         0     ft       Is    ‘S
                                                                                                                                                                         Doc 22814-29




               a              0     a                ‘4    ‘a                          ‘a            ‘5     ‘i                       is    a                ‘a
               a              it         0    ft           0                      LI   N             ‘.5   ft               H        a     a
               a.                   N    ft   0      it    0                      ft   a             a                a              a     a
               ft             ft    0    a’          U.                           ‘S                 0     it               ‘5       ft    ‘a               ft
               (3             a’         a    ft     ‘S                           U    it            ft    ‘s               a               4
                              a     o         a’     LI                           a    o             .g    o          •     a              a                a
               o               s    ‘a   ‘a   a      ri                           q    ‘s                  a                a              a
               ‘S                   ‘a   (0                                       ‘a                                        ‘a                               U
                               I    ft   0)   (-a.   LI    ft                     a    ft                  ft         1-4   4              0                ‘a
               I               I    a    ma   U      a     a’                          a’                  a’               a                               ‘a
               I                         a    ‘S           a                      E    a                   a          S     a              a                a
                              H     U         ‘4     ft                           ‘a                                  0                    0                ‘S
               H                    ‘a   a    •      a                            ft   0                                    a
                                                                                                                                                                         Filed 08/14/09




                                                           <                                               5                               ‘a
               ft             a     ‘a               a     a                      a’   0                   0          ‘a                   ‘4               ‘a
                              a     ‘a               a     is                                              a          p.    a                               a
               ‘a                        ‘a          a.    ‘4                     3                        ft               0              0                it
               LI              -    a    a                                        a                        a          a’    ‘a             it               ft
                              ft    ft   a.          0     it                          ft                  a          0     ‘4
               a                                     it    ‘a                     ft   a’                  0          4                                     a.
               ‘a             Is    ‘    LI                ‘5                     o    a                                    •              a’               a
               it             a     ‘a   ft          ft    LI                          ‘S                  U                               ‘a
               it             a     a’   ‘s          a’    ft                     ‘s   a                   a                H              a                a
               ‘a             a     a’   ‘a          ‘a                           a    •                   ‘a               ft
               o                         a           a                            a                        a                               ‘                o
               a              ft    -    ‘a                                       a                        ‘S                              ‘a               0
                                                                                                                                                                         Page 42 of 52




               ‘a             a’                                                       ‘4                  ft               0              ‘S               ‘S
               ft             a                                                   ft   a’                  N                U              ‘a               a
                              ft                                                  a’   a                   a                ‘a             ‘a               a
               ft                                                                 ‘a   ft                  a                a                               n
               o                                                                  LI       -               ft
                                                                                  -J   LI                                                                            0
                                                                                                                                                                     0
)‘.)   )     J     M      t’.)    t\)                                                      i.     )
(ii    ,P.   ()    t\)    )—      0     U)      (0       3       0)        (.31    4,.     C.)    I’.)     l—      0      (0             -i    0)     0)           C.)     r’3




       >     .0    r’     .0            ft              Q        rj
                                                                 t         Cl      CD                      CD     (3      CD             .0    ;i:’   .0    ‘-3    C)
                                        :‘       ‘               CD        i        1     C)      U)       Ci      )-.    i                                 :3’    0
                                        CD      CD               *1        tI      Q              0)       0’      CC)    0’                                CD
                                                                 )-li                      CC)             Cl)      3     U)                                       ft
                                        C)       0               0          I       1     CO               ft                                               C-’    C-.’
       c_)   el    z              <     3        0       Z                 CC      CD      CD              CC)            CC)            G)    tEl    )3    Cli
       o     o     0      Cl)     CD    -•       l       0                         CD     t       Cl)       j                            o     X       J    CD     Ci
                                  C!)   CD      t3       E       Cl)       ft      F              Cl)      ft      0      ft     :3.           C)     Cl)   ft     CD
       o     i                                   U)                        3’              0               l-      tI            CD      r)    Ci     ft           11
       :3    0     U)     CD                                     0         CD      0       frh             Di             CC)            r     CD
             Ci    C-j.           CD    CD      <        tI      CD                               Cl)      )-      D      C—’    C--’    Cl)   CD                  ft      C-..
:i:    a                  (J)     •      i      -        .                 CD              ft     Cl                             0)      Cl)           I           0       ‘-I’
tx                 •      ft      tj    CC)                      0         rt      ft       J     CD       tI             .0     CO      0.’   ?t                                  C—..
       o     :i           C-.’.   •     )-‘              si      t-t       Ci      l’      CD              CD      C)     Ci     ft      •     CD                  0’      Cli    )-t
o      c     o            C—.                            -                 Cl      CD             CC)      Cl      3      Di                                       CD      :3
                                                                                                                                                                                                Case 01-01139-AMC




o            E            I—.’          CD      ‘1       Di      ft        <               C)     t-t      Ci                    CD                                       <        (Ii
c      C)                               CD      •                      ‘          ‘ti      0      ft       C)      tI     ft     ft      Q                         Cl)            :3
13     CD    E            Cl)                            Cl)     CT)       U)      )—‘            CT)      rt      CD     C-     Ci      0                                o       ‘<
       ‘1    :‘           I—’                                                      CU     ‘ti     1        C-’-    C)     ft     Cl                                ft     C-h
       •     Dl           i-’.                  Ci               ‘—‘-      Cl      3       C’)             0       0      C-’            Cl)                                      0
             rt           <                     c-i.     0        1                ft             Di       i              CD                                       ‘-C    ft      1-)
                          CD                    C’)      Ci      <          CD     •                       •              U)     0       CD                        CD
             :3.          --.)          Cl)                  -   Cl)        Ci            •       C)               CD                    Cl)                       Cl)    CD      rt
             CD                         U)      cC)              CO        ‘tI                    0                 1     0              Cl                        rt             :3.
CU                                                       CD      ft        ‘tS            CC)      1       ‘—3     Cl     M                                               C)      CD
                                        :‘                       p.’.      i-..    t       1      hi’.      3      Cl)           (V      0)                        ft     0
                                        CD          I    Dl      (Cl               -      Cl      CD       CD      ft     Cl     C)                                0              C)
                                                         I—’
                                                                                                                                                                                                Doc 22814-29




             CD                                                  CU        CD                     ‘1               1-’.   Ci     CT)     Cl                               ‘tI     0
             Cl                         CD      ft       1       ft        £2.     t)             CD       CD      0      CD                                       ft     o

                                        ft      )‘       CD      1—’-              0          1   Z        ft      Z      rt     cr                                :3-    :i      ‘ti
             0                          U)      CU       Di      0         C-’-    cr             C)       Ci      CD            CD      CD                        CD     CD       0
                                        ft      ft       Cl                 3      CC)            CD       Cl                            LI)                               ‘
                                        C-..     -                         -h      1      lI                                             P.’                              ft      CD
                                        0       U)                         0                                       CD                                              CD     U)      :3
                                         i               (1)               ‘1                     C--’-    0       ‘1     <      I—.     0                         01             ft
                                        CD               Cl)               1       <      L4      ft       )t      Cl)    Dl     (0      :3                        C-’    o       CD
                                        C)-’             I—’-              Cl)     i-i-   •       Z’                             CT)                               ft     C-h
                                                c        l                 ft      j                                      C-’.   co      C-                        :3.
                                        C-.’•                              C-.    C-•                      CC)    CU                     Ft                               ft
                                         1                                 0      0       Ci               ‘—C    0.’     Ci     C-.’.                             0
                                                                                                                                                                                                Filed 08/14/09




                                                    I    Cl)                      3       Li.     •        C)     CD      CD                                              (11
                                        t’               U)                               Di                                     Cl      0
                                        C-’-                                      CC)     E                       0       Di     C-.     Ci                        rt     o

                                        0’               ft                CD     ()      0)               0)     0       tI     C)
                                        0’          I    J’                CD     ft      -                ft     :3      CD     LU                                CD     CD
                                        ‘<               CD                Cl     CD              ri.      :3’    C)      Di     ft      CU                                       ‘-3
                                        ‘)                                 CD     Cl      C)      •               (CC     CD     CD                                CD     CC)     3’
                                                    I                      Cl                              ft     t-             Cl      ft                               ft      Cu
                                                    I    Di                       Cu      ‘-      (0         3’    2      0                                       EtC     F-’.    ft
                                                         :i                       U)      CD      p—’      ‘-C    t—’.    t                                        C-.’   0
                                                3’       Cl)               0              C-h     Di       0        1                                             0        i
                                                CD      (13                ‘-C    (C)                      Ci     (C)     ft                                              CD
                                                         CD                       Ci              CD      (12                                                     CD              ft
                                                                                                                                                                                                Page 43 of 52




                                                Z       ‘-C                ft     C-.’-                           CU      CD                                      CD              C/)
                                                CC)                         3     Cl                                                                              CD
                                                Cl)     0                  CD     CD                       CC)
                                                        Ft                                                                                                                        0’
                                                                                                          :3’                                                                     Ci
                                                                                                                                                                                  ft      cC)
                                                                                                                                                                                          (.0
(‘3    (‘3     (‘3    (‘3     F)      (‘3       i—.     C-             F-       F-       F-              F-     -.      —



(fl    4       C.)    (“3     I-      C)        CD      CC)    ‘3      (3)      03       4..    (,       (‘3    F-.     0                              3)     03            C,)   (‘3     (‘-i




z,    Q           P   U)     £)       F-f        C>            ‘               I-
                                                                       C).             0                 0              C      .0         I            .0     C>    .0            t)     .0
                      it                  -.                           I-’-    0                                        U)
                                                                       (1)     0                                                                                                  0
                      Cl                                               CD      ç                                        ‘CI
                                                                       IC)                                               Q)             :3.                                       I—’
       :r,    CCI     -               0                                                 i-i    3         F-)                                                                      CD
                                                                                                                Z       ‘-              Cu
CD     I      Cu              CD      it        J        3     CD      CD      0                     ‘   3’     0       it      CD      it              3’          C)
                                                                                                                                                CD            0             0             03
CD     l      CD      D                         Co             I-.     -.      ‘1       CD     CD        CD                     )—‘                    CU     -             it    Cl)     -<
              F-’-    C’)    ‘        U)        rt      it     -‘                       CD                              0       F--.    1-4
                                                                                               <         <                                      Cl     it
      ‘<      C)      U)                            -          -       F-”    I         (Cf      -              U)      -l                      i-’.          U)    CU     it
       o      ICC                     ‘-        C))     CD             Cl)     CD                               C--’.                           (I)    Cl     -‘.   (3’    0
               1-’    i-f-   it       CD                       it              0               CD        CD     ‘C      ‘<      C--’-   CC)            F-’-   ‘1    0
                                                                                                                                                CL
               C—’    J’     J’                                3.      it     ‘{3                                       0       Z       VI             Cl           C       S
       o      ‘<      CC)    Cu                 0       C)     C’)      3’     i—’                       CD
                                                                                        ‘-<    C).                                              0                   it     ‘<            C)
       0’     -       it               3’
                             it                 it      C)     ii-     CU      (Cf      0      .         I                              it              3’
                                                                                                                                                                                                      Case 01-01139-AMC




                                                                                                                        C-I     CO                                                       (‘I
       it                         -   IC)               C-’.           it                      CD         -     I-]             3       0              CD
       CU     ‘<      C)     U)       it       CD       I—’    Cl)                             CC.       it             X      ‘<       C--’    F—’                 C-I                  F-f
       I-’-   CC)                              0        C-’    0               3.       0                “3    (TI      C)              Ci      (      Cl                  0             Cl)
       0      U)      S               it       it              Cl      F-”     0         i     CO              U)       C)     (TI              0
       CD     -       0      CC)      3’       C-’-     U)             (C)              I-’    C—              (Cf                      C—’-   (C)                  <      C—’
                                                                                                                        C-     <                       CD
       Cl             f-I    C-’-     CU       ‘1       it         I    0’                     I                        C-’    CD                                   1-.     CD
                      it     f-I      it       CD       Ci         I   it      CD              C)              i-f-     C—’    0                C)     0            I       CC.          (0
       C-             Cl)                      i—-’     C).            -‘3     ‘-4      C—’    (Cf                             it       0’      CO     ‘--t         1--    CC)           0
       o                     c        s                                        CD       0                               1))
                                                                                                               0                        0       0      -‘3          0       CD
                      C-     ‘1       CD                -3                              0      it                       it              it      C)                  0
       F-’            it      —-      CC)      it                              U)       ‘      0’              ‘CI      Ci                                          --‘3
                                                                                                                              ‘<        0’      CD                                       0
       CD                    it                ‘-I                             it       CD     Cu              (I)      Cl     0                C-I
       CX)                   F--      C))
                                                                                                                                                                                                      Doc 22814-29




                                                                               i--..    Cl     it              0               Ci       0
       C’)            (0     C)       -        CD                              C--’                            o
                                                                                                               t         -J             C,)     it                  C-
                      it     F-’.              •                               I—’      CC)    U)              I-’             C)       U)      0                   U)
      Cl                                                                                                                                                                                 0
                      Ci     U)       U)                                                it     it              CD              0’       CD                                               0
      CD              Cl     S        C—.                                      -‘
                                                                                               Ci                              CT)      Cl)     S                   0’
      (I)             ‘<              ‘-I                                      F-’-    to      CL                              C)                                   (I)
      it              -
                                                                                                                                               ‘<
                                               0’                              <        CC)    “<              CT)                                                                       C-”
      0’                                       CD                              i-’.     0                      ‘1              CD               Ci                  (0                   F-f-.
                                               0                              0        to                      CD              Cl               0                   it
      C)                     0’                                               CC)      1—’     ((1                                              CL                  F--                  0’
      CD                     CD                                                        CT)     U)              0               F-’.             Cl)                 1-’                  CD
                             0                 0                              Cl)                              0               0                ‘1                  C--’
      it                                                                                       S               it              it              U)                                        0’
      C-’.
                                                                                                                                                                                                      Filed 08/14/09




                                                                              P.       0’      Cu                              o               it                   Cl)                  CC)
      Ft                     0                 (1)                                     0       Cl                                              (0                   C—’                  Cl
      F--                    Ci                IC)                            CD               CD                              it
                                                                                                               0                               0                    F-’
      C)                                       ‘<                             )-f      0.                      0               0’              CL                                        CC)
      CI)                    Cl                                               i-t,     —                       i---’           CD              F-’-                 CD
      it                     F--
                                                                                                                                                                                         0
                                                                              C--.     CD                      Ci              C/)              0                   -‘3
      CD                     CL                i-.                            -..      Cl                      Cl              CT)             (C)
      CD                                       0                              C)       -                       CD                                                                       C-—’
                             it                0                              it                               Cl              CD              ‘1-,                                      Ci
                                                                              CU                               •               S               f-I                                       0
      ‘1                     CD                1))                            Cl       0                                      to               C)                                       (C)
                                               CL                                      Si                                      C--’            5                                          I
      (C)                                                                      0’                                              0
                                                                                                                                                                                                      Page 44 of 52




       0’                    C)                CC)                            ‘<       Cl                                     .-.i                                                      CD
      i-f-                   C)                it                                      I—,.                                    (C)             0’                                       1-’
                                                                                       Cl                                      IT)             Cu                                       Cu
                             C—’                                              0’                                               CD              it                                       it
                             C-’                                              ..         -                                                                                              CD
                                                                              (I)      i-f-                                                                                             CL       (0
                                                                                                                                                                                                 0
t\)   tO      tO     tO     tO      tO                 )—     -.           t-.    )S

U)    it-s    C.)    tO     i-      0       (0         0)            0)    01     4       C.)    tO       C-     0      (0           0)   —i       a)   a)      4f       ()        t       1-



U)    ft             rt     C))     ft      Di         to                  ft     C       0     ‘ci       ‘ci    0      i-i               .0                    (I)
0      3’            CD                     )          0       J                                 CD       ‘      <          -                           :3’     ft
5     CD             U)    ,Q       C-’•    Cl         0      CD           0      I-..           0        CD     CD     I-.                             o
CD                   ft     C:      (I)                       C-C          U)     ft      U)    ‘C)             f*C                                             1-’
ft    Di                    CD              Di         S      CC)          Cl)    CD      C)    C-’       C-”                                           C))     C-’
 3’   ‘-C     U)            U)      U)      U)                             •      Cl            CD        0             CD        lii     U)
C-.   CD      0             ft      rt                 C-’    ft      3’                  C))             )      0      X         C!)     C::     LII   f-h     LI)      CU        CD      3’
 3    C))    S       z      ‘-‘•    C:      CD         CD     J      C))          (I)            0        U)     0     ‘ci        C)      ‘1      <     f-ti             C—’       C—’     Di
(Q            CD     i      0       Cl      Cl         CO     CD     ft           ft      I-”   -b        1-’          C-         LI)     CD            CD      C—’      C—’       C—’     ft
                     Cl     I      ‘<                        ‘<                   CU                      ‘<    ‘ci     Di        C:      •       f-i   M
0     Ct)     0             :3              ft         0                          ft      CD    ft              CD      C-.       Cl)                   ID      CD
<      1     Mi      C-’    Di      Di            ‘    Mi            CD           CD     •      r         U)     0                CD              CD                     C-f       1-”     CU
                                                                                                                        :3                              Cl
CD    Cl             Mi     C-       1      C                 CD                  U)            CD        ft    ‘CI                                                           -
                                                                                                                                          0       X                                :3      U)
‘1            ft            ‘1      Cl      S                ‘1      Cl           •             GD        Di     C--              ft      o       ‘ci   M                C---’     C)
      0        J’    ft     CD                         C-’   CD      C-                         CD        ft    CD           ‘                    C-’   ‘-      U        C--’      C--’    ft
                                                                                                                                                                                                       Case 01-01139-AMC




N)    ft      CD     J’             Ct)     i-’.       CT            Cl                   3               CD                      C))     Di      LI)   0       ,-..               ç
C)    :‘     U)      Cl)    Ct)     Cl)     t-         CT    i--’                 f—4     Cl    D         Cl    C-’               ft          r   .             Cl       CU        Cl,     CD
0     CD     CD     ‘<                                 <     0       C-.          ft            CD              :i     i-                 CD      :3                     Cl)       (I)
      ‘1                    Cl      CD      ft        -      C)      Cl)                                        0      ft            I    C))     ‘0    I.—’                       Cl      S
‘ci   CO     ‘CI     Cl             Cl       Y               Di                          CT     CD        i     C-’         -             11                    0                          C))
Cl)          CD      C-’    C))             CD               ft     Cci          C))     CD                            C))                •              :3                        C-”    U.
 0    D      0       Cl            ft      ‘<          CD    CD      CD          U)      U)     Cl        CJ’   Cl                ft                    )L4              0         :i      0
‘ci   —      ‘ci    -       0      CT                        Cl      ft                  CD     CD        CD    Cl)    ft         CT                            C---’    Ci               C-i
1-’   ft     I--’           CT     CT)                 C)                         1             CU        -‘    Cl     ‘1         Di                    Cl     0        •          ft
CD    CT     CD      t      CD     5        0          0             Di          0       ‘ci    Cl        C-           c          ft                    I-’.   0                   :3’     ft
      -‘             CD     U)              g.         i             Cl          ft       CD    -         CD                                                   i;’
                                                                                                                C-’    CD                               U)               Cl        Ct)     :3’
0      1             C—’    ft     C-’      I--’       ft    ‘Ci     0.                   0                                       U)                    CD               C--’-     tt     Ci
:3           0       I-’           Mi       Cl         Di     CD     M                                                           ft
                                                                                                                                                                                                       Doc 22814-29




                                                                                 ‘Ci     ‘Ci              CD                                            LII    Mi        P.       -       Ci
      Cs)    Mi             X                          0      0      Cl)         C-C     C-’    CT              ft                Di                    U)     0                          U)
ft    0                       I    ft       CT         ft    ‘CI     U)          C’)     CD     C-.       i     CT     -3        ft                     CD     C-i                 z;     rt
                                                                                                                                                                        ,-<
:-    0      C)             ‘-C    CT       CD         CD    -‘      U)          0              C)              Cl)    T         CD                     ‘*3              0         CD
C-           0       CD     C))    Cl)                 Cl    (1)     CT)         ft                   ‘   CT           CD        S                             ‘Cl       Ci               0
CO    S                    <       ‘<       E                        U)          C-’     CD                     0      (0        CC)                            CD                        I-li
             ‘1                             C-’        ft    ft                  C)      ‘-C    5         :3    0      CD        :i                     U       0        —‘           I
C—’   C-’    U)      C)    CL)     Z        -          CT    CT     0            LII     CD     CD                                                      I—”
                                                                                                          Cl    CT               ft                            ‘         0
C-’   CD     CD      Ci    :i      0        -.         CD    C))    Mi                          Di        ‘1    0      ‘Cl                              Cl     C—’       0         f-i    CT
(0    C/)            ‘-‘   Cl      C:                 5      rt’                         U)     i         CD    ‘-I     (U       C-’                           CD        S’        P-ti   CD
ft                   Cl            C—’      I                                    ft      0      ft        Cl    ft      0        U)                     <
-            C—’           C))     Cl      CC)         CT           CT           0       C))                           ‘Ci                              0      ft        ‘-ti      f-C    C))
             C--”   ‘CI                               ‘<     Cl)    CD                   ft     ft        C))   C—,    C-—’      ‘CI                    C::    :3’      0
L..
                                                                                                                                                                                                       Filed 08/14/09




      i-3    <       C))   ‘Ci     C)       ft               ‘-C    Ci)          Cl)     ft     CT              C-.    CD        Di                            LI)      C-i        S      Ci
C:    CT     (C)    ‘<      Ci     0        0                CT)    CD           X       CD     C))       Cl    U)     -         ‘1                     Cl     rt                  LI)    Cl
U)    CD     0.            ‘-‘     S                  ‘I                         CU             ft              ft               ft                     0               ‘Cl       ‘<      •<
ft    ‘1            ft     S       CD      ‘Ci        C-     C--’   ‘Cl          S       (I)              U)           Di        C-’                           )         CD
      CD     i—”    CT     0                C))       ft     0       CD          C-’     Cl     ft        C-’          :3        Di                     ft     CCC       0         (1)
0             1     CD      i      ‘.       C-i       C-.    0       0            1             CT        X                                             :-     Ci
                                                                                                                       0.        C-—’                                   ‘ti        :.:    ‘i
‘i                  C-”    Di       1       ft         1     Di     ‘Ci          CD      Di     CD        ft     1>              C-—’                   C))    CD                 ‘ii     C-’.
CD    II)    t’     C-i    ‘1      ft      C-”        CC)    ft     C--’                 -‘     fj        ‘<    C))    ft                               ft              CT)        Di     CC)
‘1    C-I    C—”           ‘<      0        C)               CD     CD           Di      C-’    Cl)        I           CT                               ‘5)    Cl)                  1
      Cl)            CD                    ‘-“
                                                                                                                                                                                           CT
              CT                                      C-’    Cl                  ‘-‘                      C-h   C--f   Cl)       ft                            ft       ft        Cl      .-t
p.)           a’     X     ‘-ii    t       ‘CC        CD            Ci)          1-’     0                C—”     -              Ci
                                                                                                Z                      ‘-i                                     C--”     r
0            ‘-<    ‘C’            C-       Di        ft            Ci)                  <      Cl)       <     <      CD        Li                            C—’      Ct)       0
C)                   CD    i       CT      ft         ft     C-’                 0       (1)    Ci        CD    CD               CD                            C---’    ft        z
                                                                                                                                                                                                       Page 45 of 52




“            Di     l      0       Ci’     CD         CD     ft     ft           Mi             CD                               -
                                                                                         Ci
              1     U)     ft      ‘<                 Ci     CT     0                                                  Cl)                                     Di
Di           P      CD     s-’.                       U)     C--”                        ft     C-)                    Ci        CL)                           C--’     CT)       :3-’
I                   U)     0       P-h      1                i                           CT                            CD         1                            C-’      ‘-        C--”
Cl           p-”           )       0                                                     (1)    0                                Cl                            <        CD        C/)
             ;z                                                                                                                                                CD                                (0
                                                                                                                                                                                                 I-.
 r\)    M       I\)     10          10      10            I-             I-     f-*    I—i              )—       I—
 (.1’       C   C       3           I-      0     (C)     CI)   .-       Cl     (3     4:       c)      10       l-        0    ID     0)        .-.i   (T    cu          c.)    çi     i-



dO              it      H           it    dO          X   AD        C’                 f-i.    ())                     AD                    AD                    it
                                                                                                                                                              AD                t)     H
                                                                         .      (C)    D       it                                      C)                                       CD
                Di     (0           CD                                   3                             Di        Cl                    C)                          CD            0     it
                rt      Ci                                               )-     CU     CD     Cl       it        CD                                                             ‘t)     J
                        Cl)         )                                    it     -‘•    (Ti    <                  ‘1                    j—.                                      )_j    .
                Mi      U)          Cl)     t     <             i-<      (ft    l                      it                  C)     -<                    Cli   0          (fl    Cl)
        (P       —i.    (I)                                                                                                                                                            D
                                    i      I      CD      0     CD       3                                                      CD                                       0
 Cl     U)                       CU        (1     (ft     Ci    (I)             Dl    (0       Di      Cl)    C)       £)       Cd)              Cl     it    0)
        -        Cl             (C)               -             -               Z      Di      Z              CD       <        -
 it              .      ‘1       CD       d               (ft                   Cl     it      Cl      Cl     Cl)      •               -•        it     D                (I)           CD
        (I)      I                  11    Di      Cd)     (1)   (1)                                    ‘1     0                 Cd)
        l
                                                                                                                                       <                0
 Cl)            (C)                       f-S     $-‘     CD    l-•             E)     C)             1<      II                )-•    CD        CD     it               Cl           (C)
        f-S                               it      fi            f-S             C)     I       it             •         Z       f-S    f-S                               t•
 ‘-S    •               )-•                l-.
                                                                                                                                                                                       0
                                                  •       it    •               (1     (1)             E)    ‘tI        0              Cd)              0)               Cl            it
 CD             Di       J          ‘1     0                                    l-•                    f-        it                    F•
                                                                                                                                                                                                  Case 01-01139-AMC




‘Ti             C))     l-          •      !-‘            Cl)                   Mi     it      CU      I—’             -               it        CD     )—                             0
 0                      0                 ‘TI             it                    l-•    0       (I)     l-        0                     <         1                       it            0
 ‘-5            EC      l           ID     fl)            )                     C)                                      it             •J        CD     0                0
 it             Di                  l-     it                                   Di     CT                               0                                                             ‘TI
                CL      Di       CU        l-                                   it     CD      0       0)        0                                I                      Ci
                CD      (I)     7c.        I                                     -                     C))       1-h   (C)                        I     it               U)
                -.               CD       to                                    0     CD                                0                                                CD            CU
 Cl                    (C)      -                                               I     X        Cl      0      0                                  t      CD
                l-      si                 i-s.                                       it               CT    ‘tI        0
 C)                     ).4•
                                                                                                                                                                                       C)
                (ft                 H-     i                                    it    ‘1       Di      U)     CD        1                        Cl                      0
 Dl                                                                                                                                                                                    CD
                        Cl                                                      0     CD       U)      CD     ‘1                                                         Ci
 it             it      C)          CD     Cl)                                                         ‘1     Cl)                                X                       ‘-5
 CD                     •                                                                                                                                                              0
                                                                                                                        I—’.
                                                                                                                                                                                                  Doc 22814-29




                                                                               ‘1     CD       Cl      <      it                                 C)                                    1-h
 (I)            Di                  C)     ‘1                                  CD              Ci      CD     i.        I                    C)
                it                         -•                                  (1     ‘<       ‘-5     Cl     0                              .                          0             CC)
                        f--s    --         <                                   Ci              C-”                      it                                              ‘1
                                           C-”
                                                                                                                                                                                      CC
                C)       Y      CD                                             C)      Cl      3              (I)      T                     C—’                        Cl            0
                0       CD      Mi         i                                   CD      Ci     to       0               ‘—“                                              U)
 it             ‘i
                                                                                                                                                                                      Ci
                       ‘<                 to                                           (1)             U)              (I)                   C)                         -             it
                ‘1              CD                                             Cl      it      Cli     it     it                             0
 CD             CD                        CU                                   Ci     ‘<       C-                      ‘1                    I
                C)     Cl)     tQ         it                                   (ft             i--’    C)     (C)      CD                    Cl                         CD            0
                it     f-I                                                     it     (1)              1-’                                   Ci
CD              •3     CC)      Z         it                                   C-”    tI      (0       0      (1)      0                     0                          Cl
x
                                                                                                                                                                                      0
                                (C)        J                                          Cl       ‘1      Cd)    (C)      ‘-1                   it                         C-”
it
                                                                                                                                                                                                  Filed 08/14/09




                       C)       CD        Cl)                                  CD              (C)     (C)    C)       it                    CD                         Cl
                       0        ‘-5       it                                   U)     C-”      <       i-     0        -                     Cl                                       (0
(0                     i       -.                                              C))     i      -‘•     ‘<      C)                                                        —d            Q
 0)                    U)                 C)                                                  0               Cl       Cl                    it                         0
f_S
                       Ci                 0                                    it     it      ii      Cl               0                                                0             0
 U)                             s          i                                   0      C)      (ft     Ci     ‘ri       CD                    CU
(C)                                                                                                                                                                                   Mi
                       it       •         C)                                          CD              ‘-S     CU       (I)                   it
f-i                    CCI                C—’                                  Cl)                    C-”    f-                                                         (1)           it
 0)                    Cl                 Ci                                   C)     C)               C)     Di       C-..                  U)                         it
‘CS                            i          (Ti                                  C)     CD              to     (C)       it                    it                                       Cl)
;3.                    CT      i_a.       C-’.                                 CD     CLC                    f-I                             Ii                         U)
                       (C)                                                                                                                                                            U)
                               Di         0                                    (0     Cl              it      Di       C)                    Cl                         0             CD
it                     C-b                C)                                   it                            ‘ts       0
                                                                                                                                                                                                  Page 46 of 52




                       0       Di                                              Cl)    0               C—’     C)       it                    -                          CL)
CO                     ‘-S     -.                                                     Mi              (ft    -
it                     CD                 Cli                                  C—                                      U)                                               0
                               0)         U)                                   CD                                      Cl)                                              Mi
                               C)
                               Cl                                                                                                                                                            ID
                                                                                                                                                                                             10
           1.         L




k)    (0        (0    (0   10    10     ‘a       ‘a   ‘a       ‘a     ‘a       ‘a   ‘a     ‘a        ‘a       ‘a
a     s         to    to   ‘a    0               a             a      a                   to         ‘a       a                a    frJ    a     a.       *    to    to    a-’


a               .    .0    rt    it     ‘a    a       a               .     a                        a
o                                                          a                        .      m              a                    a                a         a    >     q
                U          U      a     z             a                                    a                                   it
o                          ‘a                         ‘a                                                                                        a                    0     U
                n
                                                                                                     ft                    ‘C                   a                          a
                           a     a0     a             ‘a                                  a4         ‘a                                        ,Q
                                        o              o                                                                                                            0’
a    w          a     >          ft           S       ‘C       S     i-i       >    ‘C   ‘C
                                                                                                                               a                                    a      a
     U                ‘a                                                                                      z       ‘C       ‘a         ‘C    a         U)   ‘C          a
                                 ‘a     z     U        a       a                    a     a          a        o       a        ‘a         a     .s        a    .
ft   ri         it    ‘a        ‘C      a     a        a       a-.                        ,                                    ‘a
                                                                                                                                                                    a      a
                                                                               a    a                a        s       a                   a     a              a          ‘a
                                 •                    a        ‘a    a                                                                    •               .t
     ‘C         ‘a    it                                   •                   ‘a                                                                              •    a4     ‘a
                                                                                          a                                    ‘a               0         U         it     ‘a
‘a   0          it   ‘a                 ‘a    H                      ‘a        a    a     4          .        ‘a      a
a    U          •    *0          a                                                                                                        a     it        a         a      z
                                        0             ‘a       ‘a    p.             ‘a    a          a        a       ‘a                  ‘a              ft
                     U                                                                                                                                              c
                                 o            a       a                        ft   it    it                  a       it       ‘a         it    it
r    a                                        a                                U    •            .9                                                                 a
U    0          H                                                                                                     •        C          -     a         E                ft
                     •           H      Z             ft       it
                                             ‘C
                                                                     aa
                                                                            a             a          ‘a                        a                a
                                                                                                                                                                                       Case 01-01139-AMC




                                                                                                                                                          a         a      U
                                                      ‘
a                                                              a     a      ..            a          a    a                    to         H     a         U         a
                a                      ‘a
                                       ft     H                                           a          ‘a
                                                                                                                                                                           a
     a‘s        ‘a   H                                                                                                         •                o         ‘a        ‘&•    ft
                                 aa    U              “                                   D          ft
it   0          ‘a                                                                                   ‘a   ‘u
                                                                                                                                                          a         a
‘a    0         it   Z           Z                                                                                                        0     a                          ft
                                      ‘a      a       ft                    it           ft          0    I-’                  U          U     a’        a         0
     ‘a         a    o          0      it             it   ‘a        ri     .t                                                                                             U
U    b                                                                                   U           z    a                    o          ‘a    ‘a    ‘a             it    a
                0               ft     a      a       U    ft        U
ft   ‘a         ‘a                            a
                                                                                         a                ‘a                              a     a     ‘a                  ‘C
                      -               ‘a              a              a                               o                     ‘C                             a          0
‘4   N          0    ft         it     a      a                      ft
                                                                            ait                      it   ft               0              a            a            ‘a     a
     a          ft                     it     a            a                             a,               ‘a
                a                                                    ‘a    ri
                                                                                                                                          ‘a           ‘1                  ‘a
                                                           a                             0       N        it                              it
     ft
                     aa                                                                                                                         aaa                 ait    a
                                ‘a
                                       aft    ft                     ft    U             0       0        it               a              a    ‘a      ft
     U          ft   w          ‘a     ‘a     U            ‘a
                                                                                                                                                                                       Doc 22814-29




     ‘a         U               ‘a     0      ‘a           a         ‘a
                                                                           a                     ao               -        ‘a             a    ‘a      o
                                                                                                                                                                    aft
                                                                                         a                a                 it            •    ‘a                   ‘a     a
     a          a    ‘C         a      a      a            a         a     it            a       ‘a                        a                   a       a
                ft    0         it                                   -                                                                                              o      a
     a                                       -             a               a             a       ‘a       L’J              a                   ‘a      a
                •     U                0                   it              0             ft      ft       X                                    -o      w
                                                                                                                                                                    aa
     a                                 it    H             a                                                                                                              a
                                                                     ‘C    o                     a        U                E                           a            -.    0
                     a          ‘a                         ft        a     it            a’               ‘a               ‘a
     a               a          ri     a     U                                                                                                                            a
     a
                                                                     a                    •      fl       0’               ft                          ‘a           ‘a    a
                     ‘C         U            aC            aa        -     aa                    0        ‘a               U                          ft            a
     o               .Q         ‘a
                                       a
                                       a     a             a’        a
                                                                                                 a                                                    -
                                                                                                                                                                          ca
                                                                           0
                                                                                         aitit   ‘a                        ft
     it                                                                                                                                                             ft    ft
                                                           ‘C        ‘a    it            a       a        a                U                          E             U     a
                                                                     it                  -       a            i            a                          o
     ‘a              a                a       ;                                                                                                                     a     a
                                                                                                                                                                                       Filed 08/14/09




     o               ft               ‘a
                                                           z
                                                           •         •                           ‘C       ‘a               ft                         U             ft
                                                                           ‘                              ‘a               -3
     ‘a              ‘a         H     ft     H                                                            •                                                               0
     a                                                                                                                     .                          a‘a
                     0                ‘a      -                                                  a                                                                        a
     ‘a              a          U     0      C             .                                              ‘a                                                        it
                     a                                                     •                     a        •                                           ‘C
     C)
                                a     a      a                                                       a                                                 a            aU    U
                                4                                                                                                                      U            ‘
     it              a          a            o             it              it                             H
                                                                                                                                                                          a
     a               a’               a.c                                                                                                                                 ft
     0               0                                                                                                                                a
                                       it
                                             a‘a           a0               a0
     a                                                                                           0                                                    ‘a                  a
                     U          0     ‘C     ‘C            a                                     •        a                                            it
                     ft         ft
                                                                           a‘4                                                                                            ‘a
                                                                                                                                                      a                   ‘a
                     ‘a                                                                          to                                                   a                   a
                                                                                                                                                                                       Page 47 of 52




                                it                                                               a-,
                                             aa
                     ft         a                                                                                                                     -                   a
                                a            a                                                   a                                                                        it
                                a            a                                                   •                                                    a                   a
                                             ‘a                                                                                                                           a
                                             ft                                                                                                                                  C
                                                                                                                                                                                 C.)
t               I




    10     10       10    10    13      10    pa   ‘a   ‘a    I-’        ‘a       pa    pa   pa   pa    p.a
    lIP             ca    M     pa      Q     (0   W    ‘4    a          ta       S     Ca   13   pa   Q       (0    W    4    a    0’       S    ca    10   ‘a


    P               ‘a    ‘a    P             ‘    C    ‘     30              ‘        tO    ‘    C)   ‘1                           Iii           I.
     a              ‘a    .‘t
                                                                                                               ‘00                                     O
                                a                             0                                   0    (0      ‘a                   DC
    H               P           H                             ft                                  H    0       P                    5.
    ‘a              0.    ‘a    ‘a                                                                ‘U   ‘•I     ‘a                   ‘a
    a               ‘a    3     a                             Z                                   P    C       3                    0’
                                                        ‘1    ‘a     ‘a                m               P       fle                  ‘a            ‘4    b’   ‘4
                                pa.
    a‘a
                    ‘a    ‘a                  a    U    3’    ft     ft       a.<      P     a    ‘4   3       ‘a   w               ft            a    U     a
     0              ft    U     a             a    n    P                     a        4     a    •    ‘a      n    ‘C                            a    a     a
    3               ‘a    0.    3                       ft    ‘a     *        -        (I    -         N       Pb                   a             a          a
                    a     a                        ‘4                P                                 P            Z                   p              ‘a
    0               a     a     0       Z     a    o    a-3          a        a        ‘4    a    w    ft      a    :o   ‘-3   X    ‘a       S    a    ft    a
                                Pb            ‘a              ‘4              ‘a        0    ‘a   0    ‘a                S          ‘a            ‘a         ‘a
          .         P     0             •     ‘1        0      0     C        ‘1        0    ‘1        0       14        N     •    •       ..    P1   E     P1
    t               z     a     ‘a            •    a    0      U     a        •              •    ‘4   3       X    t               ‘a            •    P     •
    z     m         a     n     ‘a      t”              n            3
                                                                                                                                                                       Case 01-01139-AMC




                                                   o          n                                   o                 N    o     0    •                  a
    P                           P       N                            a                 P               0.      ‘a   S    o     5             N
    ft              a     ‘1    ‘a      5          ‘s   a     P      P1       ‘a       a               a            ‘a                       S    ‘at:
    a     s         o     a         s   ‘a                           P         -                       ft      ‘a                            ‘a
                                                   a    c’a                                       a                 co                               P1
                    H    ‘U     ft      1.0        0    ft
                                                              na     ft       4        P          a    E       ft        ‘-3                 (0   Z  0
    ‘4              ‘a    n     ‘a      •.         o    •     p      a        a        z          a    a                                     ..   0  Di
    0     ••        ‘a    a     n                  C                 a                                 a                                          U  U
    0               a     a     n                                                      0          ft                                              ‘a
                                                                                                               mp
                                                              o               a                        3                                               0
    n               ft    a             ‘4         ‘a         Pb     0’       a        ‘ci                     a         w                   x     a   a
          S         a    3      a-      0                            ‘4       a        ‘U         P    5                 a     z             o         a
    z     a         a    ft             P1         a          a               3         0         ft   •                       o             4
    0                    P      N                              k     S                  P1        .0                     ‘1                  a    aP   a’
    3     3’        ft   ft     >1      ft         ‘a         ‘a     •        ‘a       ft                           ‘a    a    o                   a   ‘4
    0     P              ‘a
                                                                                                                                                                       Doc 22814-29




                    3’          3m      3’         ft         a               ft       U               •      ‘-3        fl    m
                                                                                                                               a             ft   0
    ‘s    4         a    o      ‘a      a                     ‘sft    a       •        3                      3’    ‘a         ‘.            3m   H     0
    •     a                                        p                 •                 ‘a              a      ‘a    ‘a
                                                                                                                         a‘a   a             a    a     ‘i
                    P1          ‘a      ‘s         a          ‘a                       ft              n      a          <     C)                       P
          3         a     a     ft      a                     a      a        ‘        ‘4              P            a    a     ft            P    a    a
          0         0     0             0          P          a      P1       C                        0      ‘a    ‘a   a     ‘a            a    o    a
                    o                   a                     •      P        P        ft              a      a     P1         o             H
          0         P1
                         z0     aI      P1         C)                0        ‘a       0                            a          3             ‘a        a
          0’        0.    a     ‘a      0.         P1                a        z                        P      P     a                        a         H
          ‘3.       •    P1     10      a          P          H               a        P1
                                a
                                                                                                       3      3     ft                       a         ‘a
          a0                                       a          a      P                 a               a                       ‘4            ‘a         ‘a
                         ‘a                        a                 3        ‘a       4                      p     ‘C         o             0          0
          ft             3      ‘4      a                     ft     a                 ‘a              C)     C                U             3         ‘4
                                                                                                                                                                       Filed 08/14/09




          ‘a             C      0                  a          5’              5’       a               0      P1               P1
          0                     U       H          0          P      N        P        Z               H      a     P1                       0
                                                                                                                                                       aa
          z              P      P1      o          a          ft     o                                 ‘a     a                S                       a
                                        4          U                 S        ac       ft               P           P          o                       -J
          ft
                         aa
                                        a          N          b      0                 3’               U     aN    ft         3             ‘0
          0              U      0                  a          P      ‘a       S                               S     ft         o             ‘a
                         H      U       Pb                    ‘a     ‘a       o        a                      ft    a          P1            P
          ft             ‘U     0       0          ft         P1     at       ft                       P            U                        ‘a
          3’              ft    P1      n          -o         -.     a                 a               U      P     ft                       U
          a              ‘a     a                                    a        •                                     ‘a
                                                                                                       a      z                              ft
                         o              ft                                    a        a                      a     0                        ‘a
                         30.5’                                                                         N            U                        Pb
                                a       a                                                              0      ‘a                             Pb
                                                                                                                                                                       Page 48 of 52




                         0      0                                    ft                a               U       ‘a   ft
                         P%     P                                             ‘a       3               0       P    0                        a
                                U                                    ‘a       ft       ft              ‘a      3
                                a                                    ft       •        •0              ‘a
                                a                                        -                             ft     0
                                                                     a                                 a      Pb                                                  (0
                                                                                                                                                                  a’
 l\.)    t\)   l’)   t\.)       )      1s)     I•          1                  f                                )              I—’
(31      It’   Ci)   t3         F—i    0       CD          CD     )           CD     01       $       Ci)      r-o     ‘      0         CD   0)         )   CD       0-I    It-’     0)


 Di     O            it         AD     b       Cl)        C)     Dl        t--.      I—i      C)      CD       ci             0                         D   C’       z      ‘-ci   ,0
‘t3                  ‘1                0      C1
                                              1           0      it        I—h       0        0                CD
5                                      I—i     CD          5                                                                                                         CD
                                                                                     C)       1       C)       U)                                                    Di     Cl)
 CU                  CD                i-      C)         it     it        Dl        Cl’      C)      ID       C)
‘-                   )
                                                                                                                              0                                             1-’-
                                       0       I-i’       I               Z          it       Cl)    C)
                                                                                                     1                       It)                                     it
C!)                                    )      hh          l.     CD                  1-a.
                                                                                                                                                                            ii
                                                                          <                   ‘C     it        )-             CD             I-I:                   it      it
i        “I    CD                      U)     1—’.        (j                         C)        1                       1-3    t-
it       0     U)                                                1)
                                                                                                              CT                       Q     CD      o      CD              1—’     0)
                                I--h          C)                           1-i.      1         I     it       CD       3      P1             U)
         Ii    •                it                                                                                                                   ‘I     U)      ‘1      I-Il
                                              P1          it     0                   U)        I     0        Cl       Cl)    it                                    CD      frh
)-.      I-
                                                          CD              ‘1)                                                 I-
Z        it                                   )-                           I                                                                                                        —-S
                                                                                              C)     CD        1-      0      0              C,)    ‘C:,    U)      0       hI
         r                                                      to         o         o                                                                                                            ‘—3
                                                                                              o      <        i                                      ‘1     F-’•    fr                      -c$   zE
it                              )—                        rt     11        <         rt       1      Di                CD
r                                                                                                                             U)       0             1—’.   ‘1      it                            N
         M                      0                         0      -•        CD        CD                      It)       l-
l—’                                                                                                  I--a                                            I-’                            c-I
        1—                      0             it                                     £1       CD     C:       ‘1      Di                                                    I--’
                                                                                                                                                                                                              Case 01-01139-AMC




U)      0                                     T           rt                                                                                                        0               N      U      C)
                                                                 Cl        Cfl       •               Dl       CD      it     C)                                             C,.)           0)
        0                                     CD           3     CD        Z                 it      it       <                                                                                   0
                                                                                                                      .      )        CD            1-’                             I-—)
Cl)     I-C                     it                        1—.    1         it                U)      CD               0               CU            -
‘1                                                                                                                                                                  F-’.            C’)    I—I    iii
                                                          U)                        i—i                       0       I      It)      Cl                            ii
CD                              ID            0)                           Cl)      )        C)      it       t)              CU                                    Cl
CU                                           Li.          Cl)    :r        it                0       J        U)      C)     (C)
•                                                                                                                                     it            to              Ci      CD
                                CD            0           ‘1     CD                (LI        1      ID               I-h     CD       J
                                0
                                                                                                                                                    CD              U)              0
                                              ‘1          CD    ‘         CU        CD       C)                                       CT)           (I)             it      it
        C)                      -                         )     CD        i                                                                                                                ‘--3   CI)
                                                                                    i        CD      0        CD      it     it                     —-3             ‘1      it     ii)     it     CD
        tr                      CD            Cl                                    CD       II              ‘j
*-3                                                                                                                                                                 I-—     Cl)    1<      Cl)
                                CD            g           r     CU                  ‘-       J       CD       0       CD     0
II      Cl                                    U)       U                                             I-j
                                                                                                                                                                    Cl)     it             iT     ‘1
                                                                         ‘ti        Cl)                      I                                                                                    CD
t)                          U)                it       CD       U)        0         I-        1      Dl
                                                                                                                                                                                                              Doc 22814-29




CD      U)                                                                                                   it      Iti              CD                                   CU                     C)
                                                                          )-       -        (C)      I—’     C,)      1-—’            it
..j     it                                                                                                                                                          it     ii      I-]     •<     CD
                                             It)       Cr       (C)       )                                           Di
        h--’                CD                                                                                                                                             0               o
                                              I-I      CD        I        it        it       Cl               CU      1              It)                           (C)     it
         i                  ,-                0        CD       I--i-                                                                                                              CD      Ci
                                                                                                    Cl         1      it              Cl)                          I--’.   it                     CD
        ID                  Cl)               Cl          z1    M         I--i.     CD       U)
        C,)
                                                                                                    C:       Cl                       I-I                          CD      CD                     Cl
                                                                          1         1        it     U)                                Di                           iT              CD      1<
        CD                                    C)       Cl)      C)                  CD              it                ()             (C)
                            CD                                  Cl)                                                                                                CD              x       0
                                             I--i.    C)                  it                ‘ti     •        I—-’                     ‘1
        C)                                            C)                                                                                                                           it      hi
                                                                                    Cl)      ‘1      5        -      CD               Cl)                          CD      0               ‘-I
        ()                  1<               CC)      C)        it        CD       t1
                                                                                   1         0      CD               CD                                            it      ii      Cl
        I                                                                          It)       Cl     C?)              CD
        it                  Cl               Cli                                                                                                                   Ci      it      0
                                                      Iti       ‘        ‘ti        CD       C:     U)       I       CD                                            Ii      Cl)
        .                                    I                                                                                                                                     C)      0
                                                                CD        I—i
                                                                                                                                                                                                              Filed 08/14/09




                                                                                    0)       C)              0       i               Ci                                            Ci      iT
        I                   U)               CD                 Cl       CU         ‘l       CD     0        it      it                                                    0)              0
        Ci                  it               Cl)      U)        Ci’      Z          CD       I--f   3                                Cl
        CD                                   U)       T                                                                                                            CU              CD      ‘1
                                                                C)       it        Cl       (1)              Cr      Cl)             CD                            it      C’)
        CD                  •                         CD        it                                  CD       CD      —‘
                                             )S                 1-•                                                                                                        it      it
                                                                         (C)       it       CU      CU                                                             N       Cl)
        it                                   CD       •         0        X         0        it      C)       ‘-
        0                                    1)                 1
                                                                                                                     <                                             0       it      1—’-
                                                                         C)                                  CD                      U                             ii      CD      (0
                            U)               CD                          ID        CT       it              I-tI     it              CD
        (j                                                                                                                                                         0
                                                                        ‘C)        CD               -h       Cl)     iT              U)                            I--’    0)
        CD                  it               Cl)                J        it                 CD      F—’     CU       Cl)             C)                            1-’     0
                            iT               VI                                    F-’              0       it       it
                            Cl’                                                                                                                                    it      Cl)
                                                                Cl      ‘ri        -‘•              0       CD                       1-’.                          CD
                                                                                                                                                                                                              Page 49 of 52




                            it                                  t        (I)       it               ‘1      Cl       Cli            I-ti
                                                                CD                                                                                                 --1     C).
                                                                         ‘1        it                                CD             it
                                                                it       it        I-’              Cl)     iT                      F-’.                                   0
                                                                         CU        CT)              ii      CD                      0
                                                                        I-cl                        Cl      )-f
                                                                         U)                                 CD                                                                                          to
                                                                                                                                                                                                        (7)
           t.




to   fb3         1%)    P.)   to    P.)       i-a    ‘a    ‘a       ‘a    ‘a   ‘a   ‘a   ‘a        ‘a   ‘a
ca               ca     to    i’    0         w      w     ‘        oi    a.   a    ca   to        ‘a   0    w     a.    aa   a.       a.   a    ca      to     ‘a


4                             to              0      C)    it                  0    D.   ‘a    0                         .
                                                                                                        >         0           itO           ‘    E     sO       >
a                ‘a           ••          g         a      a                                                 4,               a.                 a
Ii               it           a           C         it     B                             a.                                   ci                 ‘1
                 a.           0            a.              a                             C’)                                  it
                                           it                                                                it
Ci                                                  ‘                                                                                  b
                                                                                                        ‘4   0           i4   it            i4   ci         =   .4
                 a.                        it       n      0              a    a                        a    o     a     a    ‘,       a    a    it     .4      a
*                a            a            0        w                     ci   p.   •              a    ci         a          e        a    ci          a.      ci
                              .                               I           a                                                                             ‘a
                                                                                                        •    B                a             •
                ‘a.                        0’       a.        I                .4                  S         U     I’.        0        it        0      ‘1
     ‘-3         e            ci   -       a        a               i-i   ci   o    ‘a             ci        a     it                  a.        •      P.
•    N           ‘1     “3    a    ‘-3              ‘1     5        N     Ia        ci             ci                                  a
                                                                                                             a’
     N          ‘4      a.    P.   a.      Is       a      a        N     Is                                      C                    ‘S        Ca     P
C)                      a          a       a                   -          .    ‘a   a              it        a    o                    a                ‘a
‘5   fl         ‘a            ‘a                    a      ‘a       C)              •
                                                                                                                                                                          Case 01-01139-AMC




                                                                               a                   a’        U    a                     -        a      0
ci   a          ‘a      ‘i    a    ‘a      a        a      ‘a      a           ‘a                  a         ci   ci                   ci        0      0
o    a          a       o     a    ‘a     ‘4                       a            o                            it                                  a,     ‘a..
a    w          ci      ‘a    o    0                ci     it                  Is              C             •    0                    0         0
     ‘-3        a       ‘a    a    a       vs       0’     ci      ‘.3         it               a                                      it        a
ci   ••         a       o     c    a       0        0      N       ‘a                           a                                      a.
a               it      S     a    a       ‘a       U      a                   p.               a            w    ci                   a
                                                                                                                                                 ait    ‘4
a                       ‘a    a    a                it                                          ‘5           o    ‘a                   “a        ‘a     a.
     w                  a     a    w.      it              ci      S           it              ci                 ‘a                             ci     a
o    ci         0’     C      P.   a       a’       ‘a             ci          0               ‘a            .4                    0.            it
o    0           a                 C       a        Ca     a       ‘a                                        0    it               U             0     B
a    w          ‘a     ‘a     ci   ci                      o       ‘a          a.              a             g    a.               ci            ‘a    ci
‘a               ‘a     Is    it          Crnl.     5              a           ‘a              ci                                                      Ia
                                   a                                                                              a                it
                                                                                                                                                                          Doc 22814-29




ci   o          a      o                  g         ‘a     vs                  a               a             ci                                  0’    a
a    a          a      a      ca   a      ‘a        a      a       ‘a          a.              ci            C                     ‘a            ‘a
                 ‘a
                                                                                                                  5
.4                     a      •.          o         U      a        a                          C             ‘a   ci               ID                  a
•    it                                                                                                                                          a
                 a     a      to   it     ‘a        it              ‘S         ‘a              a             a    ‘4               ci
     a.         ta     a      a.   a.     ci        a      a’      a.          ci              ‘a            a                     w                   ci
                       Ia          ‘a     •         ci     Is      ci                                             a                ci                  it
                ci     a      ‘a   ci               •      a       ‘a          it              o             z    o
     a          it     ‘a     •                            ci      ci          a’              vs            ‘a                    0                   ‘a
     ci                ci     a    a      z                                    ci                            it                    a                    ‘a
     it         Ca            •    ci     a         H     a        it          it              N                  a                                    0
                •.                            —                    a.                          o                                   ri                  a
     a          to     a           it     ‘a        it    a        ‘a          a               a             it   ci               a.                  U
     ‘5         sa     ‘a          a      ‘a        a.    a        ci          0               0             a.   it               ID                  0
                                                                                                                                                                          Filed 08/14/09




                       a           ‘a               ‘a    a                    ‘a              ‘a                                                      a
     o          ‘a                        ‘a        a     p’       5           ‘5              ‘a            it   ci               it                  ‘a
     vs         •      a.          S      a          c    a        o           a               it            .0   ‘a                                   ci
                                                                                                                                   a.
                       ci          a      a               “a       U           a               a                  ‘a               ‘a
     S          •      a           ‘a     a         it    ci       ‘a                                                                                  I.’..
     ‘a                            a      ci        a.             a                           a                  ‘a
     ‘a                                                                                                                            p.                  a
                       ‘a                 ci        ci    o                                    a                  a
     a                 a           ‘a     •               n        0’                                                              vs                  it
     ‘a                            a                a              a                                              a                ‘a                  a.
     a                 a           a                0     it                                   ‘a                 ‘a               0                   ‘a
     a                 ‘a          a                vs    a.       ci                          “a                 ci               0                   ci
                       ID          ci               vs    a                                    ‘a                                  ‘a
                       a           ci               a              C                           ‘a                                  •                   ci
                                                                                                                                                                          Page 50 of 52




     o                             a                a     ‘a.      0                                              a.                                   ‘S
     a.                a           a                      U        0                           ‘a                 a                                    a
     a                 0                                  ‘a       a                           ‘a                 ‘S               H                   ci
     ci                U           ci                     ‘4                                   a                  a                ci
     o                 ‘a          it
     a                 it
                                                                                                                                                                     0)
     r’J   r)    L\)   M    rj   s-s   s-s   s-s   s-s       5s              s-s    Is       s-s     is
01   .Cs   Cs)   t\)   55   Q    (0    CD    s-)             01                              s-s
                                                   C))             4         Ci)    M                0                                  01      (15                C.)    )\)     s—


                                                                                   M-.       rt      C)        CD                                        0         4t-
                                                                                             5-•.    s-5       )      CU                Z                          0
                                                             Cl                    CD                0                r1     tI                          CT)
                                                                                   CD        CD      CD      I-       rt      C)        rt               F         rt     C)
                                                             rt                                      CD               CD
                                                                             5-3   rt        Cl)               Cl)            rf        CT)     U)                 CT)
                                                          CD                 r     o         i       ct                       Cl)               0                         Cl)     CD
                                                                             Cl)             Cl      0                CU     :i         o                          0      rf
                                                         Li.                       SC)                       rt       S-     (t         0       CD                 C              CC
                                                          C::                      0         <       CC      0        0                 X       s-F                       CD      CD
                                                                                   •         0       (0                 1   t5                  s-.            C)         .+      1
                                                                   1-]   s-                          s-.     st      (Q                 C’)
                                                                                                                             C                                     s-     0       (1)
                                                                   :-        0                       i                .      0       I          CT)                CC)
                                                                   Cl)                              (C      )-‘                      Cl         C))                 1-    Cl)     0
                                                          Cli                                CD              CD                                                 (C)       Cl
                                                                                                                                                                                             Case 01-01139-AMC




                                                          CD      cI         <               CD      U)     -•        )‘     C)
                                                                   1      CD                 ‘1     CD                               C))        rF              U)        S-i.
                                                          pi       0      1                  <      (t      0        Cl      5-h     CU                         CU
                                                          CD       C)    <                   )-•    rt      i                 i      11         Cl              r1        rt      CD
                                                          S-       CD                        C)      i-.    CD               i       Cl         0               s-.       0
                                                          (C)      CD                        CD     CD               Cl)     C)                 CT)             U)               Li.
                                                          CU       Cl     (C                         Cl                      st      CD         CD              5-ti
                                                          (I)      s-.    C)             -s•                ())              s-i.    0                          CU        01     5-
                                                          CT)      I      :                                 CD       P)      C)                      -          C)
                                                          C).     (C)     .                                                  j       (C)       p                j-[      3
                                                                   C))                   st         (I)     C3       CD                                         5-.      5-i.
                                                          Cl)                            b          0       CT)             Li.      CD                         0        I       Cl
                                                          rt       s-.                   5-i.               CD       rt      C::     <         CU                        i
                                                                                                                                                                                             Doc 22814-29




                                                                   z      0              (0         s—s     S        D       CD      s--      ‘(C)                       rt      ‘1
                                                         Cs)                                                         0       rt     Cl        ‘Cl               0        CD      s-.
                                                                   st      -             C)         D       (0                      CT)        CD               5s
                                                                                                                                                                1        (1)     Z
                                                         5”)       J      ‘              C))        CU      CD       0       C3     I          )
                                                         C))       s-.    (C)            (I)         1      st       rt      CT)    C)
                                                                  (0                     CD         rt      rt               5-i.   CD         (i               0        rt      st
                                                         ‘UT              Cl                                -4       CT)     E1     .                           st
                                                         •                .-‘•                      rF      CC)      ‘1     CC)                it                        CD      CD
                                                                  C))    CD                         0       Cl                                 5-i.
                                                         •        i-F    C)                                -         3       3      Cl)        s-              ‘Cl       C)      s-
                                                                         ji
                                                                  i-F                    I          rF               CU      Cl)    0                          CT)       0)      Cj
                                                                  ID     CU              Cl         r       it                                 st                        U)
                                                                         ‘1                                          st
                                                                                                                                                                                             Filed 08/14/09




                                                                                                                             Cl)    <                          rt        CD
                                                                         (0              it         Cl      CD       CD             C)         CD              I-’.              s-i.
                                                                  l)Z     CD                                         ‘1      Cl)    ç                          CT)       3
                                                                  CT)    Cl              C’)                0        (1)     j                Li.              Cl)       C))
                                                                  ‘1     •               i-F        ‘<      rt               Cl     ‘CI        Ci              •         CD      rt
                                                                                                            ji
                                                                  CD                                0                st              ‘1                                          CD
                                                                                         CD                                 ?I      0         ‘<                         C)’
                                                                  CU                                                 0      0       <                          Cl)       CD      C)
                                                                  Cl                     .          ‘-ts             rt     <       5-’        s-              0         CD      0
                                                                  Li.                    it         0       5-’.            5-..    Cl         CD                        Cl
                                                                  0                      •          ‘1     Cl)       CU      Cl     CD                         .
                                                                  Ci                                                 ‘1     (0      Cl         C))             rt        CD      CD
                                                                  ‘1                                       si        CD                        5-i.                      CD      CD
                                                                                                                                                                                             Page 51 of 52




                                                                                         ‘<         0      CD               i-F     C))       it               Ci)       st
                                                                  CD                     0          Ci      ‘I              Cl’               i-F                        it      C)’
                                                                  Cl                     Ci         ‘-I    ‘<        CD     5—’.              5--’.                      5-—’    5-
                                                                                          -                          ‘1     CD                 Cl                        CT)     CD
                                                                                                                                              (C)                        Cl      CU
                                                                                         CD
                                                                                                                                                                                        5)
M           t’J          M            J   L’J        rc)        I—’    l—         )—‘                  I—’
                                                                                              H                            I_        H      H
U)          •P.          (.3          M   H          0          (0     03                     (3)      (Il        .      ((3         CO     H         0          (0           03     ‘-3         (3)        03                (.3    CO


                                                     Cu               i-i.     Cu         0                      ft      ft      ft                H             CO
                                                     frh              i        ft         F-ti                                                                                                   z                C)
                                                     r-f
                                                                                                                 0       ‘                             1         C.)                0            0                0           -3
                                                                      ci-      ft                                        Dl     ‘ti                                                 i            ft
                                                     H                CD       0          Cu                                     CD
                                                            H                                                                                      X                                ci-          CO               i           ‘—3
                                                    X                 1        il          1           i—i       ‘1      (1)                ‘—3    H                                (0
                                                                                                                                                                 )—‘      ‘—3                ‘1             1—I   ci-         cu
                                                    CD      Z         CO        1         <                      i--     0       ‘-                (1)           (C)
                                                    $3.               U)       Ct)                                                                                                  i       ‘<          —

                                                                                                       M,        rt      ‘1      H          Di     C/)           U)       CO        (ii
                                                                      ci-      <          0            Cl                                                                                                                     0
                                                                                                                         )—      ci-        ci     0             0        ci-                ‘1]         ‘--3     0
                                                    S       H         CD                                                                                                                                                      “3
                                                                                          “b                   J        ‘(I      ci                          S                                           H
                                                    <       ‘-3       $3.      0                      ci-     ($3                                                                            Cl
                                                                                                                         ci-     CD         ci    H                       ci-       Cl       D
                                                            Z                             ct                             v-..                     CU         H                3’    0        i—.             t
                                                    0       03        H                               CD                                                                                                          C-’         0
                                                                                                               cr        0                  CD    .-         i            CD                 I—’.                 (I)         Z
                                                    M       (I)       Z       C)          CD          ‘1      ‘<         l
                                                    M                                                                                                                               J.       0           0
                                                            (1)               0                                                  Cu         Mi               ci-
                                                    H
                                                                                                                                                                          —.                                      —..
                                                                      ft      Ci         ‘ti          0          S      0        ct         0     0          J
                                                                                                                                                                                                                                               Case 01-01139-AMC




                                                    0                                                                                                                     0         M        0                    Cl)         Z
                                                                      r       I           CU          CD         CD     i-i,     (I)              I          CD           i-I       CD
                                                    H       a                                                                                                                                ‘ti         03
                                                                      CD      U)          ri          1          Cu              ‘1         CD    ft                      CD        0
                                                    Cu      03                Cl)         ci-                                                                                                                     £0
                                                                                                      ci-        I      5                  (0     Cu         0           CC)       ‘<        c-i-       i-         1
                                                    H       3i        CC)     H           H           H                                     0
                                                                                                                        <        Cu               z          0            0                  r3         t’        $1
                                                            N         <                  CD           ‘-b                        H         H      (U         Cl           i--•     C)        CD
0000                           ol                   C/)     0         CD                                                                                                                                N
                                                                              0          Cl)         ‘<          0      Cl)                       .
<3-3                           C)                   CD      ij
                                                                                                                                                             M           3         CD                   -         C)
                                                                      I       0                                  -I     ft       ()       (0                 ft         (C)        M         U)                   r—
(0    ftc                      H                    CU                                                                                                                                                                              C)
                                                                      ci-     :i         i            ci-               CD       0                           M                     ft        ci-        CI
SCucuJ                         U                    I—.                       ::         0            ::r                                                                                                         0)
                                                                                                              0          1                                   0           ci-       H         (U         ‘ii       i                 03
                               ‘--3                         I-)       ci-     Cl)        i-$          C)      0         0        Cl)                         0           ‘-1       i--ti     rt         Ci
                               U)                   0                 3       0                       ft      S        (0        rt
‘-i.              i-ti                                                                                                                                       S           H                   CD
                               :ti                  1       J         CD      ci-        Di                  ‘Ci        i-                 CD
           ‘ic                                             CU                                                                                                            Di
                                                                      ii      CD                      F-I               11)
                                                                                                                                                                                                                                               Doc 22814-29




CO         (003                                                                                               Cl                ft         ft                H           H         (0       0           0                           ‘—3
                               Li                   ci-    <          (0      (1         i-i                     ft    ‘Cl      Cl                               1                 1/)      ‘-i-        i-i-.
                                                    Z      CD         0                  CD           Cu         CD             ci
                                                    i-.-                                                                                                                                                i-h             Cl)         H
                                                                                         i-           S          ‘i     H       (I)        U)               ft           C)        ‘l                   I—’-
           do                  l                    U)     Y’                 H                                                                                                                                         Cl)
                                                                                         Cu                       I     0                  CD               ::           C/)       0        0           0
                               0                           CD                 ft         ft           1          03                                                                                                                 “3
(00-,,                         ru
                                                                                                                                Di                          CD                     H                    H
                                                    )\)    ‘1                 ;3.        -•          o        --       i                   (C)                           ‘1        H        ci-         Cu                          H
                               N                    C3     CD                            <           ft       d        0        ct
                               U)                   ct
                                                                                                                                                            C            CD        C)       Dl          H
                                                           $i                 ft         CD                   CD       ft       i                           t5          F(5
                               (I)                  Y      i                                         Cu                                                                                                                             C)
     U)rtrt
                                                                                                              1        CD       Cl                          l—’          0         Cl)      Dl          C)
                               H                           c-i-               H          0           1
     1)).                                                                                                              U)       ID         (0               ft           ‘1                             0
           ::              0                     d         0                  U)                              ft
     ‘-‘.Z(D                                                                                                                               -a               CD           ft                 ‘1          Cl
                           Z                     Cu                                                  Ill      ‘i       E        0)
     0(0                                                   U)                                                                                               Cl           CD                 CD          M                           ‘-3
                                                                                                                                                                                                                                               Filed 08/14/09




                                                ‘<                           CU          CD          ft       cAl
      ZHU)                     l:-                         CD                0                                                                                          Cl                  Cl)         ci
                                                                                         5           rt      i         i--’.    Cl        ‘Cl              C))
           (Oct                                  0         ci-               ci-        ‘Cl          0                                                                                                                              N
                                                                                                             U)        0                  £1)              ci-          rr                             u
     CD    Ii                                       -f                       H                                                                                                              o
                                                                                        H            tf      0                  CU        CO               Dl          ‘-<                  H          CD
                                                           5                 0          0            :i      ti                 0          CD              ft                               i
     Iti-         CD                                                                                 Cl)     H
                                                                                                                                                                                                       ‘Cl
                                                                                        ‘<                                      0          U)              CD           S                  CC)
                                                Cl                                      CD                                                                                                             0
     ‘1                                                                                             )<       ‘ti       CD       Cl                         Cl)          CD
                  0                             (C)        Y                 0          (0                    ci-
     CD                                                                                                                ‘        ‘1        0                                                Di          c-i
                  -i                             ci        Dl                                       i
     (1)                                                                                                     ‘-s-      CD       CU        i-tA             C)           0                  ci-         Cl)
                                                U)         1                            0           0        0                  ft
                                                ft                                                                                                         0            1                              Cl
                                                           Cl                0          Mi          ‘1       Zi        ‘        CD                         Cl
                                                -                            ct                              -         CD                                  Cl
                                                           (0                           (ii
                                                                                                                                                                                           CD          (C
                                                                                                    0                  CX.                                 ci-          Cl                 H            3
                                                                                                                                                                                                                                               Page 52 of 52




                                                H          1                 (D          i          0                  Cl
                                                U)         Cl
                                                                                                                                                                       (C)                             £1
                                                                             ‘1         ‘<          Cl                 0                                   0            Cl
                                                (0                           E                       i                 CT)                                 Cl           Ci)                Cu)
                                                0                            H                      U)                 £1                                  II)         ci
                                                                             I))                    CD                                                     CD
                                                                             CD                     H
                                                                                                                                                                                                                                          (0
                                                                                                                                                                                                                                          03
